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Entered: June 2nd, 2020
Signed: June 2nd, 2020

SO ORDERED




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                         (GREENBELT DIVISION)

         In re:                                                 *     Chapter 11

         CREATIVE HAIRDRESSERS INC., et al.1,                   *     Case Nos. 20-14583, 20-14584

                                                                *     (Jointly Administered)

                          Debtors.                              *

         *         *      *      *       *      *       *       *     *       *      *       *      *

              ORDER (A) APPROVING AND AUTHORIZING THE SALE OF SUBSTANTIALLY
               ALL OF DEBTORS’ ASSETS PURSUANT TO THE AMENDED AND RESTATED
              ASSET PURCHASE AGREEMENT, FREE AND CLEAR OF ALL LIENS, CLAIMS,
             ENCUMBRANCES AND OTHER INTERESTS, (B) APPROVING THE ASSUMPTION
              AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
                 LEASES RELATED THERETO, AND (C) GRANTING RELATED RELIEF

                   This matter coming before the United States Bankruptcy Court for the District of Maryland

         (the “Court”) on the motion (the “Sale Motion”)2 of the above-captioned debtors and debtors-in-

         possession (the “Debtors”) for the entry of an order pursuant to sections 105(a), 363 and 365 of

         title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 6004, 6006, 9007 and

         9014 of the Federal Rules of Bankruptcy Procedure (as amended from time to time, the


         1
          The debtors in these chapter 11 cases are: Creative Hairdressers, Inc. (“CHI”) and Ratner
         Companies, L.C. (“Ratner Co”).
         2
           Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them
         in the Sale Motion or in the Final APA (as defined herein).
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“Bankruptcy Rules”), and Rule 6004-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the District of Maryland (the “Local Rules”) (a) authorizing the sale of

substantially all of the assets (the “Acquired Assets”) as more fully set forth in the Final APA (as

defined below) free and clear of liens, claims, encumbrances, and other interests, except as

provided by the Final APA, to HC Salon Holdings, Inc. (“Salon Holdings”), and the direct and

indirect subsidiaries and affiliates of Salon Holdings identified in the Final APA (together with

Salon Holdings, each a “Buyer” and collectively, “Buyers”); (b) approving the assumption and

assignment of certain of the Debtors’ executory contracts and unexpired leases related thereto,

subject to and conditioned upon the terms of this Order; and (c) granting related relief; and the

Court having heard statements of counsel and the evidence presented in support of the relief

requested by the Debtors in the Sale Motion at a hearing before the Court on May 28, 2020 (the

“Sale Hearing”); and it appearing that the Court has jurisdiction over this matter; and it further

appearing that the legal and factual bases set forth in the Sale Motion and at the Sale Hearing

establish just cause for the relief granted herein; and after due deliberation thereon,

       THE COURT HEREBY FINDS AND DETERMINES THAT:

I.     Jurisdiction, Final Order and Statutory Predicates

       A.      The Court has jurisdiction to hear and determine the Sale Motion pursuant to

28 U.S.C. §§ 157(b)(1) and 1334(a).        This is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(A), (N) and (O). Venue is proper in this District and in the Court pursuant to 28 U.S.C.

§§ 1408 and 1409.

       B.      This order (the “Sale Order”) constitutes a final and appealable order within the

meaning of 28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to

any extent necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil

Procedure, as made applicable by Bankruptcy Rule 7054, the Court expressly finds that there is no


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just reason for delay in the implementation of this Sale Order, and expressly directs its entry as

set forth herein.

        C.      The statutory predicates for the relief requested in the Sale Motion are sections

105(a), 363(b), (f), and (m), and 365 of the Bankruptcy Code and Bankruptcy Rules 2002(a)(2),

6004(a), (b), (c), (e), (f) and (h), 6006(a), (c) and (d), 9007 and 9014.

        D.      The Court entered the Order (i) Scheduling a Hearing to Consider Approval of the

Sale of Substantially all of the Debtors’ Assets, and the Assumption and Assignment of Certain

Executory Contracts and Unexpired Leases, (ii) Approving Certain Bidding Procedures,

Assumption and Assignment Procedures, and the Form and Manner of Notice Thereof, and (iii)

Granting Related Relief (the “Bidding Procedures Order”) on May 4, 2020 [D.I. 137].

        E.      The findings of fact and conclusions of law set forth herein constitute the Court’s

findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

proceeding pursuant to Bankruptcy Rule 9014.

        F.      To the extent any of the following findings of fact constitute conclusions of law,

they are hereby adopted as such. To the extent any of the following conclusions of law constitute

findings of fact, they are hereby adopted as such. Any findings of fact or conclusions of law stated

by the Court on the record at the Sale Hearing are hereby incorporated, to the extent they are not

inconsistent herewith.

        G.      In the absence of a stay pending appeal, the Buyers, are found to be good faith

purchasers under section 363(m) of the Bankruptcy Code, may close the transaction contemplated

by this Sale Order and that certain Amended and Restated Asset Purchase Agreement by and

among Creative Hairdressers, Inc., the Other Seller Parties Hereto, HC Salon Holdings, Inc. and

the Other Parties Identified on the Signature Pages Hereto dated as of May 27, 2020 (together

with any schedules, exhibits and any other documents or instruments related thereto and as may


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be modified, amended or supplemented from time to time, the “Final APA”), a copy of which is

attached hereto as Exhibit A, at any time after entry of this Sale Order, and cause has been shown

as to why this Sale Order should not be subject to the stay provided by Bankruptcy Rules 6004(h)

and 6006(d).

II.    Notice of the Sale, Auction and the Cure Amounts

       A.      In compliance with the Bidding Procedures Order, actual written notice of the Sale

Motion and the Sale Hearing and a reasonable opportunity to object or be heard with respect to the

Sale Motion and the relief requested therein have been afforded via, among other things, the

Debtors’ Notice of Auction and Sale of Assets (D.I. 153) (the “Sale Notice”), to all known

interested persons and entities, including, but not limited to the following parties (the “Notice

Parties”): (a) the Office of the United States Trustee for the District of Maryland (the “U.S.

Trustee”); (b) the Official Committee of Unsecured Creditors appointed in these cases and its

counsel (the “Committee”); (c) all parties requesting notices in these chapter 11 cases (the “Chapter

11 Cases”); (d) all known creditors of the Debtors; (e) counsel to Salon Holdings; (f) counsel to

all prepetition secured parties; and (g) all parties known to the Debtors to have expressed interest

in purchasing all or a portion of the Acquired Assets.

       B.      In accordance with the provisions of the Bidding Procedures Order, on May 5,

2020, the Debtors served the Notice of Proposed Assumption, Assignment, and Cure Amounts with

Respect to Executory Contracts and Unexpired Leases of the Debtors (D.I. 147) and on May 22,

2020 served the Supplemental Notice of Proposed Assumption, Assignment and Cure Amounts

with Respect to Executory Contracts (D.I. 411) (collectively, the “Contract Assumption Notice”),

as applicable, upon the contract counterparties (the “Contract Counterparties”) to the executory

contracts and unexpired leases that the Debtors seek to assume and assign to the Buyers (the

“Assumed Executory Contracts”) as of May 29, 2020 (or such other date on which the transactions


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contemplated by the Buyers’ Final APA are consummated, the “Closing Date”) and setting forth

the proposed Cure Amounts, if any, for such Assumed Executory Contracts. In accordance with

the provisions of the Bidding Procedures Order, the Debtors further filed and served the Notice of

Assumption and Assignment with Respect to Unexpired Leases of the Debtors (D.I. 415) on May

23, 2020, which sets forth the unexpired leases designated by Salon Holdings intended to be

assumed by the Debtors and assigned to Buyers as of the Closing Date. Pursuant to Fed. R. Bankr.

P. 6006(c), the Court finds that the service of such Contract Assumption Notice was good,

sufficient and appropriate under the circumstances, in compliance with the Bidding Procedures

Order, and no further notice need be given in respect of establishing the Cure Amount for the

Assumed Executory Contracts. The Contract Counterparties have had an opportunity to object to

the Cure Amounts set forth in the Contract Assumption Notice, as applicable.

       C.      As evidenced by the certificates and notices of service previously filed with the

Court, proper, timely, adequate, and sufficient notice of the Sale Motion, Auction, Sale Hearing,

and Sale has been provided in accordance with sections 102(1), 363 and 365 of the Bankruptcy

Code and Bankruptcy Rules 2002, 6004, 6006 and 9014. The Debtors also have complied with all

obligations to provide notice of the Auction, the Sale Hearing, and the Sale required by the Bidding

Procedures Order. Such notice was good, sufficient and appropriate under the circumstances, and

no other or further notice of the Sale Motion, Auction, Sale Hearing, Sale, or assumption and

assignment of the Assumed Executory Contracts is required.

       D.      The Debtors have articulated good and sufficient reasons for the Bankruptcy Court

to grant the relief requested in the Sale Motion.

       E.      The disclosures made by the Debtors concerning the Sale Motion, the Final APA,

the Auction, the Sale, and the Sale Hearing were good, complete and adequate.




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III.   Good Faith of the Buyers

       A.      No Buyer is an “insider” of the Debtors, as that term is defined in section 101(31)

of the Bankruptcy Code.

       B.      The Buyers are purchasing the Acquired Assets in good faith and are good faith

buyers within the meaning of section 363(m) of the Bankruptcy Code and is, therefore, entitled to

the full protection of section 363(m) of the Bankruptcy Code, and otherwise have proceeded in

good faith in all respects in connection with these Chapter 11 Cases in that, inter alia: (a) the

Buyers recognized that the Debtors were free to deal with any other party interested in acquiring

any or all of the Acquired Assets; (b) the Buyers complied with the provisions in the Bidding

Procedures Order; (c) the Buyers agreed to subject their bid to the competitive Bidding Procedures

set forth in the Bidding Procedures Order; (d) the Buyers in no way induced or caused the chapter

11 filing by any of the Debtors; (e) all payments to be made by the Buyers and other agreements

or arrangements entered into by the Buyers in connection with the Sale have been disclosed; (f) the

Buyers have not violated section 363(n) of the Bankruptcy Code by any action or inaction; (g) no

common identity of directors or controlling stockholders exists between the Buyers and any of the

Debtors; and (h) the negotiation and execution of Final APA and any other agreements or

instruments related thereto were at arms’ length and in good faith.

IV.    Highest or Best Offer

       A.      Prior to selecting the Buyers as the Successful Bidder, the Debtors solicited offers

to acquire the Acquired Assets from a wide variety of parties. In doing so, the Debtors afforded

Potential Bidders confidential due diligence access to provide any such bidders an opportunity to

submit a Qualified Bid.

       B.      The Bidding Procedures were designed to obtain the highest and best value for the

Acquired Assets for the Debtors and their estates, and the Final APA constitutes the highest and


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best offer for the Acquired Assets. The Debtors’ determination, in consultation with the

Committee, that the Final APA constitutes the highest or best offer for the Acquired Assets was a

reasonable, valid and sound exercise of the Debtors’ business judgment.

        C.      The Final APA represents a fair and reasonable offer to purchase the Acquired

Assets under the circumstances of these Chapter 11 Cases. No other person or entity or group of

entities has offered to purchase the Acquired Assets for greater economic value or otherwise better

terms to the Debtors’ estates than the Buyers.

        D.      Approval of the Sale Motion and the Final APA and each of its exhibits, and the

consummation of the transactions contemplated thereby is in the best interests of the Debtors, their

creditors, their estates and other parties in interest.

        E.      The Debtors have demonstrated compelling circumstances and a good, sufficient,

and sound business purpose and justification for the Sale prior to, and outside of, a plan of

reorganization.

V.      No Fraudulent Transfer

        A.      The consideration provided by the Buyers for the Acquired Assets, Assumed

Executory Contracts and Assumed Liabilities pursuant to the Final APA is fair and adequate and

constitutes reasonably equivalent value and fair consideration under the Bankruptcy Code and

under the laws of the United States, any state, territory, possession, or the District of Columbia.

VI.     Method of Effecting the Sale

        A.      The Final APA provides that the Buyers shall acquire the Acquired Assets in

exchange for certain cash amounts as well as a credit bid of Salon Holdings’ obligations (the “DIP

Obligations”) arising under and pursuant to that certain Senior Debtor-in-Possession Credit

Agreement (the “DIP Credit Agreement”) by and among Creative Hairdressers, Inc., as borrower,

and Ratner Companies L.C. and Cielo #3119, L.L.C. as guarantors and HC Salon Holdings, Inc.,


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as lender, as amended and approved by the Final Order (i) Authorizing the Debtors to Obtain

Postpetition Secured Financing, (ii) Authorizing the Use of Cash Collateral, (iii) Granting

Adequate Protection to Prepetition Secured Parties, and (iv) Granting Related Relief entered by

the Court on May 28, 2020 (D.I. 442)(the “Final DIP Order”).

VII.   Validity of Transfer

       A.      The Debtors have full corporate power and authority to execute and deliver the

Final APA and all other documents contemplated thereby, and no further consents or approvals

are required for the Debtors to consummate the transactions contemplated by the Final APA,

except as otherwise set forth in the Final APA.

       B.      The transfer of the Acquired Assets to the Buyers, as of the Closing Date, shall

constitute a legal, valid, and effective transfer of the Debtors’ interest in such asset, and vests or

will vest the Buyers or their designees with all right, title, and interest of the Debtors to the

Acquired Assets free and clear of all Encumbrances (as defined below) accruing, arising or relating

to any time prior to the Closing Date, except for the Permitted Encumbrances and Assumed

Liabilities under the Final APA, with all Encumbrances attaching to the net cash proceeds of the

Sale, if any, attributable to the Acquired Assets in which such holder alleges an Encumbrance, in

the same order of priority, with the same validity, force and effect that such Encumbrance had

prior to the Sale, subject to any claims and defenses the Debtors and their estates may possess with

respect thereto. For all purposes in this Sale Order, when the phrase “Buyers or their designees”

or “Buyers and their designees” is used, the the term “designee’ shall be limited to a wholly owned

subsidiary of Salon Holdings.

VIII. Section 363(f) is Satisfied

       A.      The Buyers would not have entered into the Final APA and would not consummate

the transactions contemplated thereby (by paying the Purchase Price and assuming the Assumed


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Liabilities) if the sale of the Acquired Assets to the Buyers, and the assumption and assignment of

the Assumed Executory Contracts to the Buyers, were not, except as otherwise provided in the

Final APA with respect to the Assumed Liabilities, free and clear of all Encumbrances of any kind

or nature whatsoever, or if the Buyers would, or in the future could (except and only to the extent

expressly provided in the Final APA and with respect to the Assumed Liabilities), be liable for any

of such Encumbrances, including, but not limited to the following: (1) all mortgages, deeds of trust

and security interests; (2) any pension, welfare, compensation or other employee benefit plans,

agreements, practices and programs, including, without limitation, any pension plan of any Debtor;

(3) any other labor or employment, worker’s compensation, occupational disease or

unemployment or temporary disability related claim, including, without limitation, claims that

might otherwise arise under or pursuant to any of the following, as they may be amended from

time to time (a) the Employee Retirement Income Security Act of 1974, as amended (“ERISA”),

(b) the Fair Labor Standards Act, (c) Title VII of the Civil Rights Act of 1964, (d) the Federal

Rehabilitation Act of 1973, (e) the National Labor Relations Act, (f) the Worker Adjustment and

Retraining Notification Act of 1988, (g) the Age Discrimination In Employment Act of 1967

(including Older Workers Benefit Protection Act), (h) the Americans with Disabilities Act of 1990

(including the ADA Amendments Act of 2008), (i) the Consolidated Omnibus Budget

Reconciliation Act of 1985, (j) state discrimination laws, (k) state unemployment compensation

laws or any other similar state laws, or (1) any other state or federal labor or employment or benefit

claims relating to any employment with any of the Debtors or any of their respective predecessors;

(4) any bulk sales or similar law; (5) any tax statutes or ordinances, including, without limitation,

the Internal Revenue Code of 1986, as amended, including, without limitation, any environmental

liens or claims; and (6) any theories of transferee or successor liability, to the extent allowed by

applicable law, except as otherwise set forth in this Sale Order.


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       B.      To the extent allowed by applicable law, except as otherwise set forth in this Sale

Order, the Buyers (i) are not, and shall not be considered, successors to the Debtors, (ii) have not,

de facto or otherwise, merged with or into the Debtors, (iii) are not a continuation or substantial

continuation of any of the Debtors or their respective estates, businesses or operations, or any

enterprise of the Debtors, and (iv) do not have a common identity of incorporators, directors or

equity holders with the Debtors.

       C.      The Debtors may sell the Acquired Assets free and clear of all Encumbrances

(except for the Assumed Liabilities) because, in each case, one or more of the standards set forth

in section 363(f)(1)-(5) of the Bankruptcy Code has been satisfied.              Those holders of

Encumbrances, who did not object, or who withdrew their objections, to the Sale or the Sale

Motion are deemed to have consented pursuant to section 363(f)(2) of the Bankruptcy Code. Those

holders of the Encumbrances, who did object fall within one or more of the other subsections of

section 363(f) and are adequately protected by having their Encumbrances, if any, attach to the net

cash proceeds of the Sale attributable to the Acquired Assets in which such holder alleges an

Encumbrance, in the same order of priority, with the same validity, force and effect and subject to

all of the Debtors’ defenses and counterclaims, that such Encumbrance had prior to the Sale.

       D.      The Buyers shall have no obligations with respect to any liabilities of the Debtors

other than the Assumed Liabilities and such obligations specifically set forth in and solely to the

extent provided pursuant to the Final APA.

IX.    Assumption and Assignment of the Executory Contracts

       A.      The assumption and assignment of the Assumed Executory Contracts pursuant to

the terms of this Sale Order is integral to the Final APA and represents the reasonable exercise of

sound and prudent business judgment by the Debtors.




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        B.      Except as provided in this Sale Order and subject to resolution of pending

objections to Cure Amounts, the amounts set forth on Exhibit B annexed hereto are the sole

amounts necessary under sections 365(b)(1)(A) and (B) and 365(f)(2)(A) of the Bankruptcy Code

to cure all defaults and pay all actual pecuniary losses under the Assumed Executory Contracts

(the “Cure Amounts”); provided, however, that amounts that become due pursuant to the unexpired

leases and executory contracts assumed by the Debtors and assigned to the Buyers or their

designees after the Closing Date shall be paid by Buyers in the ordinary course of business, subject

to the rights of all parties to dispute any amount as being due and owing.

        C.      Notwithstanding anything to the contrary herein or in the Final APA, pursuant to

the terms of the Final APA, the Buyers have agreed to: (i) cure and/or provide adequate assurance

of cure of any monetary default existing on the Closing Date, or such other date as may be agreed

upon by Buyers and the counterparty to such Assumed Executory Contract, under any of the

Assumed Executory Contracts, within the meaning of section 365(b)(1)(A) of the Bankruptcy

Code; (ii) provide compensation or adequate assurance of compensation to each Contract

Counterparty for actual pecuniary loss to such party resulting from a default prior to the Closing

Date under any of the Assumed Executory Contracts, within the meaning of section 365(b)(1)(B)

of the Bankruptcy Code; (iii) provide adequate assurance of its future performance under the

Assumed Executory Contracts within the meaning of sections 365(b)(1)(C), 365(b)(3) (to the

extent applicable) and 365(f)(2)(B) of the Bankruptcy Code, and (iv) at Closing, pay to the Debtors

the sum of $500,000 as a portion of the Assumed Liabilities, which amount shall be held in escrow

by the Debtors, subject to further order of the Court, and used solely for the purpose of satisfying

post-petition administrative claims of landlords of leases of non-residential real property, i.e., those

claims under the CHI leases accruing from and including the petition date in the chapter 11 cases




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through and including the effective date of the rejection of the respective lease, for CHI leases that

have been rejected by the Debtors

X.     Circumstances for an Immediate Sale

       A.      To enhance the Debtors’ level of liquidity, to reduce the amount of postpetition

financing borne by the Debtors, and to maximize the amount of funding available to provide for a

timely exit from these Chapter 11 Cases, it is essential that the Sale of the Acquired Assets occur

within the time constraints set forth in the Final APA. Time is of the essence in consummating

the Sale.

       B.      Given all of the circumstances of these Chapter 11 Cases and the adequacy and fair

value of the Purchase Price under the Final APA, the proposed Sale of the Acquired Assets to the

Buyers constitutes a reasonable and sound exercise of the Debtors’ business judgment and should

be approved.

       C.      The Sale does not constitute a de facto or sub rosa plan of reorganization or

liquidation because it does not propose to (i) impair or restructure existing debt of, or equity

interests in, the Debtors, (ii) impair or circumvent voting rights with respect to any plan proposed

by the Debtors, (iii) circumvent chapter 11 safeguards, including those set forth in sections 1125

and 1129 of the Bankruptcy Code, or (iv) classify claims or equity interests.

       D.      The consummation of the Sale is legal, valid and properly authorized under all

applicable provisions of the Bankruptcy Code, including, without limitation, sections 105(a),

363(b), 363(f), 363(m), 365(b) and 365(f), and all of the applicable requirements of such sections

have been complied with in respect of the Sale.




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    NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
THAT:
                          General Provisions

       1.      The relief requested in the Sale Motion is granted and approved, and the Sale

contemplated thereby and in the Final APA is approved as set forth in this Sale Order.

       2.      The record of these Chapter 11 Cases, including the Court’s findings of fact and

conclusions of law, set forth in the Bidding Procedures Order, are incorporated herein by reference,

and the Court takes judicial notice of the record.

       3.      Any and all objections, if any, to the Sale Motion or the relief requested therein that

have not been withdrawn, waived, or settled, and all reservations of rights included in such

objections, except objections to the amount of any Cure or adequate assurance of future

performance, are hereby overruled on the merits with prejudice, and in each case, the party

asserting the objection or reservation of right is enjoined from taking any action against the Buyers,

their affiliates, or any agents of the foregoing to recover any claim which such person or entity has

solely against the Debtors, or their estates. Those parties who did not object or who withdrew their

objections to the Sale Motion are deemed to have consented pursuant to section 363(f)(2) of the

Bankruptcy Code. Notwithstanding the forgoing, the objections of Publix Super Markets, Inc.,

PSM Colonial Crossings, LLC, Real Sub, LLC, PSM Island, Crossing, LLC, PC Property

Holdings LLC, PSM FishHawk, LLC, PSM Palm Coast, LLC, Ocala Retail Partners, LLC or PSM

Dunlawton Square, LLC under Section 365(f)(2)(B) of the Bankruptcy Code with respect to the

Buyers’ ability to provide adequate assurance of future performance are not overruled and shall

remain pending subject to an agreement of the those objectors and the Buyers, or further Order of

this Court. Accordingly, the Publix Landlords’ twenty-three (23) leases identified by the Debtors

for assumption and assignment shall be excluded from the Acquired Assets transferred to the




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Buyers absent the consent of the Publix Landlords or as otherwise authorized by further order of

the Court.

       4.      Any pending objections to the amount of any Cure amount shall be heard by the

Court at a hearing to be set by further order of the Court, unless otherwise resolved by the Buyers,

Debtors and such objecting Contract Counterparties.

                                   Approval of the Final APA

       5.      The Final APA (including, without limitation, the obligations respecting the

Expense Reimbursement contained therein) and all ancillary documents are hereby authorized and

approved in their entirety, as modified by this Sale Order. The failure to specifically include any

particular provision of the Final APA or the ancillary documents in connection therewith in this

Sale Order shall not diminish or impair the effectiveness of such provision.

       6.      The portion of the definition of the term “Acquired Assets” found in Subsection

1.1 (s) (ii) of the Final APA is hereby deemed to be amended to provide that Acquired Assets shall

include avoidance actions under chapter 5 of the Bankruptcy Code and applicable for CHI rejected

Leases of non-residential real property and for which the lease counterparty (“a Rejection

Landlord”) agrees to look solely to the $500,000 paid by the Buyers to the Seller for satisfaction

of rent accruing under their respective leases for the period from and including the petition date in

the chapter 11 cases through and including the effective date of the rejection of the respective

lease. For the avoidance of doubt, the Buyers agree that they shall not (x) transfer those assigned

claims/causes of action and (y) pursue any of those assigned claims/causes of action against any

Rejection Landlord.

       7.      The Definition of “Excluded Assets” in the Final APA is hereby deemed amended

to include the $735,881.00 in net settlement proceeds that the Debtors received pursuant to a

confidential settlement agreement entered into prior to the petition date.


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        8.      Pursuant to section 363(b) of the Bankruptcy Code, the Debtors are authorized,

empowered and directed to take any and all actions necessary or appropriate to (i) consummate the

Sale of the Acquired Assets to the Buyers pursuant to and in accordance with the terms and

conditions of the Final APA and this Sale Order, (ii) transfer and assign all right, title, and interest

to all property, licenses (including, to the extent transferable, all Intellectual Property Licenses

listed on Exhibit A to the Final APA), and rights to be conveyed in accordance with the terms and

conditions of this Sale Order and the APA, and (iii) execute and deliver, perform under,

consummate, implement and close fully the Final APA, together with all additional instruments

and documents that may be reasonably necessary or desirable to implement the Final APA and the

Sale, or as may be reasonably necessary or appropriate to the performance of the obligations as

contemplated by the Final APA and such ancillary documents; and further, if necessary, pay the

Expense Reimbursement, pursuant to and in accordance with the terms and conditions of the Final

APA and the Debtors shall at all times act in accordance with the terms thereof.

        9.      This Sale Order shall be binding in all respects upon the Debtors, their estates, all

creditors, all holders of equity interests in any Debtor, all holders of any Claim(s) (as defined in

section 101(5) of the Bankruptcy Code) against any Debtor, whether known or unknown, any

holders of Liens (as defined in section 101(37) of the Bankruptcy Code, including, without

limitation, all holders of recorded and unrecorded Liens encumbering all or any portion of the

Acquired Assets), all Contract Counterparties, the Buyers and all successors and assigns of the

Buyers, any other bidders for the Acquired Assets, any trustees, if any, subsequently appointed in

any of the Debtors’ Chapter 11 Cases or upon a conversion to chapter 7 under the Bankruptcy

Code of any of the Debtors’ cases. This Sale Order and the Final APA shall inure to the benefit

of the Debtors, their estates, their creditors, the Buyers, and their respective successors and assigns.




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                                Transfer of the Acquired Assets

       10.     Pursuant to sections 105(a), 363(b), 363(f), 365(b) and 365(f) of the Bankruptcy

Code, the Debtors are authorized and directed to transfer the Acquired Assets on the Closing Date.

The Acquired Assets (including the Assumed Executory Contracts) shall be transferred to the

Buyers, and their designees, upon and as of the Closing Date and such transfer shall constitute a

legal, valid, binding and effective transfer of the Debtors’ interest in such Acquired Assets and,

upon the Debtors’ receipt of the Purchase Price, shall be free and clear of any lien (including a

“lien” as defined in section 101(37) of the Bankruptcy Code), Encumbrance, Claim, right, demand,

charge, mortgage, deed of trust, option, pledge, security interest or similar interest, title defect,

hypothecation, encroachment, right of first refusal, preemptive right, proxy, voting trust or

agreement, transfer restriction under any shareholder agreement or similar agreement, judgment,

conditional sale or other title retention agreement or other imposition, imperfection or defect of

title or restriction on transfer or use of any nature whatsoever (collectively, the “Encumbrances”),

except for the Assumed Liabilities under the Final APA. Upon the Closing, the Buyers and their

designees, as applicable, shall take title to and possession of the Acquired Assets, subject only to

the Assumed Liabilities, and the Acquired Assets shall thereafter be the sole and exclusive property

of the Buyers or their designees, as applicable, and not be deemed property of the Debtors or their

estates for any purpose after the Closing, irrespective of whether the Debtors have access to or

custody of any Acquired Assets to provide services under any transition services arrangement. All

Encumbrances shall attach solely to the net proceeds of the Sale with the same validity, priority,

force and effect that they had as of the petition date as against the Acquired Assets, subject to any

claims and defenses the Debtors and their estates may possess with respect thereto.

       11.     The sale of the Acquired Assets to the Buyers, and the assumption and assignment

of the Assumed Executory Contracts to the Buyers, shall be, except as otherwise provided in the


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Final APA with respect to the Assumed Liabilities or set forth in this Sale Order, free and clear of

all Encumbrances of any kind or nature whatsoever, or if the Buyers would, or in the future could

(except and only to the extent expressly provided in the Final APA and with respect to the Assumed

Liabilities), be liable for any of such Encumbrances, including, but not limited to in respect of the

following: (1) all mortgages, deeds of trust and security interests; (2) any pension, welfare,

compensation or other employee benefit plans, agreements, practices and programs, including,

without limitation, any pension plan of any Debtor; (3) any other labor or employment, worker’s

compensation, occupational disease or unemployment or temporary disability related claim,

including, without limitation, claims that might otherwise arise under or pursuant to any of the

following, as they may be amended from time to time (a) ERISA, as amended, (b) the Fair Labor

Standards Act, (c) Title VII of the Civil Rights Act of 1964, (d) the Federal Rehabilitation Act of

1973, (e) the National Labor Relations Act, (f) the Worker Adjustment and Retraining Notification

Act of 1988, (g) the Age Discrimination In Employment Act of 1967 (including Older Workers

Benefit Protection Act), (h) the Americans with Disabilities Act of 1990 (including the ADA

Amendments Act of 2008), (i) the Consolidated Omnibus Budget Reconciliation Act of 1985,

(j) state discrimination laws, (k) state unemployment compensation laws or any other similar state

laws, or (1) any other state or federal labor or employment or benefit claims relating to any

employment with any of the Debtors or any of their respective predecessors; (4) any bulk sales or

similar law; (5) any tax statutes or ordinances, including, without limitation, the Internal Revenue

Code of 1986, as amended; and (6) any theories of transferee or successor liability, to the extent

allowed by applicable law, except as otherwise set forth in this Sale Order.

       12.     Except as expressly provided by the Final APA with respect to the Assumed

Liabilities and Assumed Executory Contracts, all persons and entities holding Encumbrances on

all or any portion of the Acquired Assets, hereby are forever barred, estopped and permanently


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enjoined from asserting against the Buyers or its successors or assigns, their property or the

Acquired Assets, such persons’ or entities’ rights relating to any such Encumbrances. On the

Closing Date, the Debtors and each holder of an Encumbrance is authorized and directed to execute

such documents and take all other actions as may be deemed by the Buyers to be necessary or

desirable to release its Encumbrances on the Acquired Assets, as provided for herein, as such

Encumbrances may have been recorded or may otherwise exist.

        13.     All persons and entities are hereby forever prohibited and enjoined from taking any

action that would adversely affect or interfere with the ability of the Debtors to sell and transfer

the Acquired Assets and assign the Assumed Executory Contracts to the Buyers in accordance

with the terms of the Final APA and this Sale Order.

        14.     All persons and entities that are in possession of some or all of the Acquired Assets

on the Closing Date are directed to surrender possession of such Acquired Assets to the Buyers or

its assignee at the Closing.

        15.     A certified copy of this Sale Order may be filed with the appropriate clerk and/or

recorded with the appropriate recorder to cancel any Encumbrances of record, and shall be deemed

sufficient authority for such cancellation.

        16.     Upon the Closing, the Debtors are hereby authorized and directed, and the Buyers

is hereby authorized, to execute and file termination statements, instruments of satisfaction,

releases of Liens, and any other documents necessary or desirable to the Buyers for the purpose of

documenting the release of all Encumbrances, which any person or entity has or may assert with

respect to all or any portion of the Acquired Assets.

        17.     This Sale Order is and shall be binding upon and govern the acts of all persons and

entities, including, without limitation, all filing agents, filing officers, title agents, title companies,

recorders of mortgages, recorders of deeds, registrars of deeds, administrative agencies,


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governmental departments, secretaries of state, federal and local officials, and all other persons

and entities who may be required by operation of law, the duties of their office, or contract, to

accept, file, register or otherwise record or release any documents or instruments, or who may be

required to report or insure any title or state of title in or to any lease; and each of the foregoing

persons and entities is hereby directed to accept for filing this Sale Order as sole and sufficient

evidence of such transfer of title and shall rely upon this Sale Order to consummate the transactions

contemplated by the Final APA. The provisions of this Sale Order authorizing the Sale of the

Acquired Assets by the Debtors free and clear of Encumbrances shall be self-executing, and none

of the Debtors, the Buyers or any other party shall be required to execute or file releases,

termination statements, assignments, cancellations, consents or other instruments to effectuate,

consummate, and/or implement the provisions hereof with respect to the Sale; provided, however,

that this paragraph shall not excuse such parties from performing any and all of their respective

obligations under this Sale Order or the Final APA.

       18.     Notwithstanding anything to the contrary in this Sale Order, in the Sale Motion or

the Final APA, the Buyers shall receive the benefits and burdens of, and be responsible for payment

in full of all accrued charges, payments, and the like arising under or pursuant to the Assumed

Liabilities. If the Buyers dispute any alleged charge, credit or payment under any of the Assumed

Liabilities and the parties are unable to come to an agreement regarding the amount actually owed,

the dispute may be adjudicated by the Bankruptcy Court or any other court of competent

jurisdiction. The Buyers shall be entitled to file or record a certified copy of this Sale Order in the

applicable public records in order to give notice of the termination and release of Encumbrances

pursuant to this Sale Order.

       19.     This Sale Order shall be effective as a determination that, as of the Closing Date,

all Claims (as defined in section 101(5) of the Bankruptcy Code), other than Assumed Liabilities,


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arising, at law, in equity, or otherwise, based in whole or in part on any act, omission, transaction,

event or other occurrence, or circumstances taking place on or before the Closing Date, in any way

relating to the Debtors or the Chapter 11 Cases or the negotiation, formulation, preparation, entry

into, or dissemination of the Final APA have been unconditionally released, discharged and

terminated as to Buyers and the Acquired Assets.

                                Executory Contracts and Leases

       20.     Upon the Closing of the Sale, the Debtors are authorized and directed to assume

and assign the Assumed Executory Contracts to the Buyers or their designees, as applicable, free

and clear of all Encumbrances, except for the obligation to pay the applicable Cure Amount, if

any; provided, however, that such assumption by the Debtors and assignment to the Buyers, or

their designees, will be subject to any agreement or modification entered into between the Buyers

and the counterparties to such Assumed Executory Contract, and assumed and assigned as

amended or modified. With respect to each Assumed Executory Contract, the payment of the

applicable agreed upon Cure Amount (if any) set forth on Exhibit B by the Buyers shall (a) effect

a cure of all monetary defaults existing thereunder as of the Closing Date, (b) compensate the

applicable Contract Counterparty for any actual pecuniary loss resulting from such default, and

(c) together with the assumption of the Assumed Executory Contract by the Debtors and

assignment to the Buyers or their designees, as applicable, constitute adequate assurance of future

performance thereof, except as otherwise set forth in this Order. The Debtors shall then have

assumed the Assumed Executory Contracts and assigned to the Buyers or their designees, as

applicable, such Assumed Executory Contracts, which assumption and assignment, pursuant to

section 365(f) of the Bankruptcy Code, shall not be a default under such Assumed Executory

Contract. After the payment of the relevant Cure Amounts by the Buyers as agreed to by each

counterparty to an Assumed Executory Contract or as ordered by the Court, the Debtors and the


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Buyers shall not have any further liabilities to the Contract Counterparties other than the Buyers’

obligations under the Assumed Executory Contracts that accrue and become due and payable on

or after the Closing Date.

       21.     Pursuant to the terms of the Final APA, the Buyers may, by written notice to the

Debtors, choose to exclude certain of the Debtors’ contracts or leases from the list of Assumed

Executory Contracts until three (3) business days prior to the Closing Date, in which case each

such contract or lease shall not be assumed by the Debtors.

       22.     Any provisions in any Assumed Executory Contract that prohibits or conditions the

assignment of such Assumed Executory Contract or allows the party to such Assumed Executory

Contract to terminate, recapture, impose any penalty, condition on renewal or extension or modify

any term or condition upon the assignment of such Assumed Executory Contract shall, only in

connection with the assumption and assignment of any Assumed Executory Contract or lease

pursuant to the terms of this Order, constitute unenforceable anti-assignment provisions that are

void and of no force and effect pursuant to section 365(f) of the Bankruptcy Code. All other

requirements and conditions under sections 363 and 365 of the Bankruptcy Code for the

assumption by the Debtors and assignment to the Buyers of the Assumed Executory Contracts

have been satisfied, and such assumption and assignment shall not constitute a default thereunder.

Upon the Closing and the payment of the required Cure Amount by the Buyers, if any, in

accordance with sections 363 and 365 of the Bankruptcy Code, the Buyers or their designee, as

applicable, shall be fully and irrevocably vested with all right, title and interest of the Debtors

under each Assumed Executory Contract, as may be amended or modified by the Debtors prior to

assumption, and subject to any agreement or other modification to such Assumed Executory

Contract between the Buyers, or their designees, and the applicable counterparty to such Assumed

Executory Contract (the defined term “Assumed Executory Contract” as it is used throughout this


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Order shall include all amendments and modifications to any executory contract or lease entered

into between the Debtors and counterparties prior to assumption, and between Buyers, or their

wholly-owned subsidiaries, and counterparties to such executory contract or lease before or after

assignment to Buyers).

       23.     Other than as provided under the Final APA, there shall be no rent accelerations,

assignment fees, deposits, increases (including advertising rates) or any other fees charged to the

Buyers or the Debtors as a result of the assumption and assignment of the Assumed Executory

Contracts.

       24.     Notwithstanding the foregoing, with respect to each unexpired lease that the

Buyers, or their designees, seek to assume as an Assumed Executory Contract, the Buyers, or their

designees, as applicable, shall also assume in connection with the assumption of such lease: (a)

any and all rent, additional rent and other tenant obligations under such lease that have accrued but

have not come due or have not been billed as of the date of assumption and assignment, including,

but not limited to, adjustments and reconciliations and (b) any and all indemnity obligations under

such leases notwithstanding anything to the contrary in this Sale Order or the Final APA. In

addition, the Buyers shall be entitled to the receipt of any credits for adjustments and reconciliation

relating to such leases.

       25.     Upon the Closing and the payment of the applicable Cure Amount by the Buyers,

if any, with respect to any Assumed Executory Contract, the Buyers or their designee, as

applicable, shall be deemed to be substituted for the relevant Debtor as a party to such Assumed

Executory Contract, and the Debtors shall be relieved, pursuant to section 365(k) of the

Bankruptcy Code, from any further liability under such Assumed Executory Contract.

       26.     Upon the Closing and the payment of the applicable Cure Amounts, if any, the

Assumed Executory Contracts shall remain in full force and effect, , and no default shall exist


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thereunder and there shall not exist any event or condition which, with the passage of time or

giving of notice, or both, would constitute such a default. The Buyers shall pay all undisputed

portions of the Cure Amounts to the counterparties to the Assumed Executory Contracts within

ten (10) days of assumption and assignment of the Assumed Executory Contracts (unless otherwise

agreed by a counterparty). The Buyers shall establish a reserve for the disputed portions of Cure

Amounts and pay such amounts to the counterparties to the Assumed Executory Contracts within

ten (10) days of an agreement between the Buyers and applicable counterparty or Order of the

Court establishing the Cure Amount.

       27.     Pursuant to sections 105(a), 363 and 365 of the Bankruptcy Code, except for the

right to assert a claim for a Cure Amount, all Contract Counterparties are forever barred and

permanently enjoined from raising or asserting against the Debtors, their estates, the Buyers, or

any of their respective successors and assigns any assignment fee, default, breach or claim or

pecuniary loss, or condition to assignment, arising under or related to the Assumed Executory

Contracts existing as of the Closing Date or arising by reason of the Closing.

                       Sale of Avoidance Actions and Causes of Action

       28.     As more fully set forth in the Final APA, this Sale Order approves and provides for

the transfer to the Buyers of all avoidance claims or causes of action arising under Chapter 5 of

the Bankruptcy Code or applicable Law relating to: (i) any vendors or contract counterparties with

whom the Buyers will continue to do business; (ii) the Acquired Assets, Assumed Executory

Contracts and/or Assumed Liabilities; (iii) all Claims or Causes of Action (the “Ratner Causes of

Action”) against the Ratner Group; (iv) the Assumed Leases; (v) CHI leases of non-residential real

property that are rejected and for which the counterparty has agreed to look solely to the $500,000

paid by the Buyers to the Debtors for satisfaction of rent accruing under such respective leases for

the period from and including the petition date in the chapter 11 cases through and including the


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effective date of the rejection of the respective lease; and (vi) all actions against current or former

officers and directors of the Debtors.

                                         Other Provisions

          29.   Effective upon the Closing Date and except as otherwise provided by stipulations

filed with or announced to the Court with respect to a specific matter, all persons and entities are

forever prohibited and permanently enjoined from commencing or continuing in any manner any

action or other proceeding, whether in law or equity, in any judicial, administrative, arbitral or

other proceeding against the Buyers, their successors and assigns, or the Acquired Assets, with

respect to (a) any Encumbrance arising prior to the Closing of the Sale or (b) successor liability,

to the extent allowed by applicable law, except as otherwise set forth in this Sale Order, including,

without limitation, the following actions: (i) commencing or continuing in any manner any action

or other proceeding against the Buyers, their successors or assigns, assets or properties; (ii)

enforcing, attaching, collecting or recovering in any manner any judgment, award, decree or order

against the Buyers, its successors or assigns, assets or properties; (iii) creating, perfecting, or

enforcing any Encumbrance against the Buyers, their successors or assigns, assets or properties;

(iv) asserting any setoff, right or subrogation or recoupment of any kind against any obligation due

the Buyers or their successors or assigns; (v) commencing or continuing any action, in any manner

or place, that does not comply or is inconsistent with the provisions of this Sale Order or other

orders of this Court, or the agreements or actions contemplated or taken in respect thereof; or (vi)

revoking, terminating or failing or refusing to issue or renew and license, permits or authorizations

to operate any of the Acquired Assets or conduct any of the businesses operated with the Acquired

Assets.

          30.   To the maximum extent available under applicable law and to the extent provided

for under the Final APA, except as otherwise set forth in this Sale Order, the Buyers shall be


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authorized, as of the Closing Date, to operate under any license, permit, registration and

governmental authorization or approval of the Debtors with respect to the Acquired Assets and, to

the maximum extent available under applicable law and to the extent provided for under the Final

APA, all such licenses, permits, registrations and governmental authorizations and approvals are

deemed to have been transferred to the Buyers as of the Closing Date, and all persons and entities

are forever prohibited and permanently enjoined from commencing or continuing in any manner

any action or other proceeding, whether in law or equity, in any judicial, administrative, arbitral

or other proceeding seeking to revoke, terminate or refuse to renew, based upon conduct occurring

prior to the Sale, any license, permit or authorization to operate any of the Acquired Assets or

conduct any of the businesses operated with the Acquired Assets. All existing licenses or permits

applicable to the Acquired Assets shall remain in place for the Buyers’ benefit until either new

licenses and permits are obtained or existing licenses and permits are transferred in accordance

with applicable administrative procedures.

         31.   Notwithstanding the foregoing, nothing in this Sale Order or the Final APA

authorizes the transfer or assignment of any governmental (a) license, (b) permit, (c) registration,

(d) authorization, or (e) approval, or the discontinuation of any obligation thereunder, without

compliance with all applicable legal requirements and approvals under police or regulatory law.

Nothing in this Sale Order divests any tribunal of any jurisdiction it may have under police or

regulatory law to interpret this Sale Order or to adjudicate any defense asserted under this Sale

Order.

         32.   Except for the Assumed Liabilities, the Buyers shall not have any liability for any

obligation of the Debtors arising under or related to any of the Acquired Assets. Without limiting

the generality of the foregoing, and except for the Assumed Liabilities, the Buyers shall not be

liable for any Claims against the Debtors or any of their predecessors or affiliates. By virtue of


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the Sale, to the extent allowed by applicable law and except as otherwise set forth in this Sale

Order, the Buyers and their affiliates, designees, successors and assigns shall not be deemed or

considered to, (a) be a successor (or other such similarly situated party), or otherwise be deemed

a successor, to the Debtors, including a “successor employer” for the purposes of the Internal

Revenue Code of 1986, the Employee Retirement Income Security Act of 1974, or other applicable

laws; (b) have any responsibility or liability for any obligations of Debtors, or any affiliate of

Debtors, based on any theory of successor or similar theories of liability; (c) have, de- facto or

otherwise, merged with or into any of the Debtors; (d) be an alter ego or a mere continuation or

substantial continuation of any of the Debtors (and there is no continuity of enterprise between any

Buyer and any Debtor), including within the meaning of any foreign, federal, state or local revenue,

pension, ERISA, tax, labor, employment, environmental, or other law, rule or regulation (including

filing requirements under any such laws, rules or regulations), or under any products liability law

or doctrine with respect to Debtors’ liability under such law, rule or regulation or doctrine; or (e)

be holding itself out to the public as a continuation of any of Debtors or their respective estates.

       33.     The transactions contemplated by the Final APA and this Sale Order are undertaken

by the Buyers without collusion and in good faith, as that term is described in section 363(m) of

the Bankruptcy Code, and accordingly, the reversal or modification on appeal of the authorization

provided herein to consummate the Sale shall not affect the validity of the Sale (including the

assumption and assignment of the Assumed Executory Contracts), unless such authorization and

such Sale are duly stayed pending such appeal. The Buyers are a good faith buyer within the

meaning of section 363(m) of the Bankruptcy Code and, as such, the Buyers are entitled to the full

protections of section 363(m) of the Bankruptcy Code.




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       34.     Pursuant to Bankruptcy Rules 7062, 9014, 6004(h) and 6006(d), this Sale Order

shall be effective immediately upon entry and the Debtors and the Buyers are authorized to close

the Sale immediately upon entry of this Sale Order.

       35.     No bulk sales law or any similar law of any state or other jurisdiction applies in any

way to the Sale.

       36.     The Final APA and any related agreements, documents or other instruments may

be modified, amended or supplemented by the parties thereto and in accordance with the terms

thereof, without further order of the Court provided that any such modification, amendment or

supplement does not have a material adverse effect on the Debtors’ estates, the counterparties to

Assumed Executory Contracts, or on the interests of the Buyers as determined by the Bankruptcy

Court or a court of competent jurisdiction.

       37.     The Court shall retain jurisdiction to, among other things, interpret, implement, and

enforce the terms and provisions of this Sale Order and the Final APA, all amendments thereto

and any releases, waivers and consents hereunder and thereunder, and each of the agreements

executed in connection therewith to which any of the Debtors are a party or which has been

assigned by the Debtors to the Buyers, and to adjudicate, if necessary, any and all disputes

concerning or relating in any way to any of the foregoing.

       38.     All time periods set forth in this Sale Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       39.     To the extent that this Sale Order is inconsistent with any prior order or pleading

with respect to the Sale Motion filed in these Chapter 11 Cases, the terms of this Sale Order shall

govern. In the event of an inconsistency between the Final APA and this Sale Order, the Sale

Order shall govern.




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         40.    Nothing in this Sale Order or the Final APA releases, nullifies, precludes or enjoins

the enforcement of any police or regulatory liability to a governmental unit that any entity would

be subject to as the post-sale owner or operator of property after the date of entry of this Sale

Order.

cc:      Joel I. Sher, Esquire
         Richard M. Goldberg, Esquire
         SHAPIRO SHER GUINOT & SANDLER
         250 W. Pratt Street, Suite 2000
         Baltimore, Maryland 21201

         Jeanette Rice, Assistant United States Trustee
         OFFICE OF THE UNITED STATES TRUSTEE
         6305 Ivy Lane
         Suite 600
         Greenbelt, MD 20770

         Lynn A. Kohen, Esquire
         OFFICE OF THE UNITED STATES TRUSTEE
         6305 Ivy Lane
         Suite 600
         Greenbelt, MD 20770

         Richard A. Chesley, Esquire
         DLA PIPER LLP (US)
         444 West Lake Street
         Chicago, Il 60606-0089

         Keith N. Costa, Esquire
         FAEGRE DRINKER BIDDLE & REATH LLP
         1177 Avenue of the Americas, 41st Floor
         New York, New York 10036

         Master Service List

                                        END OF ORDER




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                    EXHIBIT A
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                               AMENDED AND RESTATED



                         ASSET PURCHASE AGREEMENT

                                  BY AND AMONG

                         CREATIVE HAIRDRESSERS, INC.,

                      THE OTHER SELLER PARTIES HERETO,

                           HC SALON HOLDINGS, INC.

                                          AND

     THE OTHER PARTIES IDENTIFIED ON THE SIGNATURE PAGES HERETO

                                    MAY 27, 2020




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            AMENDED AND RESTATED ASSET PURCHASE AGREEMENT

        This Amended and Restated Asset Purchase Agreement (this “Agreement”) is entered
into as of May 27, 2020 by and among Creative Hairdressers, Inc., a Virginia corporation (“CHI”
or the “Company”), and the direct and indirect Subsidiaries or affiliates of CHI identified on the
signature pages hereto, including Ratner Companies, L.C., a Virginia limited liability company
(together with CHI, each a “Seller” and, collectively, “Sellers”), and HC Salon Holdings, Inc.
(“Salon Holdings”), and the direct and indirect Subsidiaries of Salon Holdings identified on the
signature pages hereto (together with Salon Holdings, each a “Buyer” and collectively,
“Buyers”). Sellers and Buyers are referred to collectively herein as the “Parties” and each, a
“Party”.

                                          WITNESSETH

       WHEREAS, on April 23, 2020 (the “Petition Date”), CHI and certain of its affiliates filed
voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Maryland (the
“Bankruptcy Court”);

       WHEREAS, Sellers wish to sell their on-going hair salon business (the “Business”);

       WHEREAS, the Sellers and the Buyers entered into an Asset Purchase Agreement dated
April 23, 2020; and

       WHEREAS, Sellers and Buyers desire to enter into this Amended and Restated
Agreement to provide for the applicable Buyer to purchase, acquire and assume from the
applicable Seller all of the Acquired Assets (as defined below) and Assumed Liabilities (as
defined below), all in the manner and subject to the terms and conditions set forth in this
Agreement and in accordance with Sections 105, 363 and 365 and other applicable provisions of
the Bankruptcy Code.

       NOW, THEREFORE, in consideration of the mutual promises herein made, and in
consideration of the representations, warranties and covenants herein contained, the Parties
hereby agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

                Section 1.1    Definitions. For purposes of this Agreement:

        “Acquired Assets” means, all of Sellers’ right, title and interest, free and clear of all Liens
(other than Permitted Liens), in and to all of the properties, rights, interests and other tangible
and intangible assets of Sellers for use in or relating to the Business (wherever located and
whether or not required to be reflected on a balance sheet prepared in accordance with GAAP)
including any assets acquired by Sellers after the date hereof but prior to the Closing; provided,
however, that the Acquired Assets shall not include any Excluded Assets. Without limiting the
generality of the foregoing, the Acquired Assets shall include the following (except to the extent
listed or otherwise included as an Excluded Asset):
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        (a)    to the extent transferable, all Intellectual Property related to the Business,
including, but not limited to, all intellectual property rights arising from or relating to: all
algorithms, APIs, designs, net lists, data, databases, data collections, diagrams, inventions
(whether or not patentable), know how, methods, processes, proprietary information,
protocols, schematics, specifications, tools, systems, servers, hardware, computers, point
of sale equipment, inventory management equipment, software, software code (in any
form, including source code and executable or object code), subroutines, techniques, user
interfaces, URLs, web sites, works of authorship and other similar materials, including all
documentation related to any of the foregoing, including instruction manuals, laboratory
notebooks, prototypes, samples, studies and summaries, whether or not embodied in any
tangible form and whether or not specifically listed herein, and all related technology,
that are used in, incorporated in, embodied in, displayed by or relate to, or are used in
connection with the foregoing;

       (b)     all tangible assets owned or leased by Sellers related to the Business or
Salons, including all fixtures, trade fixtures, chairs, supplies, shelving, refrigeration
equipment, computers and computer systems located at the Salons, any corporate offices
or any other real property;

          (c)   all rights under the Assumed Leases and Designated Contracts;

          (d)   the Inventory, whether in the Salons, any warehouse(s) or in transit to the
Salons;

        (e)     all customer and end-user data and information, including information
related to customer purchases or services provided to customers at the Salons, in each
case, to the extent permitted to be assigned, used, or provided by Sellers under applicable
Laws;

          (f)   all in-process customer orders;

       (g)     all trade receivables, whether current or non-current, and all other
accounts receivable, including payment processor receivables, for sales made at the
Salons prior to the Closing;

          (h)   any Permit, to the extent transferable;

        (i)     any and all books, records and other data relating to the Business and the
Salons, including customer lists and customer and end-user information and data,
supplier lists, mailing lists, accounting records, documentation or records, catalogs and
printed materials relating thereto to the extent available;

        (j)    all prepaid expenses, credits, advance payments, claims, security, refunds,
rights of recovery, rights of set-off, rights of recoupment, deposits, charges, sums and
fees (including any such item relating to the payment of Taxes) other than the Excluded
Tax Assets;


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      (k)    any promotional materials, displays, media content and other property or
equipment used in or related to the existing Business;

        (l)     to the extent transferable, all Intellectual Property Licenses, including the
licenses set forth on Schedule A;

        (m)     financial, marketing and business data, pricing and cost information,
business and marketing plans and other information, files, correspondence, records, data,
plans, reports and recorded knowledge, historical trademark files, prosecution files of
Sellers in whatever media retained or stored, including computer programs and disks,
including files in the possession of Sellers;

       (n)     all goodwill associated with the Business or the Acquired Assets;

      (o)    all right of publicity and all similar rights, including all commercial
merchandising rights;

       (p)    product designs, product names, trade names, design rights, tech packs,
artwork, archival materials and advertising materials, copy, commercials, images and
artwork;

        (q)      royalty payments and licensing receivables generated by the Business and
attributable to the period from and/or after the Closing;

       (r)     all Sellers’ telephone, fax numbers and email addresses;

        (s)    any avoidance actions under chapter 5 of the Bankruptcy Code relating to
any (i) Designated Contract and Assumed Leases, (ii) CHI leases that are rejected and
for which the counterparty to the Lease waived its claim for administrative expense under
sections 502, 503 or 365 of the Bankruptcy Code, or (iii) trade vendor that any Buyer will
conduct business with, following the Closing (the “Acquired Avoidance Actions”);

       (t)    all Claims or Causes of Action of the Company against the Ratner
Companies, L.C., Dennis Ratner, Ann Ratner, Gary Ratner, Kelley Ratner Mistretta or
Lauren Ratner and their respective affiliates and trusts (collectively, the “Ratner Group”)
(such Claims or Causes of Actions of the Company, the “Ratner Causes of Action”);

        (u)     all of Seller's rights under warranties, indemnities and all similar rights
against third parties to the extent related to any Acquired Assets;

        (v)     all insurance benefits, including rights and proceeds, arising from or
relating to the Business, the Purchased Assets or the Assumed Liabilities; and

       (w)     any insurance claims, and related proceeds, related to an Acquired Asset;
and




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       provided, however, notwithstanding anything to the contrary set forth in this definition,
       the Acquired Assets shall not include any Excluded Assets.

        “Affiliate” means, with respect to any specified Person, any other Person that directly, or
indirectly through one or more intermediaries, controls, is controlled by, or is under common
control with, such specified Person, where “control” means the power, directly or indirectly, to
direct or cause the direction of the management and policies of another Person, whether through
the ownership of voting securities, by contract, or otherwise.

       “Affiliate Agreement” has the meaning set forth in Section 3.16.

       “Agreement” has the meaning set forth in the preamble.

       “Assignment and Assumption Agreement” has the meaning set forth in Section 2.5(a).

       “Assumed Leases” has the meaning set forth in Section 2.7(b).

        “Assumed Liabilities” means only the following Liabilities of each Seller incurred
exclusively in the operation of the Business and existing as of the Closing (to the extent not paid
prior to the Closing), or to the extent set forth in the following clauses:

              (a)     all Liabilities under the Acquired Assets to the extent such Liabilities arise
       from and after the Closing Date;

               (b)    all Liabilities arising under the Prepetition Senior Secured Debt;

               (c)     all Liabilities to pay for goods or services ordered (and not paid by
       Sellers), prior to the Closing in the Ordinary Course of Business, but which are not
       delivered or performed until after the Closing;

               (d)    all (i) shop or customer credits, sales promotions, rebates, coupons, gift
       cards and certificates or (ii) returns of goods or merchandise, customer prepayments and
       overpayments, customer refunds, credits, reimbursements and related adjustments with
       respect to goods or merchandise;

             (e)      all accrued and unused vacation and sick time of the Transferred
       Employees;

               (f)   all fees and expenses incurred by the Sellers to A&G Realty Partners, LLC
       (“A&G”) pursuant to the Real Estate Services Agreement dated April 23, 2020, between
       Sellers and A&G, which are allowed by the Bankruptcy Court as administrative expense
       obligations;

              (g)     all Cure Costs related solely to the Designed Contracts and Assumed
       Leases that will be assumed by the Sellers and assigned to the Buyers;

               (h)     liabilities under sections 503(b)(9) and 507(a) of the Bankruptcy Code,
       subject to a cap of $50,000;

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               (i)    liabilities relating to “stub rent” administrative claims for CHI leases that
       are rejected in the amount of $500,000, subject to a protocol to be approved by the
       Bankruptcy Court;

       provided, however, that notwithstanding anything to the contrary set forth in this
       definition, the Assumed Liabilities shall not include any Excluded Liabilities.

       “Auction” has the meaning set forth in the Bidding Procedures Order.

       “Back-up Bidder” has the meaning set forth in Section 5.3(e).

       “Bankruptcy Cases” means the jointly administered cases under chapter 11 of the
Bankruptcy Code commenced by Sellers and certain of their Affiliates on April 23 2020, and
continuing immediately thereafter, in the Bankruptcy Court and styled In re Creative
Hairdresser’s, Inc., et al., Case No. 20-14583 (TJC).

       “Bankruptcy Code” has the meaning set forth in the recitals.

       “Bankruptcy Court” has the meaning set forth in the recitals.

        “Bid Protections” has the meaning set forth in Section 5.3(b).

       “Bidding Procedures Motion” has the meaning set forth in Section 5.3(a).

        “Bidding Procedures Order” means an order entered by the Bankruptcy Court authorizing
and approving the bidding, auction and sale procedures regarding the Acquired Assets, and other
related relief, on terms further described in Section 5.3 (Bankruptcy Court Matters) herein and
otherwise in form and substance reasonably satisfactory to Sellers and Buyer.

       “Bill of Sale” has the meaning set forth in Section 2.5(a).

       “Business” has the meaning set forth in the recitals.

        “Business Day” means any day, other than a Saturday, Sunday and any day which is a
legal holiday under the laws of the State of New York or is a day on which banking institutions
located in the State of New York are authorized or required by Law or other governmental action
to close.

       “Buyer” has the meaning set forth in the preamble.

       “Buyer Proration Amount” has the meaning set forth in Section 2.6.

        “Causes of Action” means any claim, action, cause of action, demand, lawsuit,
arbitration, inquiry, audit, notice of violation, proceeding, litigation, citation, summons,
subpoena or investigation of any nature, civil, criminal, administrative, regulatory or otherwise,
whether at law or in equity, including under common law, statute or the Bankruptcy Code.

       “CHI” has the meaning set forth in the preamble.

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       “Claim” means any claim within the meaning of section 101(5) of the Bankruptcy Code.

       “Closing” has the meaning set forth in Section 2.4.

       “Closing Date” has the meaning set forth in Section 2.4.

       “COBRA” means sections 601 through 608 of the Employee Retirement Income Security
Act of 1974 and section 4980B of the IRC.

       “Company” has the meaning set forth in the preamble.

       “Company Benefit Plan” has the meaning set forth in Section 3.12(a).

       “Company Intellectual Property” means all Intellectual Property that are owned or
necessary to the Company or any other Seller in the conduct of the Business.

      “Company PTO Payments” has the meaning set forth in clause (h) of the definition of
Excluded Liabilities.

       “Company Severance Payments” has the meaning set forth in clause (h) of the definition
of Excluded Liabilities.

        “Competing Bid” has the meaning set forth in Section 5.3(d).

        “Contract” means any agreement, contract, license, arrangement, commitment, promise,
obligation, right, instrument, document or other similar understanding, which in each case is in
writing and signed by parties intending to be bound thereby (other than any Leases).

        “Covered Employee” means an employee of CHI or any of its Subsidiaries as of the date
hereof whose duties relate primarily to the operation of any of the Business, including such
employees who have been furloughed or are on short-term disability, long-term disability or any
other approved leave of absence as of the Closing.

       “Credit Bid” has the meaning set forth in Section 2.3.

       “Cure Costs” means all amounts payable, and obligations that must be satisfied, in order
to cure any monetary defaults required to be cured under section 365(b)(1) of the Bankruptcy
Code or otherwise to effectuate, pursuant to the Bankruptcy Code, the assumption of executory
Contracts and Leases.

       “Debtors’ Counsel” means Shapiro Sher Guinot & Sandler, P.A..

       “Decree” means any judgment, decree, ruling, injunction, assessment, attachment,
undertaking, award, charge, writ, executive order, administrative order or any other order of any
Governmental Authority.

       “Designated Contracts” has the meaning set forth in Section 2.7(b).


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         “DIP Financing Agreement” means that certain Senior Secured Multi-Draw Term
Promissory Note (as amended, amended and restated, supplemented or otherwise modified from
time to time), among the DIP Lender, the Company, as borrower, and the guarantors party
thereto.

       “DIP Lender” means Salon Holdings (together with its respective successors and
assigns).

       “DIP Order” means that certain Final Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,
364, and 507 and Fed. R. Bankr. P. 2002, 4001 and 9014 (I) Authorizing Debtors And Debtors In
Possession To Obtain Post-Petition Financing, (II) Authorizing Use Of Cash Collateral, (III)
Granting Liens And Super-Priority Claims, (IV) Granting Adequate Protection To Prepetition
Lenders, (V) Modifying The Automatic Stay, And (VI) Granting Related Relief [D.I. ___], as
such order has been or may be amended or modified from time to time.

       “Disclosure Schedule” has the meaning set forth in Article III.

        “Display Merchandise” means those items of inventory used in the ordinary course of
business as displays or floor models, including inventory that has been removed from its original
packaging for the purpose of putting such item on display, which goods are not otherwise
damaged or defective. For the avoidance of doubt, Merchandise created for display and not
saleable in the ordinary course of business shall not constitute Display Merchandise.

        “Encumbrances” means any claim, community or other marital property interest,
condition, equitable interest, right of way, encroachment, servitude, right of first refusal or
similar restriction, including any restriction on use, voting (in the case of any security or equity
interest), transfer, receipt of income or exercise of any other attribute of ownership.

       “Environmental Law” means any federal, state, local or foreign law, statute, code,
ordinance, rule or regulation relating to the protection of the environment or natural resources.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

        “ERISA Affiliate” means any Person that, at any relevant time, is or was treated as a
single employer with any Seller for purposes of IRC § 414.

       “Excluded Assets” means the following assets of Sellers as of the Closing, and only the
following assets:

              (a)     all files, books, records and documents prepared in connection with this
       Agreement or the transactions contemplated hereby or primarily relating to the
       Bankruptcy Cases, all minute books, corporate records (such as stock registers) and
       organizational documents of Sellers, Tax Returns, other Tax work papers, and all other
       documents not related to the Business, the Salons, the Acquired Assets or the Covered
       Employees;

               (b)     all files, books, records and documents constituting work product of
       Sellers’ legal counsel;
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               (c)    all files, books, records and documents the disclosure or transfer of which
       is prohibited by third party agreement or applicable Laws;

               (d)    any Contract that is not a Designated Contract;

               (e)    any Lease that is not an Assumed Lease;

             (f)      any Tax refunds, net operating losses, rebates or credits of Sellers and the
       owners of the Sellers (the “Excluded Tax Assets”);

               (g)    prepaid insurance;

              (h)    all avoidance actions under chapter 5 of the Bankruptcy Code or any
       Causes of Action that are not an Acquired Asset;

              (i)     any security deposits or pre-paid expenses paid prior to the Closing Date
       and not associated with the Acquired Assets;

               (j)     all insurance policies and binders, all claims, refunds and credits from
       insurance claims, insurance policies or binders due or to become due with respect to such
       policies or binders and all rights to proceeds thereof;

              (k)      all equipment, tools or assets belonging to employees or independent
       contractors of the Sellers;

               (l)     all shares of capital stock or other equity interests of any Seller and all
       securities convertible into or exchangeable or exercisable for shares of capital stock or
       other equity interests of any Seller or any other Person;

              (m)     any contractual obligations of Buyer to indemnify Sellers, Dennis Ratner,
       Phil Horvath, and Richard Gatti, and pay unpaid payroll and related payment obligations
       and contributions due from one or more of the Sellers relating to services rendered by
       employees of the Business from the periods ending March 17, 2020 and March 28, 2020;
       and

               (n)     all assets, properties, rights, interests, and Claims of every kind and
       description of any Sellers which (A) are not Acquired Assets, (B) are not related to, used,
       or held for use in, the Business, or (C) are described on Schedule B.

        “Excluded Liabilities” means any Liabilities of Sellers, whether existing on the Closing
Date or arising thereafter as a result of any act, omission or circumstances taking place prior to
the Closing, other than the Assumed Liabilities. Without limiting the foregoing, Buyers shall not
be obligated to assume, and do not assume, and hereby disclaims all the Excluded Liabilities,
including the following Liabilities (which shall also be considered Excluded Liabilities) of any
of Sellers or of any predecessor of any of Sellers, whether incurred or accrued before or after the
Closing:



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       (a)     any Liability not relating to or arising out of the Business or the Acquired
Assets, including any Liability exclusively relating to or primarily arising out of the
Excluded Assets;

       (b)     any Liability of Sellers for Taxes (except as provided for in Section 2.9
and Section 6.4);

       (c)     all Liabilities of Sellers under this Agreement or any Related Agreement
and the transactions contemplated hereby or thereby;

        (d)     any Liability associated with any and all indebtedness including any
guarantees of third party obligations and reimbursement obligations to guarantors of
Sellers’ obligations or under letters of credit of any Seller;

      (e)    any Liabilities in respect of any Contracts or Leases that are not
Designated Contracts or Assumed Leases, respectively;

        (f)    all Liabilities for fees, costs and expenses that have been incurred or that
are incurred or owed by Sellers in connection with this Agreement or the administration
of the Bankruptcy Cases (including all fees and expenses of professionals engaged by
Sellers) and administrative expenses and priority claims accrued through the Closing
Date and specified post-closing administrative wind-down expenses of the bankrupt
estates pursuant to the Bankruptcy Code (which such amounts shall be paid by Sellers
from the proceeds collected in connection with the Excluded Assets) and all costs and
expenses incurred in connection with (i) the negotiation, execution and consummation of
the transactions contemplated under this Agreement and each of the other documents
delivered in connection herewith, (ii) the negotiation, execution and consummation of the
DIP Financing Agreement, and (iii) the consummation of the transactions contemplated
by this Agreement, including any retention bonuses, “success” fees, change of control
payments and any other payment obligations of Sellers payable as a result of the
consummation of the transactions contemplated by this Agreement and the documents
delivered in connection herewith;

        (g)     all Liabilities (i) related to WARN Act, to the extent applicable, with
respect to the termination of Sellers’ employees, (ii) for any action resulting from Sellers’
employees’ separation of employment (the “Company Severance Payments”), and (iii)
for vacation, sick leave, parental leave, and other paid time accrued by Sellers’
employees who are not Transferred Employees (the “Company PTO Payments”);

       (h)     all Liabilities relating to claims for workers compensation for acts that
occurred prior to the Petition Date, including any claims under letters of credit issued by
Credit Suisse.

     (i)     all Liabilities with respect to the termination of employment of the
Company “insiders” (as such term is defined under the Bankruptcy Code);



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             (j)     all Company Benefit Plans (including all assets, trusts, insurance policies
       and administration service contracts related thereto);

           (k)        all Liabilities with respect to any terminated employees with respect to
       COBRA;

               (l)     all Liabilities of Sellers to its equity holders respecting dividends,
       distributions in liquidation, redemptions of interests, option payments or otherwise, and
       any liability of Sellers pursuant to any Affiliate Agreement;

               (m)    all Liabilities arising out of or relating to any business or property
       formerly owned or operated by any of Sellers, any Affiliate or predecessor thereof, but
       not presently owned and operated by any of Sellers;

                (n)    all Liabilities relating to Litigation, claims, actions, suits, arbitrations,
       litigation matters, proceedings or investigations (in each case whether involving private
       parties, Governmental Authorities, or otherwise) involving, against, or affecting any
       Acquired Asset, the Business, the Company or any assets or properties of Sellers,
       commenced, filed, initiated or threatened before the Closing and relating to facts, events
       or circumstances arising or occurring before the Closing;

               (o)   all Liabilities arising under Environmental Laws relating to facts, events
       or circumstances arising or occurring before the Closing;

               (p)    accounts payable;

              (q)     Liabilities to any employees arising prior to the Closing, except for
       vacation, sick leave, parental leave and other paid time accrued by Sellers’ employees
       who are Transferred Employees; and

               (r)     all Liabilities of Sellers or its predecessors arising out of any contract,
       agreement, Permit, franchise or claim that is not transferred to a Buyer as part of the
       Acquired Assets or is not transferred to a Buyer because of any failure to obtain any
       third-party or governmental consent required for such transfer.

       “Expense Reimbursement” has the meaning set forth in Section 5.3(b).

       “GAAP” means United States generally accepted accounting principles consistently
applied.

       “Governmental Authority” means any federal, state, local or foreign government or
governmental or regulatory authority, agency, board, bureau, commission, court, department or
other governmental entity.

       “Intellectual Property” means any and all intellectual property and other similar
proprietary rights, in any jurisdiction in the world (whether arising under statutory or common
law, contract, or otherwise), which includes rights pertaining to or arising from: (a) inventions,
discoveries, processes, designs, techniques, developments and related improvements whether or

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not patentable; (b) patents, patent applications, industrial design registrations and applications
therefor, divisions, divisionals, continuations, continuations-in-part, reissues, substitutes,
renewals, registrations, confirmations, re-examinations, extensions and any provisional
applications, or any such patents or patent applications, and any foreign or international
equivalent of any of the foregoing; (c) trademarks (whether registered, unregistered or pending),
trade dress, service marks, service names, trade names, brand names, product names, logos,
domain names, internet rights (including IP addresses and AS numbers), corporate names,
fictitious names, other names, symbols (including business symbols), slogans, translations of any
of the foregoing and any foreign or international equivalent of any of the foregoing and all
goodwill associated therewith and (to the extent transferable by law but subject to Section 6.1(d))
any applications or registrations in connection with the foregoing and all advertising and
marketing collateral including any of the foregoing; (d) work specifications, databases and
artwork; (e) technical, scientific and other know-how and information (including promotional
material and tech packs and blocks), trade secrets, confidential information, methods, processes,
practices, formulas, designs, patterns, assembly procedures, specifications; (f) rights associated
with works of authorship including copyrights, moral rights, design rights, rights in databases,
copyright applications, copyright registrations, rights existing under any copyright laws and
rights to prepare derivative works; (g) work for hire; (h) the name “Hair Cuttery, BUBBLES and
Salon Cielo” or any derivations thereof, (i) customer lists and databases, websites, social media
sites and accounts (including the content contained therein, user names and passwords),
diagrams, drawings, domain names, and all advertising and marketing materials and collateral
(including all physical, digital, or electronic imagery and design files), samples, product catalogs,
product designs and specifications (including tech specifications) vendor and merchandise
supplier data and information, (j) computer software and firmware, including data files, source
code, object code and software-related specifications and documentation, (k) all books and
records, files, data, reports, computer codes and sourcing data, advertiser and supplier lists, cost
and pricing information, business plans, and manuals, blueprints, research and development files,
and other records; (l) financial, marketing and business data, pricing and cost information,
business and marketing plans and other information, files, correspondence, records, data, plans,
reports and recorded knowledge, historical trademark files, prosecution files in whatever media
retained or stored, including computer programs and disks, (m) the right to sue for infringement
and other remedies against infringement of any of the foregoing, and (n) rights to protection of
interests in the foregoing under the laws of all jurisdictions.

        “Intellectual Property Licenses” means (i) any grant to a third Person of any right to use
any Intellectual Property owned by Sellers and (ii) any grant to Sellers of a right to use a third
Person’s Intellectual Property rights (other than off-the-shelf software for which Company pays
less than five thousand Dollars ($5,000) in licensing or other fees per software title per annum).

        “Inventory” means all of Sellers’ inventory and goods now owned or hereinafter
acquired, wherever located, relating to the Business, including all inventory and goods that (a)
are leased by Sellers as lessor, (b) are held by Sellers for sale or lease or to be furnished by
Sellers under a Contract of service, or (c) consist of raw materials, work in process, finished
goods, supplies, or material used or consumed in connection with the Business maintained or
held by, stored by or on behalf of, or in transit to, any of Sellers.

       “IRC” means the Internal Revenue Code of 1986, as amended.
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       “IRS” means the Internal Revenue Service.

        “Knowledge” of Sellers or the Company (and other words of similar import) means the
actual knowledge of Phil Horvath and/or Richard Gatti.

       “Landlord” means the landlord of real property under any of the Sellers’ Leases.

        “Law” means any constitution applicable to, and any statute, treaty, code, rule,
regulation, ordinance or requirement of any kind of, any Governmental Authority.

         “Leases” means all leases, subleases, licenses, concessions, options, contracts, extension
letters, easements, reciprocal easements, assignments, termination agreements, subordination
agreements, nondisturbance agreements, estoppel certificates and other agreements (written or
oral), and any amendments or supplements to the foregoing, and recorded memoranda of any of
the foregoing, pursuant to which any Seller holds any leasehold or subleasehold estates and other
rights in respect of any Salon.

       “Liability” means any liability or obligation of whatever kind or nature (whether known
or unknown, whether asserted or unasserted, whether absolute or contingent, whether accrued or
unaccrued, whether liquidated or unliquidated and whether due or to become due) regardless of
when arising.

        “Lien” means any lien (statutory or otherwise), Claim, Encumbrance, deed of trust, right
of first offer, easement, servitude, transfer restriction under any shareholder or similar
agreement, mortgage, pledge, lien, charge, security interest, option, right of first refusal,
easement, security agreement or other encumbrance or restriction on the use or transfer of any
property, hypothecation, license, preference, priority, covenant, right of recovery, order of any
Governmental Authority, of any kind or nature (including (i) any conditional sale or other title
retention agreement and any lease having substantially the same effect as any of the foregoing,
(ii) any assignment or deposit arrangement in the nature of a security device, and (iii) any
leasehold interest, license or other right, in favor of a third party or a Seller, to use any portion of
the Acquired Assets), whether secured or unsecured, choate or inchoate, filed or unfiled,
scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, contingent or non-
contingent, material or non-material, known or unknown; provided, however, that “Lien” shall
not be deemed to include any license of Intellectual Property.

        “Litigation” means any action, cause of action, suit, claim, investigation, audit, demand,
hearing or proceeding, whether civil, criminal, administrative or arbitral, whether at law or in
equity and whether before any Governmental Authority.

        “Material Adverse Effect” means any effect, condition, fact, circumstance or change that
has, or could reasonably be expected to have, individually or in the aggregate, a material adverse
effect on the condition of the Acquired Assets, taken as a whole, other than any effects,
circumstances or changes to the extent arising from or related to: (a) general business or
economic conditions in any of the geographical areas in which the Salons operate; (b) any
condition or occurrence affecting salons or the salon industry generally; (c) national or
international political or social conditions, including the engagement by any country in

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hostilities, whether commenced before or after the date hereof and whether or not pursuant to the
declaration of a national emergency or war, or the occurrence of any military or terrorist attack;
(d) financial, banking or securities markets (including any disruption thereof or any decline in
the price of securities generally or any market or index); (e) the occurrence of any act of God or
other calamity or force majeure events (whether or not declared as such), including any strike,
labor dispute, civil disturbance, embargo, natural disaster, fire, flood, hurricane, tornado, or other
weather event; (f) changes in Law or accounting rules (including GAAP); (g) the taking of any
action required or permitted by this Agreement or any Related Agreement or taken (or omitted to
be taken) with the consent of the other Party (other than any action taken pursuant to Section
5.2(a)); (h) any effects or changes as a result of the announcement, pendency or completion of
the transactions contemplated by this Agreement, including losses or threatened losses of
employees, customers, suppliers, distributors or others having relationships with Sellers; (i) any
filing or motion made under sections 1113 or 1114 of the Bankruptcy Code; (j) the closing of
any shops not acquired by Buyers or the sale of any other assets or shops to any third parties by
any Seller or any of its Affiliates; (k) any effects or changes arising from or related to the breach
of the Agreement by Buyers; (l) the failure of Sellers to obtain any consent, permit,
authorization, waiver or approval required in connection with the transactions contemplated
hereby; (m) any items set forth in the Disclosure Schedule; or (n) any effect resulting from the
filing or pendency of the Bankruptcy Cases; provided, however that global coronavirus 2019-
2020 pandemic, business restrictions related thereto, and Shelter-in-Place Laws shall not be
considered a Material Adverse Effect, it being recognized that Sellers’ salons will likely be
closed for the entirety of the period through the Closing Date.

        “Merchandise” shall mean (A) all finished goods inventory that is owned by the
Company and located at the Salons as of the Closing Date; (B) any Merchandise located at a
distribution center; and (C) the Display Merchandise.

        “Obligations” shall mean all obligations under the DIP Financing Agreement and the
Prepetition Senior Secured Debt.

        “Ordinary Course of Business” means the ordinary and usual course of normal day-to-
day operations of the Business through the date hereof consistent with past practice from the date
of the filing of the Bankruptcy Cases, but subject, however, to (x) changes arising or resulting
from the filing or pendency of the Bankruptcy Cases and (y) the “going out of business sales”
contemplated as of the date hereof.

       “Outside Back-up Date” has the meaning set forth in Section 5.3(e).

       “Overbid Protection” has the meaning set forth in Section 5.3(b).

      “Owned Intellectual Property” means all Intellectual Property owned or purported to be
owned by Sellers.

       “Parties” has the meaning set forth in the preamble.

       “Permit” means any franchise, approval, permit, license, order, registration, certificate,
variance or similar right obtained from any Governmental Authority.

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         “Permitted Lien” means (a) Liens for Taxes not yet delinquent or which are being
contested in good faith by appropriate proceedings and arising or incurred in the Ordinary
Course of Business; (b) mechanic’s, workmen’s, repairmen’s, warehousemen’s, carrier’s or other
similar Liens, including all statutory liens, arising or incurred in the Ordinary Course of Business
for amounts which are not delinquent and which are not, individually or in the aggregate,
material to the business of Sellers; (c) with respect to leased or licensed real or personal property,
the terms and conditions of the lease, license, sublease or other occupancy agreement applicable
thereto which are customary; (d) with respect to real property, usual and customary zoning,
building codes and other land use laws regulating the use or occupancy of such real property or
the activities conducted thereon which are imposed by any Governmental Authority having
jurisdiction over such real property; (e) usual and customary easements, covenants, conditions,
restrictions and other similar matters affecting title to real property and other encroachments and
title and survey defects provided that they do not materially detract from the property.

       “Person” means an individual, a partnership, a corporation, a limited liability company,
an association, a joint stock company, a trust, a joint venture, an unincorporated organization or
any other entity, including any Governmental Authority or any group of any of the foregoing.

       “Petition Date” has the meaning set forth in the recitals.

       “Prepetition Lenders” means Salon Holdings.

        “Prepetition Senior Secured Debt” means Third Amended and Restated Credit
Agreement, effective as of November 15, 2017, by and among Creative Hairdressers, Inc.
(“Borrower”), each lender from time to time party thereto (collectively, the “Lenders”) and the
Prepetition Lender (as successor to Manufacturers and Traders Trust Company), as amended
from time to time, along with all ancillary loan documents.

       “Prevailing Bidder” has the meaning set forth in Section 5.3(e).

       “Purchase Price” has the meaning set forth in Section 2.3.

      “Related Agreements” means the Bill of Sale, the Assignment and Assumption
Agreement.

        “Representative” means, when used with respect to a Person, the Person’s controlled and
controlling Affiliates (including Subsidiaries) and such Person’s and any of the foregoing
Person’s respective officers, directors, managers, members, shareholders, partners, employees,
agents, representatives, advisors (including financial advisors, bankers, consultants, legal counsel
and accountants) and financing sources.

       “Requesting Party” has the meaning set forth in Section 6.2.

       “Returned Merchandise” means goods sold by Sellers prior to the Closing Date and
returned by a customer prior to the Closing Date in compliance with Sellers’ return policy.

       “Sale Hearing” means the hearing for approval of, among other things, this Agreement
and the transactions contemplated herein.
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       “Sale Order” means the sale order or orders in form and substance reasonably agreed by
Salon Holdings and Sellers.

        “Salon Holdings” has the meaning set forth in the preamble.

       “Salons” has the meaning set forth in Section 3.6.

        “Seller Proration Amount” has the meaning set forth in Section 2.6.

       “Sellers” has the meaning set forth in the preamble.

        “Shelter-in-Place Law” means any federal, state, local or foreign law, statute, code,
ordinance, rule, regulation, order, or guideline restricting business operations in connection with
the global coronavirus 2019 pandemic.

        “Subsidiary” means, with respect to any Person, means, on any date, any Person (a) the
accounts of which would be consolidated with and into those of the applicable Person in such
Person’s consolidated financial statements if such financial statements were prepared in
accordance with GAAP as of such date or (b) of which securities or other ownership interests
representing more than fifty percent of the equity or more than fifty percent (50%) of the
ordinary voting power or, in the case of a partnership, more than fifty percent (50%) of the
general partnership interests or more than fifty percent of the profits or losses of which are, as of
such date, owned, controlled or held by the applicable Person or one or more subsidiaries of such
Person.

        “Tax” or “Taxes” means any United States federal, state, local or foreign income, gross
receipts, license, payroll, employment, excise, stamp, occupation, premium, windfall profits,
environmental (including taxes under section 59A of the IRC), customs duties, capital stock,
franchise, profits, withholding, social security (or similar), unemployment, disability, real
property, personal property, sales, use, transfer, registration, value added, alternative or add-on
minimum, estimated or other tax of any kind whatsoever, whether computed on a separate or
consolidated, unitary or combined basis or in any other manner, including any interest, penalty or
addition thereto, whether disputed or not.

        “Tax Return” means any return, declaration, report, claim for refund or information
return or statement relating to Taxes, including any schedule or attachment thereto, and including
any amendment thereof.

       “Termination Date” has the meaning set forth in Section 8.1(b)(ii).

       “Total Consideration” has the meaning set forth in Section 2.3.

       “Transfer Tax” has the meaning set forth in Section 6.4.

       “Transition Services Agreement” means the Transition Services Agreement between
Buyers and Sellers to provide certain transition services following the Closing Date.

       “Transferred Employee” has the meaning set forth in Section 6.3(a).

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       “WARN Act” means, collectively, the Worker Adjustment and Retraining Notification
Act of 1989 and any similar state or local law.

        “Wind-Down” means any and all post-closing actions to be taken for the administrative
wind-down of the bankruptcy estate pursuant to the Bankruptcy Code, including but not limited
to the preparation, solicitation and confirmation of a plan of liquidation under chapter 11 of the
Bankruptcy Code.

                Section 1.2   Interpretations. Unless otherwise indicated herein to the contrary:

              (a)    When a reference is made in this Agreement to an Article, Section,
       Exhibit, Schedule, clause or subclause, such reference shall be to an Article, Section,
       Exhibit, Schedule, clause or subclause of this Agreement.

              (b)    The words “include,” “includes” or “including” and other words or
       phrases of similar import, when used in this Agreement, shall be deemed to be followed
       by the words “without limitation.”

               (c)    The words “hereof,” “herein” and “hereunder” and words of similar
       import, when used in this Agreement, refer to this Agreement as a whole and not to any
       particular provision of this Agreement.

               (d)     The word “if” and other words of similar import shall be deemed, in each
       case, to be followed by the phrase “and only if.”

               (e)    The use of “or” herein is not intended to be exclusive.

              (f)    The definitions contained in this Agreement are applicable to the singular
       as well as the plural forms of such terms. Whenever the context may require, any
       pronouns used herein shall include the corresponding masculine, feminine or neuter
       forms, and the singular form of names and pronouns shall include the plural and vice
       versa.

              (g)     All terms defined in this Agreement have their defined meanings when
       used in any certificate or other document made or delivered pursuant hereto, unless
       otherwise defined therein.

              (h)     References herein to a Person are also to its successors and permitted
       assigns. Any reference herein to a Governmental Authority shall be deemed to include
       reference to any successor thereto.

               (i)    Any reference herein to “Dollars” or “$” shall mean United States dollars.

              (j)     Each Buyer acknowledges and agrees that the specification of any dollar
       amount in the representations, warranties or covenants contained in this Agreement is not
       intended to imply that such amounts or higher or lower amounts are or are not material,
       and each Buyer shall not use the fact of the setting of such amounts in any dispute or


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       controversy between the Parties as to whether any obligation, item, or matter is or is not
       material.

              (k)     References in this Agreement to materials or information “furnished to
       Buyer” and other phrases of similar import include all materials or information made
       available to Salon Holdings or its Representatives in the data room prepared by Sellers or
       provided to Salon Holdings or its Representatives in response to requests for materials or
       information.

                                        ARTICLE II
                                    PURCHASE AND SALE

                  Section 2.1 Purchase and Sale of Assets. On the terms and subject to the
conditions set forth in this Agreement, Buyers will purchase and acquire from Sellers, and
Sellers will sell, transfer, assign, convey and deliver to Buyers at the Closing all of the Acquired
Assets.

                 Section 2.2 Assumed Liabilities. On the terms and subject to the conditions set
forth in this Agreement, Buyers will assume and become responsible for the Assumed Liabilities
at the Closing. The applicable Buyer agrees to pay, perform, honor and discharge, or cause to be
paid, performed, honored and discharged, all Assumed Liabilities in a timely manner in
accordance with the terms thereof, including paying all Cure Costs. For the avoidance of doubt,
Sellers shall not be liable for, and shall have no obligation to pay or cause to be paid, any Cure
Costs.

                 Section 2.3 Consideration; Deposit. The consideration for the Acquired Assets
(the “Total Consideration”) shall be (i) the Assumed Liabilities, (ii) the credit bid in an amount
equal to 90% of the Obligations (as defined in the DIP Financing Agreement) (the “Credit Bid”)
(as an offset against, and reduction in the amount of Sellers’ debt in respect of such Obligations
under the DIP Financing Agreement, pursuant to Section 363(k) of the Bankruptcy Code), and
(iii) $100,000, paid in cash, to fund the Wind Down (such amounts, together with the amount of
the Senior DIP NM Term Loan Obligations and the Credit Bid, the “Purchase Price”); provided,
however, that Purchaser reserves the right to increase the Purchase Price, subject to the Bidding
Procedures Order and applicable Law. Notwithstanding the foregoing, the Buyer further agrees
to waive any unsecured claims in the Bankruptcy Cases.

                 Section 2.4 Closing. The closing of the transactions contemplated by this
Agreement (the “Closing”) shall take place at the offices of DLA Piper LLP (US), 6225 Smith
Avenue, Baltimore, MD. 21209 (or such other location as shall be mutually agreed upon by
Sellers and Buyer) commencing at 10:00 AM local time on June 1, 2020, subject to the prior or
simultaneous satisfaction or waiver all of the conditions to the obligations of Sellers and Buyer
to consummate the transactions contemplated hereby set forth in Article VII, or on such other
date as shall be mutually agreed upon by Sellers and Buyer prior thereto. The date on which the
Closing is to occur shall be referred to herein as the “Closing Date”.




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        Section 2.5    Closing Payments and Deliveries.

        (a)      At the Closing, the applicable Seller will deliver to the applicable Buyer:
(i) a duly executed Bill of Sale, each substantially in the form of Exhibit A (the “Bill of
Sale”); (ii) a duly executed Assignment and Assumption Agreement, each substantially in
the form of Exhibit B (the “Assignment and Assumption Agreement”); (iii) a duly
executed certificate from an officer of each Seller to the effect that each of the conditions
specified in Section 7.1(a) and Section 7.1(b) is satisfied; and (iv) a non-foreign affidavit
from each Seller that is organized in or under the Laws of the United States or any state
thereof, dated as of the Closing Date, sworn under penalty of perjury and in form and
substance required under Treasury Regulations issued pursuant to section 1445 of the
IRC.

        (b)    At the Closing, the applicable Buyer will deliver to the applicable Seller:
(i) the Bill of Sale duly executed by such applicable Buyer; (ii) the Assignment and
Assumption Agreement duly executed by such applicable Buyer; (iii) the Transition
Services Agreement; and (iv) a duly executed certificate from an officer of such
applicable Buyer to the effect that each of the conditions specified in Section 7.2(a) and
Section 7.2(b) are satisfied.

        Section 2.6    RESERVED.

        Section 2.7    Assumption/Rejection of Certain Contracts and Leases.

       (a)    Schedule 2.7(a) sets forth a list or reference, as of the date hereof, of all
executory Contracts and unexpired Leases to which any Seller is a party and which have
post-Closing obligations exceeding $5,000.

        (b)     From and after the date hereof until the earlier of (x) one Business Day
prior to the Sale Hearing or (y) three Business Days prior to the Closing, Salon Holdings
may, in its sole discretion, (i) designate a Contract listed or referenced on Schedule 2.7(a)
for assumption and assignment to the applicable Buyer in accordance with Section 2.1
and Section 2.2 or as otherwise determined by Salon Holdings, effective on and as of the
Closing (such Contracts, the “Designated Contracts”), (ii) designate a Lease listed or
referenced on Schedule 2.7(a) for assumption and assignment to the applicable Buyer in
accordance with Section 2.1 and Section 2.2 or as otherwise determined by Salon
Holdings, effective on and as of the Closing, including, but not limited to, any
amendment or modification that may contain lease concessions (such Leases, the
“Assumed Leases”), or (iii) designate any Contract or Lease listed or referenced on
Schedule 2.7(a) for rejection. The Designated Contracts and Assumed Leases as of the
date hereof are set forth on Schedule 2.7(b) hereto, which will be supplemented as
additional Leases and Contracts are designated for assumption and assignment or
rejection prior to the conclusion of the Auction, if any, as set forth in this Section 2.7(b);
provided that that if no Auction is held, Schedule 2.7(b) may be supplemented as
additional Leases and Contracts are designated for assumption and assignment or
rejection until the earlier of (x) one Business Day prior to the Sale Hearing or (y) three
Business Days prior to the Closing.

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               (c)    Sellers shall take all actions reasonably required to assume and assign the
       Designated Contracts and Assumed Leases to the applicable Buyer, including taking all
       actions reasonably necessary to facilitate any negotiations with the counterparties to such
       Contracts or Leases and, if necessary, to obtain an order of the Bankruptcy Court
       containing a finding that the proposed assumption and assignment of the Contracts or
       Leases to the applicable Buyer satisfies all applicable requirements of section 365 of the
       Bankruptcy Code.

                (d)   Buyers shall take all actions reasonably required for Sellers to assume and
       assign the Designated Contracts and Assumed Leases to the applicable Buyer (including
       the payment of the Cure Costs), including taking all actions reasonably necessary to
       facilitate any negotiations with the counterparties to such Contracts or Leases and, if
       necessary, to obtain an order of the Bankruptcy Court containing a finding that the
       proposed assumption and assignment of the Contracts or Leases to Buyers satisfies all
       applicable requirements of section 365 of the Bankruptcy Code.

              (e)    Buyers shall have the right to designate that any Acquired Asset be
       assigned to an affiliate of Buyers and any Designated Contract or Assumed Lease be
       assumed and assigned to an affiliate of Buyers.



                 Section 2.8 Allocation. Buyers and Sellers agree to allocate the Purchase Price
(as finally determined hereunder), the Assumed Liabilities, and all other relevant items among
the Acquired Assets in accordance with section 1060 of the IRC and the Treasury Regulations
thereunder.

                Section 2.9 Removal of Excluded Assets. Subject to applicable law, including
applicable Shelter-in-Place Laws and as promptly as practicable following the Closing Date (and
in any event within ten (10) Business Days of later of (x) the Closing or (y) repeal of applicable
Shelter-in-Place Laws), Sellers shall remove at their expense all of the Excluded Assets that are
located at the Salons and, if requested by Sellers, Buyer shall arrange transportation of such
Excluded Assets to a location designated by Sellers at Sellers’ expense.

                                 ARTICLE III
                  SELLERS’ REPRESENTATIONS AND WARRANTIES

       Sellers represent and warrant to Buyers that the statements contained in this Article III
are true and correct as of the date of this Agreement, except as set forth in the disclosure
schedule accompanying this Agreement (the “Disclosure Schedule”). For the avoidance of
doubt, any reference in this Article III to “Sellers” or “Seller” shall include any predecessors of
any Seller.

               Section 3.1 Organization of Sellers; Good Standing. Each Seller is either a
corporation duly organized or a limited liability company duly formed, validly existing, and in
good standing under the laws of the state of its incorporation or formation and has, subject to the
necessary authority from the Bankruptcy Court, all requisite corporate or company power and

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authority to own, lease, and operate its assets and to carry on its business as now being
conducted, except where the failure to be so organized or formed, existing, or in good standing
or have such power and authority would not reasonably be expected to have a Material Adverse
Effect.

                 Section 3.2 Authorization of Transaction. Subject to the Bankruptcy Court’s
entry of the Sale Order, each Seller has full power and authority (including full corporate power
and authority) to execute and deliver this Agreement and all other agreements contemplated
hereby to which it is a party and to perform its obligations hereunder and thereunder. The
execution, delivery, and performance of this Agreement and all other agreements contemplated
hereby to which each Seller is a party have been duly authorized by such Seller. Upon due
execution hereof by each Seller, this Agreement (assuming due authorization and delivery by
Buyers) shall constitute, subject to the Bankruptcy Court’s entry of the Sale Order, the valid and
legally binding obligation of such Seller, enforceable against such Seller in accordance with its
terms and conditions, subject to applicable bankruptcy, insolvency, moratorium, or other similar
laws relating to creditors’ rights and general principles of equity.

                 Section 3.3 Noncontravention; Government Filings. Neither the execution and
delivery of this Agreement, nor the consummation of the transactions contemplated hereby
(including the assignments and assumptions referred to in Article II), will (a) conflict with or
result in a breach of the organizational documents of any Seller, (b) subject to the entry of the
Sale Order, violate any Law or Decree to which any Seller is subject in respect of the Acquired
Assets, or (c) subject to the entry of the Sale Order, result in a breach of, constitute a default
under, result in the acceleration of, create in any party the right to accelerate, terminate, modify
or cancel, or require any notice under any material Contract or Lease to which any Seller is a
party or to which any of the Acquired Assets is subject, except, in the case of either clause (b) or
(c), for such conflicts, violations, breaches, defaults, accelerations, rights or failures to give
notice as would not, individually or in the aggregate, reasonably be expected to have a Material
Adverse Effect. Other than as required by, or pursuant to, the Bankruptcy Code, the Bidding
Procedures Order or the Sale Order, no Seller is required to give any notice to, make any filing
with, or obtain any authorization, consent or approval of any Governmental Authority in order
for the Parties to consummate the transactions contemplated by this Agreement or any Related
Agreement, except where the failure to give notice, file or obtain such authorization, consent or
approval would not, individually or in the aggregate, reasonably be expected to have a Material
Adverse Effect or prevent or materially impair or delay any Seller’s ability to consummate the
transactions contemplated hereby or perform its obligations hereunder on a timely basis.

                  Section 3.4 Title to Assets. At the Closing, subject to any Permitted Liens,
Sellers will have good and valid title to, or the right to use, the Acquired Assets, except to the
extent the failure to have such title or right to use would not reasonably be expected to have a
Material Adverse Effect. Pursuant to the Sale Order, Sellers will convey such title to or rights to
use, all of the tangible Acquired Assets, free and clear of all Liens (other than Permitted Liens).

               Section 3.5 Designated Contracts. True and materially complete copies of all
Contracts and Leases set forth on Schedule 2.7(a) have been made available to Salon Holdings in
the data room prepared by Sellers.


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                 Section 3.6 Real Property. Sellers do not have any title interest in real
property which is related to, used, useful or held for use in the conduct of the Business. Schedule
3.6 of the Disclosure Schedule sets forth the location of each of the operating hair salons
identified by name (Hair Cuttery, BUBBLES or Salon Cielo (each, a “Salon”, and collectively,
the “Salons”), each of which is leased to a Seller by a third party, and a list of all Leases. The
total number of operating salons related to the Business is approximately 797, all of which
presently are closed due to Shelter-in-Place Laws. Sellers have made available to Salon Holdings
a true and materially complete copy of each Lease. With respect to each Lease, (a) assuming due
authorization and delivery by the other party thereto, such Lease constitutes the valid and legally
binding obligation of the Seller party thereto and, to Sellers’ Knowledge, the counterparty
thereto, enforceable against such Seller and, to Sellers’ Knowledge, the counterparty thereto in
accordance with its terms and conditions, subject to applicable bankruptcy, insolvency,
moratorium, or other similar laws relating to creditors’ rights and general principles of equity,
and (b) neither such Seller nor, to Sellers’ Knowledge, the counterparty thereto is in breach or
default under such Lease, except (i) for those defaults that will be cured in accordance with the
Sale Order or waived in accordance with section 365 of the Bankruptcy Code (or that need not
be cured under the Bankruptcy Code to permit the assumption and assignment of the Leases) or
(ii) to the extent such breach or default would not reasonably be expected to have a Material
Adverse Effect.

                Section 3.7 Litigation; Decrees. Except as set forth in Schedule 3.7 of the
Disclosure Schedule and other than the Bankruptcy Cases, there is no material Litigation pending
against the Sellers, jointly or individually. Other than the Bankruptcy Cases, no Seller is subject
to any outstanding Decree that would (x) reasonably be expected to have a Material Adverse
Effect or (y) prevent or materially delay such Seller’s ability to consummate the transactions
contemplated hereby or perform in any material respect its obligations hereunder.

               Section 3.8    Labor Relations.        Except as set forth in Schedule 3.8 of the
Disclosure Schedule:

              (a)    No Seller is a party to or bound by any collective bargaining agreement.
       To Sellers’ Knowledge, no union or other labor organization; (i) is currently attempting
       to organize any employees of the Company for the purpose of representation; or (ii) has
       demanded recognition or filed any petition seeking certification.

               (b)    Sellers have made available to Buyers in the data room a true, correct and
       complete list, as of the date of this Agreement, of all employees of the Company and
       identifies the job title, work location, date of hire, exempt or non-exempt status,
       employment status (whether active or on leave of absence), part-time or full-time, annual
       base salary or regular hourly wage rate, and bonus or commission entitlement for each
       such employee, as well as whether such employee is on leave and the date of such leave.

               (c)   Except as set forth in Schedule 3.8(c) of the Disclosure Schedule, to
       Sellers’ Knowledge, there is no charge or complaint of discrimination or retaliation,
       lawsuit, governmental investigation or audit or other similar proceeding pending or
       threatened against the Company by, on behalf of or relating to any employee(s) of the
       Company.

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                Section 3.9 Brokers’ Fees. Except as set forth in Schedule 3.9 of the
Disclosure Schedule, no Seller has entered into any Contract to pay any fees or commissions to
any broker, finder, or agent with respect to the transactions contemplated hereby for which any
Buyer could become liable or obligated to pay.

               Section 3.10 Taxes.

               (a)     Except as set forth in Schedule 3.10 of the Disclosure Schedule and for
       matters that would not be reasonably expected to have a Material Adverse Effect, and
       except those Taxes for which the Sellers will seek authority from the Bankruptcy Court to
       pay (i) Sellers have timely filed all Tax Returns required to be filed with the appropriate
       Governmental Authorities in all jurisdictions in which such Tax Returns are required to
       be filed (taking into account any extension of time to file granted or to be obtained on
       behalf of Sellers); (ii) all Taxes shown as due on such Tax Returns have been paid (other
       than any Taxes not due as of the date of the filing of the Bankruptcy Cases as to which
       subsequent payment was prohibited by reason of the Bankruptcy Cases); (iii) Sellers are
       not a party to any Litigation by any taxing authority; and (iv) there are no pending or, to
       Seller’s Knowledge, threatened Litigation by any taxing authority.

              (b)     Sellers are not foreign persons within the meaning of section 1445 of the
       IRC.

               Section 3.11 RESERVED.

               Section 3.12 Employee Benefits.

              (a)    Schedule 3.12(a) of the Disclosure Schedule lists all “employee benefit
       plans,” as defined in section 3(3) of ERISA, including any multiemployer plans as
       defined in section 3(37) of ERISA, and all other material employee benefit plans or
       arrangements (other than governmental plans and statutorily required benefit
       arrangements), including bonus or incentive plans, deferred compensation arrangements,
       severance pay, sick leave, vacation pay, disability, medical insurance and life insurance
       maintained or contributed to by Sellers with respect to Covered Employees (the
       “Company Benefit Plans”).

               (b)     The Company has delivered or made available to Salon Holdings true,
       correct and materially complete copies of the following documents with respect to each
       Company Benefit Plan: (i) each Company Benefit Plan (and all amendments thereto), and
       in the case of an unwritten Company Benefit Plan, a written description thereof, and any
       trust agreement, investment management contract, custodial agreement or insurance
       contract relating to such plan, (ii) the most recent summary plan description and all
       summaries of material modifications thereto, and (iii) the most recently filed annual
       reports on Form 5500 and all Schedules thereto.

               (c)     Each of the Company Benefit Plans sponsored by Sellers that is intended
       to qualify under section 401 of the IRC has been determined by the IRS to be so
       qualified, and, except as disclosed on Schedule 3.12(c) of the Disclosure Schedule, to the

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Knowledge of Sellers, nothing has occurred with respect to the operation of any such
plan which could reasonably be expected to result in the revocation of such favorable
determination.

       (d)    To Sellers’ Knowledge, each of the Company Benefit Plans has been
maintained, in all material respects, in accordance with its terms and all provisions of
applicable Law.

        (e)    No Company Benefit Plan is a “multiemployer plan” (as defined in section
3(37) of ERISA) (“Multiemployer Plan”) or other pension plan that is subject to Title IV
or Section 302 of ERISA or Section 412 of the Code and neither the Company nor any of
its ERISA Affiliates has sponsored or contributed to or been required to contribute to a
Multiemployer Plan or other pension plan subject to Title IV or Section 302 of ERISA or
Section 412 of the Code at any time within the previous six years. Neither the Company
nor any of its ERISA Affiliates has any liability (contingent or otherwise) relating to the
withdrawal or partial withdrawal from a Multiemployer Plan.

        (f)    No Company Benefit Plan provides benefits, including death or medical
benefits, beyond termination of service or retirement other than (i) coverage mandated by
Law, including but not limited to COBRA coverage, or (ii) death or retirement benefits
under a Company Benefit Plan qualified under Section 401(a) of the Code, and neither
the Company nor any of its ERISA Affiliates has made a written or oral representation
promising the same.

        (g)    With respect to each Company Benefit Plan providing termination or
retirement benefits that is subject to the laws of a jurisdiction outside of the United States,
or covering any Person residing or primarily working outside the United States, (i) to
Sellers’ Knowledge, each such Company Benefit Plan complies in all material respects
with all applicable Laws; and (ii) each such Company Benefit Plan that is required to be
registered with a Governmental Authority is so registered.

        Section 3.13 Intellectual Property.

        (a)    The Company or another Seller owns or possesses sufficient legal rights to
all Company Intellectual Property without any known conflict with, or infringement of,
the rights of others, including prior employees or consultants, with which any of them
may be affiliated now or may have been affiliated in the past.

        (b)     The Company or another Seller is the sole and unrestricted legal and
beneficial owner of all Owned Intellectual Property, and no Owned Intellectual Property
will at the Closing be subject to any Liens, adverse claims, any requirement of any past
(if outstanding), present or future royalty payments or otherwise encumbered or restricted
by any rights of any third party, other than Permitted Liens. The execution, delivery and
performance of this Agreement and the consummation of the transactions contemplated
thereby will not result in the loss, forfeiture, termination, license or impairment of, or
give rise to any obligation to transfer or to create, change or abolish, or limit, terminate or
consent to the continued use of any material Company Intellectual Property.

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               (c)     Sellers, as a practice, have taken commercially reasonable and appropriate
       steps to protect, maintain and preserve the confidentiality of any trade secrets included in
       the Owned Intellectual Property.

                Section 3.14 Compliance with Laws; Permits.

               (a)     Sellers are in compliance with all Laws applicable to the Business, except
       as set forth in Section 3.14 of the Disclosure Schedule, as resulting from the filing and
       pendency of the Bankruptcy Cases or where the failure to be in compliance would not be
       reasonably expected to have a Material Adverse Effect. Sellers have not received any
       written notice of or been charged with the violation of any Laws, except where such
       violation would not be reasonably expected to have a Material Adverse Effect.

               (b)    Sellers have all Permits which are required for the operation of the
       Business as presently conducted, except where such failure to have Permit would not be
       reasonably be expected to have a Material Adverse Effect. Sellers are not in default or
       violation (and no event has occurred which, with notice or the lapse of time or both,
       would constitute a default or violation) of any term, condition or provision of any Permit
       to which they are parties, except where such default or violation would not be reasonably
       expected to have a Material Adverse Effect.

                Section 3.15 Environmental Matters.         The representations and warranties
contained in this Section 3.15 are the sole and exclusive representations and warranties of Sellers
with respect to environmental matters, including matters relating to Environmental Laws.
Except as would not be reasonably likely to have a Material Adverse Effect:

              (a)   the operations of Sellers are in compliance with all applicable
       Environmental Laws, which compliance includes obtaining, maintaining and complying
       with all Permits issued pursuant to Environmental Laws necessary to operate the
       Business;

             (b)    no Seller is the subject of any outstanding Litigation with any
       Governmental Authority with respect to Environmental Laws;

               (c)    no Seller is the subject of any pending, or to the Knowledge of Sellers,
       threatened Litigation alleging that Sellers may (i) be in violation of any Environmental
       Law, or any Permit issued pursuant to Environmental Law, or (ii) have any liability under
       any Environmental Law; and

               (d)     to the Knowledge of Sellers, there are no pending or threatened
       investigations of Sellers, or currently or previously owned, operated or leased property of
       Sellers, which would reasonably be expected to result in Sellers or their Subsidiaries
       incurring liability pursuant to any Environmental Law.

               Section 3.16 Related Party Transactions. Except as set forth on Schedule 3.16
of the Disclosure Schedule and other than the Company Benefit Plans, no officer, director or
executive committee member of any Seller or any member of their immediate family or any

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Affiliate of the Company or such Seller (a) is a party to any Contract or Lease set forth on
Schedule 2.7(b) of the Disclosure Schedule or has any material business arrangement with, or
has any material financial obligations to or is owed any financial obligations from, the Company
or any actual competitor, vendor or licensor of the Company (each such Contract, Lease or
business arrangement, an “Affiliate Agreement”), (b) to the Knowledge of Sellers, none of the
foregoing Persons have any cause of action or other claim whatsoever against or related to the
Business or the Acquired Assets, and (c) to the Knowledge of Sellers, the Company does not
have any direct or indirect business arrangement with or financial obligation to the foregoing
Persons.

                 Section 3.17 Financial Statements. True, correct and complete copies of (a) the
consolidated balance sheets and statements of operations and comprehensive income,
stockholders’ equity and cash flow of the Company as of and for the years ended December 31,
2018 and December 31, 2019 (the “Yearly Financial Statements”) and (b) an unaudited
consolidated balance sheets and statements of operations and comprehensive loss, cash flow and
stockholders’ equity of the Company as of and for the three month period ended March 31, 2020
(such date being the “Interim Balance Sheet Date”) (the “Interim Financial Statements” and,
together with Yearly Financial Statements, the “Financial Statements”) have been provided to
Salon Holdings. The Financial Statements present fairly, in all material respects, the financial
position, results of operations and cash flows of the Company as of the dates and for the periods
indicated in such Financial Statements, have been prepared in accordance with the books of
account and other financial records of the Company and have been prepared in conformity with
GAAP (except, in the case of the Interim Financial Statements, for the absence of footnotes and
other presentation items and for normal year-end adjustments that are not material individually
or in the aggregate).

                 Section 3.18 Inventory. The Inventory as a whole is of a quantity and quality
historically useable or saleable in the conduct of the Business since the filing of the Bankruptcy
Cases, except in respect to Inventory that would have been discarded in normal course after the
date upon which the salons ceased operations. All Inventory is free from defects in materials and
workmanship (normal wear and tear excepted), except as would not have a Material Adverse
Effect.

                Section 3.19 Sufficiency of Assets. The Acquired Assets are sufficient for the
continued conduct of the Business after the Closing in substantially the same manner as
conducted since the filing of the Bankruptcy Cases and constitute all of the rights, property and
assets necessary to conduct the Business as currently conducted immediately prior to the date
hereof.

                                 ARTICLE IV
                  BUYERS’ REPRESENTATIONS AND WARRANTIES

        Buyers represent and warrant to each Seller that the statements contained in this Article
IV are true and correct as of the date of this Agreement.

               Section 4.1 Organization of Buyer; Good Standing. Salon Holdings is a
corporation duly organized, validly existing and in good standing under the laws of the State of

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Delaware and has all requisite corporate power and authority to own, lease and operate its assets
and to carry on its business as now being conducted. Each Buyer other than Salon Holdings is a
limited liability company duly organized, validly existing and in good standing under the laws of
the state of its formation and has all requisite company power and authority to own, lease and
operate its assets and to carry on its business as now being conducted

                 Section 4.2 Authorization of Transaction. Each Buyer has full power and
authority (including full company power and authority) to execute and deliver this Agreement
and all other agreements contemplated hereby to which it is a party and to perform its obligations
hereunder and thereunder. The execution, delivery and performance of this Agreement and all
other agreements contemplated hereby to which a Buyer is a party have been duly authorized by
such Buyer. This Agreement (assuming due authorization and delivery by Sellers) constitutes
the valid and legally binding obligation of each Buyer, enforceable against each Buyer in
accordance with its terms and conditions, subject to applicable bankruptcy, insolvency,
moratorium or other similar laws relating to creditors’ rights and general principles of equity.

                 Section 4.3 Noncontravention. Neither the execution and delivery of this
Agreement, nor the consummation of the transactions contemplated hereby (including the
assignments and assumptions referred to in Article II) will (a) conflict with or result in a breach
of the certificate of incorporation or bylaws, certificate of formation or operating agreement, or
other organizational documents, as applicable, of such Buyer, (b) violate any law or Decree to
which Buyer is, or its assets or properties are, subject or (c) conflict with, result in a breach of,
constitute a default under, result in the acceleration of, create in any party the right to accelerate,
terminate, modify or cancel, or require any notice under any Contract or Lease to which a Buyer
is a party or by which it is bound, except, in the case of either clause (b) or (c), for such conflicts,
breaches, defaults, accelerations, rights or failures to give notice as would not, individually or in
the aggregate, have a material adverse effect on Buyer. No Buyer is required to give any notice
to, make any filing with, or obtain any authorization, consent or approval of any Governmental
Authority in order for the Parties to consummate the transactions contemplated by this
Agreement or any Related Agreement, except where the failure to give notice, file or obtain such
authorization, consent or approval would not, individually or in the aggregate, prevent or
materially impair or delay any Buyer’s ability to consummate the transactions contemplated
hereby or perform its obligations hereunder on a timely basis.

               Section 4.4 Litigation; Decrees. There is no Litigation pending or, to Salon
Holdings’ knowledge, threatened in writing that challenges the validity or enforceability of this
Agreement or seeks to enjoin or prohibit consummation of the transactions contemplated hereby.
Neither Salon Holdings nor any other Buyer is subject to any outstanding Decree that would
prevent or materially impair or delay any Buyer’s ability to consummate the transactions
contemplated hereby or perform its obligations hereunder on a timely basis.

              Section 4.5 Brokers’ Fees. No Buyer has entered into any Contract to pay any
fees or commissions to any broker, finder or agent with respect to the transactions contemplated
by this Agreement for which Sellers or any of their Affiliates could become liable or obligated to
pay.



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                 Section 4.6 Sufficient Funds; Adequate Assurances. Salon Holdings has and
will have at the Closing immediately available funds sufficient for the satisfaction of all of its
obligations under this Agreement, including the payment of the Purchase Price, the Cure Costs
and all fees, expenses of and other amounts required to be paid by Buyer in connection with the
transactions contemplated hereby. Each Buyer is capable of satisfying the conditions contained
in sections 365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the Designated
Contracts and Assumed Leases and the related Assumed Liabilities.

                                      ARTICLE V
                                PRE-CLOSING COVENANTS

      The Parties agree as follows with respect to the period between the execution of this
Agreement and the Closing (except as otherwise expressly stated to apply to a different period):

                 Section 5.1 Efforts; Cooperation. Upon the terms and subject to the conditions
set forth in this Agreement (including Section 5.4(a)), each of the Parties shall use its
commercially reasonable efforts to take, or cause to be taken, all actions, and to do, or cause to
be done, and to assist and cooperate with the other Parties in doing, all things reasonably
necessary, proper or advisable to consummate and make effective, in the most expeditious
manner practicable, the transactions contemplated hereby, except as otherwise specifically
provided in Section 5.4. Without limiting the generality of the foregoing, (i) each Seller shall
use its commercially reasonable efforts to cause the conditions set forth in Section 7.1 that are
within its control or influence to be satisfied or fulfilled, and (ii) each Buyer shall use its
commercially reasonable efforts to cause the conditions set forth in Section 7.2 that are within its
control or influence to be satisfied or fulfilled.

                Section 5.2   Conduct of the Business Pending the Closing.

               (a)     During the period prior to the Closing, Sellers shall use commercially
       reasonable efforts, except as otherwise required, authorized or restricted by applicable
       Law (including applicable Shelter-in-Place Laws), pursuant to the Bankruptcy Code or
       pursuant to a Decree of the Bankruptcy Court, to operate the Business in the Ordinary
       Course of Business. Sellers shall use commercially reasonable efforts to, except as
       related to or the result of the filing or pendency of the Bankruptcy Cases, (A) preserve
       intact their business organizations, (B) maintain the Business and the Acquired Assets
       (normal wear and tear excepted and recognizing the impact of the Shelter-in-Place Laws),
       (C) keep available the services of its officers and Covered Employees, (D) maintain
       satisfactory relationships with licensors, licensees, suppliers, contractors, distributors,
       consultants, vendors, and others having business relationships with Sellers in connection
       with the operation of the Business (other than payment of pre-petition claims), and (E)
       subject to the requirements of the Shelter-in-Place Laws, continue to operate the Business
       and Acquired Assets in all material respects in compliance with all Laws applicable to the
       Business and Sellers consistent with past practice in place immediately prior to the
       Petition Date.

               (b)     Except (i) any and all matters as may be approved by the Bankruptcy
       Court, (ii) as required by applicable Law (including applicable Shelter-in-Place Laws) or

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by Decree of the Bankruptcy Court, (iii) as otherwise contemplated by this Agreement, or
(iv) with the prior written consent of Salon Holdings (which consent shall not be
unreasonably withheld, conditioned or delayed), no Seller shall, solely as it relates to the
Business:

               (i)    other than in the Ordinary Course of Business, (A) materially
       increase the annual level of compensation of any Covered Employee or (B)
       materially increase or decrease the coverage or benefits available under any (or
       create any new) Employee Benefit Plan;

              (ii)    subject any of the Acquired Assets to any Lien, except for
       Permitted Liens and any Lien securing any debtor in possession loan facility or
       granted in an order authorizing use of cash collateral;

                 (iii)   terminate, amend, or fail to renew, obtain, or preserve any material
       Permit;

                 (iv)    make any material loans or material advances;

              (v)     enter into any Contract that limits or restricts the conduct or
       operations of the business of the Company;

              (vi)   incur, create, assume, guarantee, or become liable for any
       indebtedness, other than trade debt and other indebtedness incurred in the
       Ordinary Course of Business;

               (vii) except as previously disclosed to or known by Salon Holdings,
       materially modify, amend, supplement, or terminate any Contract or Lease set
       forth on Schedule 2.7(a);

              (viii) fail to maintain in full force and effect any filings necessary to
       maintain the Owned Intellectual Property, other than in the Ordinary Course of
       Business;

               (ix)    write up, write down, or write off the book value of any assets
       other than in the Ordinary Course of Business;

              (x)    engage any new employee whose annual base salary would exceed
       ten thousand Dollars ($10,000);

                 (xi)    reject any Contracts or Leases;

              (xii) seek to accelerate the receipt of any royalty payments or licensing
       receivables generated by the Business, by way of discount or otherwise;

              (xiii)     terminate any Covered Employee unless such termination is for
       “cause”; or


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                       (xiv)   agree to do anything prohibited by this Section 5.2.

                Section 5.3    Bankruptcy Court Matters.

               (a)    No later than April 23, 2020, Sellers shall file with the Bankruptcy Court
an application or motion seeking approval of (i) the Bidding Procedures Order (ii) the form of
this Agreement and Sellers’ authority to enter into this Agreement and (iii) the Bid Protections
(as defined below) (the “Bidding Procedures Motion”).

                (b)     If this Agreement is terminated pursuant to Section 8.1(e)(i), Salon
Holdings shall be entitled to the reimbursement of, and Sellers shall promptly reimburse Salon
Holdings in immediately available funds for, its actual, reasonable and documented actual and
necessary out-of-pocket fees and expenses in connection with the transaction contemplated
hereby (the “Expense Reimbursement” or the “Bid Protections”) in an amount, collectively of
three hundred thousand Dollars ($300,000). The payment of the Expense Reimbursement shall
be subordinate to the payment of the Company’s professional fees, as approved by the
Bankruptcy Court. In addition, the Bidding Procedures Order shall provide for an initial overbid
protection in the amount of two hundred fifty thousand Dollars ($250,000) over and above the
aggregate of the Purchase Price and the Bid Protections and minimum bid increments thereafter
of one hundred thousand Dollars ($100,000) (the “Overbid Protection”). The obligations of
Sellers to pay the Bid Protections (i) shall, subject to the provisions of the DIP Order, be entitled
to administrative expense claim status under Sections 503(b)(1)(A) and 507(a)(2) of the
Bankruptcy Code, (ii) shall not be subordinate to any other administrative expense claim against
Sellers, other than as provided in the DIP Order or any adequate protection order in existence at
the time the Expense Reimbursement is approved, and (iii) shall survive the termination of this
Agreement in accordance with Section 8.2. The Bidding Procedures Order shall approve the Bid
Protections as set forth in this paragraph.

                (c)    Unless otherwise agreed by the Parties in writing, the Bidding Procedures
Order shall also (i) be entered by the Bankruptcy Court on or before May 5, 2020, (ii) provide
that qualified bids must be submitted by May 21, 2020, and an auction, if any, shall take place on
May 22, 2020, and (iii) provide that the Closing shall occur on or before May 31, 2020.
Notwithstanding the foregoing, the Closing shall occur as provided in Section 2.4.

                (d)     This Agreement and the transactions contemplated hereby are subject to
Sellers’ right and ability to consider higher or better competing bids with respect to the Business
and a material portion of the Acquired Assets pursuant to the Bidding Procedures Order (each a
“Competing Bid”).

                (e)      If an Auction is conducted, and Buyers are not the prevailing party(ies) at
the conclusion of such Auction (such prevailing party, the “Prevailing Bidder”), Buyers shall be
required to serve as a back-up bidder (the “Back-up Bidder”) and keep Buyers’ bid to
consummate the transactions contemplated by this Agreement on the terms and conditions set
forth in this Agreement (as the same may be improved upon in the Auction) open and irrevocable
until the earlier of (i) 5:00 p.m. (prevailing Eastern time) on May 31, 2020 (the “Outside Back-
up Date”), or (ii) the date of closing of a Competing Bid with the Prevailing Bidder. Following
the Sale Hearing and prior to the Outside Back-up Date, if the Prevailing Bidder fails to

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consummate the applicable alternative transaction as a result of a breach or failure to perform on
the part of such Prevailing Bidder, the Back-up Bidder (if the Back-up Bidder is the next highest
bidder at the Auction) will be deemed to have the new prevailing bid, and Sellers will be
authorized, without further order of the Bankruptcy Court, to consummate the transactions
contemplated by this Agreement on the terms and conditions set forth in this Agreement (as the
same may be improved upon in the Auction) with the Back-up Bidder.

                (f)     Sellers shall promptly serve true and correct copies of the Sale Motion and
all related pleadings in accordance with the Bidding Procedures Order, the Bankruptcy Code, the
Federal Rules of Bankruptcy Procedure, the Local Rules of Bankruptcy Practice and Procedure
of the United States Bankruptcy Court for the District of Maryland, and any other applicable
order of the Bankruptcy Court.

                (g)     The Sale Order shall be entered by the Bankruptcy Court. The Sale Order
shall, among other things, (i) approve, pursuant to Sections 105, 363, and 365 of the Bankruptcy
Code, (A) the execution, delivery and performance by Sellers of this Agreement, (B) the sale of
the Acquired Assets to Buyers on the terms set forth herein and free and clear of all Liens (other
than Liens included in the Assumed Liabilities and Permitted Liens), and (C) the performance by
Sellers of their respective obligations under this Agreement; (ii) authorize and empower Sellers
to assume and assign to Buyers the Designated Contracts; and (iii) find that each Buyer is a
“good faith” buyer within the meaning of Section 363(m) of the Bankruptcy Code, not a
successor to any Seller and grant each Buyer the protections of Section 363(m) of the
Bankruptcy Code. Buyers shall promptly take such actions as are reasonably requested by
Sellers to assist in obtaining Bankruptcy Court approval of the Sale Order, including furnishing
affidavits or other documents or information for filing with the Bankruptcy Court for purposes,
among others, of (a) demonstrating that each Buyer is a “good faith” purchaser under
Section 363(m) of the Bankruptcy Code and (b) establishing adequate assurance of future
performance within the meaning of Section 365 of the Bankruptcy Code. In the event that the
Bankruptcy Court’s approval of the Sale Order shall be appealed, Sellers shall use reasonable
efforts to defend such appeal.

              (h)    Unless otherwise provided in the Bidding Procedures Order, the Bidding
Procedures Order shall apply to the sale of the Business hereunder.

               Section 5.4    Notices and Consents.      Prior to the Closing and as necessary
following the Closing:

              (a)    Sellers will give, or will cause to be given, any notices to third parties, and
       each of the Parties will use its commercially reasonable efforts to obtain any third party
       consents or sublicenses, if applicable, as are otherwise necessary and appropriate to
       consummate the transactions contemplated hereby

              (b)    Each of the Parties will give any notices to, make any filings with, and use
       its commercially reasonable efforts to obtain any authorizations, consents, and approvals
       of Governmental Authorities necessary and appropriate to consummate the transactions
       contemplated hereby.


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                 Section 5.5 Notice of Developments. Each Seller and each Buyer will give
prompt written notice to the other Parties of (a) the existence of any fact or circumstance, or the
occurrence of any event, of which it has Knowledge that would reasonably be likely to cause a
condition to a Party’s obligations to consummate the transactions contemplated hereby set forth
in Article VII not to be satisfied as of a reasonably foreseeable Closing Date, or (b) the receipt of
any notice or other communication from any Governmental Authority in connection with the
transactions contemplated by this Agreement; provided, however, that the delivery of any such
notice pursuant to this Section 5.5 shall not be deemed to amend or supplement this Agreement
and the failure to deliver any such notice shall not constitute a waiver of any right or condition to
the consummation of the transactions contemplated hereby by any Party.

                Section 5.6 Access. Sellers will provide each Buyer and their respective
Representatives access to all books and records, and Designated Contracts and Assumed Leases
included in the Acquired Assets via an electronic data room; provided, however, that, for
avoidance of doubt, the foregoing shall not require any Person to waive, or take any action with
the effect of waiving, its attorney-client privilege with respect thereto. Each Buyer shall upon
reasonable notice to, and with the prior written consent of, Sellers, be permitted to contact
Landlords, vendors, suppliers, licensors, and licensees. Sellers shall be entitled to be present at
any such meetings.

               Section 5.7 Bulk Transfer Laws. Each Buyer acknowledges that Sellers will
not comply with the provisions of any bulk transfer laws or similar laws of any jurisdiction in
connection with the transactions contemplated by this Agreement, including the United Nations
Convention on the Sale of Goods, and hereby waives all claims related to the non-compliance
therewith.

                                        ARTICLE VI
                                     OTHER COVENANTS

       The Parties agree as follows with respect to the period from and after the Closing:

                Section 6.1    Further Assurances.

               (a)     In case at any time after the Closing any further action is necessary to
       carry out a Party’s obligations under this Agreement, such Party will, at the requesting
       Party’s sole cost and expense, take such further action (including the execution and
       delivery of such other reasonable instruments of sale, transfer, conveyance, assignment,
       assumption and confirmation, providing materials and information) as the other Party
       may reasonably request which actions shall be reasonably necessary to transfer, convey,
       or assign to the applicable Buyer all of the Acquired Assets to be acquired by such Buyer
       in accordance with Section 2.1 or to confirm an applicable Buyer’s assumption of the
       Assumed Liabilities to be assumed by such Buyer in accordance with Section 2.2.

               (b)    If, following the Closing, any Buyer or any Seller becomes aware that any
       Buyer or any of its Affiliates owns any asset or rights which is an Excluded Asset, such
       Party shall promptly inform the other Party of that fact. Thereafter, at the request of any
       Seller, such Buyer shall execute, or cause the relevant Affiliate(s) of such Buyer to

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       execute, such documents as may be reasonably necessary to cause the transfer of and
       such Buyer shall thereafter transfer any such asset or right to such Seller or such other
       entities nominated by such Seller for no consideration and such Seller shall do all such
       things as are reasonably necessary to facilitate such transfer. If, following the Closing, a
       Buyer receives any payments in respect of an Excluded Asset, such Buyer shall promptly
       remit such payments to the applicable Seller or other entity nominated by such Seller.

               (c)     If, following the Closing, any Buyer or any Seller becomes aware that a
       Seller or any of its Affiliates owns any asset or rights which is an Acquired Asset, such
       Party shall promptly inform the other Party of that fact. Thereafter, at the request of any
       Buyer, the applicable Seller shall execute or cause the relevant Seller or Affiliate(s) of
       such Seller to execute such documents as may be reasonably necessary to cause the
       transfer of and such Seller shall thereafter transfer any such asset or right to such Buyer
       or any other entities nominated by such Buyer for no consideration and such Buyer shall
       do all such things as are reasonably necessary to facilitate such transfer. If, following the
       Closing, a Seller or its Affiliates receive any payments in respect of the Acquired Assets,
       such Seller shall promptly remit such payments to such applicable Buyer or other entity
       nominated by Buyer.

                (d)   With respect to any Acquired Asset (and any asset which is not an
       Acquired Asset solely as a result of a restriction on transfer or assignment) for which
       consent or approval is required for transfer or assignment but is not obtained prior to the
       Closing, Sellers shall reasonably cooperate with Buyers in any reasonable arrangement
       that Buyers may request to provide Buyers with all of the benefits of, or under, the
       applicable Acquired Assets (or assets that are not Acquired Assets solely as a result of a
       restriction on transfer or assignment), including taking actions reasonably required to
       enforce, for the benefit of a Buyer, any and all rights of Sellers against any party to the
       applicable Acquired Asset.

                 Section 6.2 Access; Enforcement; Record Retention. From and after the
Closing, upon request by any Party or Dennis Ratner (the “Requesting Party”), the other Parties
will permit such Requesting Party and its Representatives to have reasonable access during
normal business hours, at the sole expense of such Requesting Party and in a manner so as not to
interfere unreasonably with the normal business operations of such Party, to all premises,
properties, personnel, books and records, and Contracts or Leases of such Party for the purposes
of (a) preparing Tax Returns, (b) monitoring or enforcing rights or obligations under this
Agreement or any of the Related Agreements, or (c) defending third-party lawsuits or complying
with the requirements of any Governmental Authority; provided, however, that, for avoidance of
doubt, the foregoing shall not require a Party to take any such action if (i) such action may result
in a waiver or breach of any attorney/client privilege, (ii) such action could reasonably be
expected to result in violation of applicable law, or (iii) providing such access or information
would be reasonably expected to be disruptive to its normal business operations. Buyers agree to
maintain the files or records which are contemplated by the first sentence of this Section 6.2 in a
manner consistent in all material respects with its document retention and destruction policies, as
in effect from time to time, for six (6) years following the Closing.



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        Section 6.3    Covered Employees.

        (a)        Salon Holdings, or one of the other Buyers, may offer employment to
any or all of the Covered Employees (including, for the avoidance of doubt, Inactive
Employees). At least two (2) Business Days prior to the Auction, Salon Holdings may
provide Sellers a list of any Covered Employees that Salon Holdings, or one of the other
Buyers, would like to make an offer of employment. Any such offer of employment will
be effective as of the Closing Date and contingent upon the Closing. Each Covered
Employee who accepts such offer of employment shall be deemed a “Transferred
Employee”; provided that any Covered Employee who has been furloughed or is on an
approved leave of absence as of the Closing (an “Inactive Employee”) shall not be
considered a Transferred Employee unless and until such Inactive Employee returns to
active status pursuant to the following sentence, and notwithstanding anything herein to
the contrary, no Buyer or their respective Affiliates shall be responsible for Liabilities
relating to such Inactive Employee from and after the date such Inactive Employee
becomes a Transferred Employee. Each Transferred Employee who becomes employed
by a Buyer in connection with the transactions contemplated by this Agreement shall be
eligible to receive the salary and benefits (excluding, severance and equity compensation)
maintained for employees of Salon Holdings on substantially similar terms and
conditions in the aggregate as are provided to similarly situated employees of Salon
Holdings. The employment of any Inactive Employee with Salon Holdings or one of its
Affiliates, as applicable, shall be effective upon his or her return to active work, provided
that the Inactive Employee reports to work with Salon Holdings or one of its Affiliates, as
applicable, within five (5) Business Days after the end of any such approved leave and, to
the extent permitted by applicable Law, in no event later than six (6) months following
the later of (i) the Closing Date or (ii) repeal of the applicable Shelter-in-Place Laws, and,
as of such date, such Inactive Employee shall be a Transferred Employee. Salon
Holdings, in its sole discretion shall also be permitted to offer employment to any
Covered Employee that is not employed at a Salon and any such Covered Employee that
accepts such offer of employment shall be a Transferred Employee. Sellers will
reasonably cooperate with any reasonable requests by Buyer in order to facilitate the
offers of employment and the delivery of such offers.

        (b)       Service Credit. Each Transferred Employee shall be given credit for all
service with Sellers and their Subsidiaries, and their respective predecessors under any
employee benefit plans or arrangements of Salon Holdings and its respective Affiliates
maintained by Salon Holdings or its respective Affiliates in which such Transferred
Employees participate following the Closing Date, for purposes of eligibility, vesting and
entitlement to benefits, including for severance benefits and vacation entitlement and for
accrual of pension benefits provided, however, that (i) such credit shall be given pursuant
to payroll or plan records, at the election of Salon Holdings, in its sole and absolute
discretion; and (ii) such service crediting shall be permitted and consistent with Salon
Holdings’ defined contribution retirement plan. Notwithstanding the foregoing, nothing
in this Section 6.3(b) shall be construed to require crediting of service that would result in
a duplication of benefits.


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               (c)      No Third Party Beneficiary Rights. Without limiting the generality of
       this Section 6.3, no provision of this Agreement shall create any third party beneficiary
       rights in any current or former employee or service provider of any Seller, any Covered
       Employee, or any Transferred Employee (including any beneficiary or dependent thereof)
       in respect of continued employment by Sellers or its Affiliates or Buyers or its Affiliates
       or otherwise. Nothing herein shall (i) guarantee employment for any period of time or
       preclude the ability of any Buyer or any of its Affiliates to terminate any Transferred
       Employee for any reason, (ii) require any Buyer or any of its Affiliates to continue any
       Company Benefit Plans, employee benefit plans, or arrangements or prevent the
       amendment, modification or termination thereof after the Closing, or (iii) constitute an
       amendment to any Company Benefit Plan, employee benefit plans, or arrangements.

              (d)        Effective as soon as practicable following the Closing Date, Sellers, or
       any applicable Affiliate, shall effect a transfer of assets and liabilities from the defined
       contribution retirement plan that it maintains, to the defined contribution retirement plan
       maintained by Salon Holdings, with respect to those employees of the Business who
       become employed by Salon Holdings, or an Affiliate of Salon Holdings, in connection
       with the transactions contemplated by this Agreement. Any such transfer shall be in an
       amount sufficient to satisfy Section 414(l) of the Code.

               (e)       Except for any Assumed Liabilities, Sellers will have the sole and
       absolute responsibility for any financial or other commitments to their employees for the
       period prior to the Closing, including any and all claims or obligations for severance pay
       and any and all claims and obligations arising under any collective bargaining agreement,
       employee benefit plan (including, any withdrawal liability) or any local, state or federal
       law, rule or regulation. Other than as set forth in Section 6.3(a), no Buyer of any of its
       Affiliates shall have any contractual or other obligation with respect to hiring, offering to
       hire or employing any Covered Employee or any of Sellers’ other employees. Except as
       set forth in Section 6.3(a), in no event shall any Buyer be obligated to commit to any
       particular usage of employees or to any particular benefits or wage rates. Nothing
       contained herein shall be deemed an admission that Sellers have any financial obligation
       to employees or that obligations, if any, are entitled to a particular treatment or priority
       under the Bankruptcy Code. Sellers’ failure to pay an obligation, if any, under this
       Section 6.3 shall not be a default under this Agreement.

                Section 6.4 Transfer Taxes. Buyers shall pay any stamp, documentary, filing,
recording, registration, sales, use, transfer, added-value or other non-income Tax, fee, or
governmental charge (a “Transfer Tax”) imposed under applicable Law in connection with the
transactions contemplated hereby. The Party that is required by applicable Law to file any Tax
Returns in connection with Transfer Taxes described in the immediately preceding sentence shall
prepare and timely file such Tax Returns. The Parties hereto shall cooperate to permit the filing
Party to prepare and timely file any such Tax Returns.

                Section 6.5 Press Releases and Public Announcements. No Party shall issue
any press release or make any public announcement relating to the existence or subject matter of
this Agreement without the prior written approval of Salon Holdings and CHI, unless a press
release or public announcement is required by applicable law, or any rule or order of the
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Bankruptcy Court. If any such announcement or other disclosure is required, the disclosing
Party shall give the nondisclosing Parties prior notice of, and an opportunity to comment on, the
proposed disclosure. The Parties acknowledge that Sellers shall file this Agreement with the
Bankruptcy Court in connection with obtaining the Sale Order.

               Section 6.6    Non-Disclosure; Non-Solicit; Non-Disparagement.

                (a)    Non-Disclosure of Confidential Information. None of the Sellers nor
       Ratner Companies, L.C. or Dennis Ratner (the “Restricted Parties”) shall, directly or
       indirectly, disclose or use at any time (and shall cause their respective Affiliates and
       Representatives not to use or disclose) any Confidential Information (whether or not such
       information is or was developed by any of the Restricted Parties), except to the extent
       that (i) such disclosure or use is (i) directly related to and required by the performance of
       such Restricted Party’s duties to the Company or the Buyers, (ii) required by applicable
       law, any rule of the Bankruptcy Court, any Decree, or as otherwise provided hereunder.
       The Restricted Parties each further agrees to take commercially reasonable steps, to the
       extent within its control, to safeguard such Confidential Information and to protect it
       against disclosure, misuse, espionage, loss, and theft. In the event any of the Restricted
       Parties is required by Law or Decree to disclose any Confidential Information, such
       Restricted Party shall promptly notify the Buyers in writing, which notification shall
       include the nature of the legal requirement and the extent of the required disclosure, and
       shall cooperate with the Buyers’ reasonable requests to preserve the confidentiality of
       such Confidential Information consistent with applicable Law. For purposes of this
       Agreement, “Confidential Information” means all information of a confidential or
       proprietary nature (whether or not specifically labeled or identified as “confidential”), in
       any form or medium, that relates to the Business, the Company, any other Seller, or their
       respective suppliers, distributors, customers, independent contractors or other business
       relations. Confidential Information includes the following as they relate to the Company,
       any other Seller or the Business and, in each case, to the extent the Company, any other
       Seller or the Business obtains a commercial benefit from the secret nature of such
       information: internal business information (including information relating to strategic and
       staffing plans and practices, business, training, marketing, promotional and sales plans
       and practices, cost, rate and pricing structures, accounting and business methods and
       potential acquisition candidates); identities of, individual requirements of, and specific
       contractual arrangements with, the Company’s or any other Seller’s suppliers,
       distributors, customers, independent contractors or other business relations and their
       confidential information; trade secrets, know-how, compilations of data and analyses,
       techniques, systems, formulae, research, records, reports, manuals, documentation,
       models, data and data bases relating thereto; and inventions, innovations, improvements,
       developments, methods, designs, analyses, drawings, and reports.

               (b)    Non-Solicit; Non-Disparagement. During the period commencing on the
       date hereof and ending on the third (3rd) anniversary of the Closing Date (the “Restricted
       Period”), the Restricted Parties shall not, and shall not cause their respective affiliates and
       trusts of the foregoing, including Gary Ratner and each Dennis Company (as defined
       below), to, directly or indirectly, either individually or acting in concert with another
       Person or Persons:
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              (i)     request, induce or attempt to influence any distributor, supplier or
       customer of goods or services of the Business to curtail, cancel or refrain from
       maintaining or increasing the amount or type of business such distributor, supplier
       or customer of goods or services is currently transacting, or may be transacting
       during the Restricted Period, with the Business or modify its pricing or other
       terms of sale with the Business;

              (ii)   solicit for employment or retention or hire, employ or retain any
       Person who is an employee of the Business during the Restricted Period or was an
       employee at any time during the twelve (12) month period preceding the Closing
       Date;

               (iii) influence or attempt to influence any Person who is an employee
       of the Business during the Restricted Period or at any time during the twelve (12)
       month period preceding the Closing Date to terminate his or her employment with
       the Company or the Business; or

              (iv)    make any negative, derogatory or disparaging statements or
       communications regarding any Buyer, the Business, the Company or its
       Subsidiaries, or their respective Affiliates, stockholders, officers, directors, or
       employees.

        The Parties acknowledge and agree that (i) Gary Ratner owns an interest in and
operates Salon Plaza Enterprises, LLC (“Salon Plaza”) and that Salon Plaza is in a
business that is similar to the Business, and (ii) as of the date hereof, Dennis Ratner
owns, directly or indirectly, in whole or in part, as a shareholder, member, manager,
director, officer, employee, consultant, trustee, representative or agent, an equity interest
in the entities identified on Schedule 6.6(b) (each a “Dennis Company,” and collectively
the “Dennis Companies’). For the avoidance of doubt, nothing contained in this Section
6.6(b) shall prohibit Gary Ratner from continuing to own and operate Salon Plaza and
Dennis Ratner from continuing to own and participate in the operations of any of the
Dennis Companies, subject to Buyer’s remedies under Section 6.6(d) in the event of
breach or threatened breach of clauses (i) through (iv) of this Section 6.6(b).

         (c)    Severability. Notwithstanding anything to the contrary in this Agreement,
if at any time, in any judicial or arbitration proceeding, any of the restrictions stated in
this Section 6.6 are found by a final order of a court of competent jurisdiction or
arbitrator to be unreasonable or otherwise unenforceable under circumstances then
existing, the Parties each agree that the period, scope or geographical area, as the case
may be, shall be reduced to the extent necessary to enable the court to enforce the
restrictions to the extent such provisions are allowable under applicable Law, giving
effect to the agreement and intent of the Parties that the restrictions contained herein shall
be effective to the fullest extent permissible. In the event of a breach or violation by any
Restricted Party of any of the provisions of this Section 6.6, the Restricted Period, as the
case may be, will be tolled for so long as such Restricted Party was in violation of such
provision. Each Restricted Party agrees that the restrictions contained in this Agreement


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       are reasonable in all respects and necessary to protect each Buyer’s interest in, and the
       value of, the Business.

               (d)     Specific Performance; Injunctive Relief.           Each Restricted Party
       acknowledges and agrees that in the event of a breach or violation by any Restricted
       Party of any of the provisions of this Section 6.6, the Buyers would suffer irreparable
       harm, no adequate remedy at law would exist for the Buyers, and damages would be
       difficult to determine. Consequently, in the event of any such breach or violation, the
       Buyers or their successors or assigns may, in addition to other rights and remedies
       existing in their favor, apply to any court of law or equity of competent jurisdiction for
       specific performance or injunctive or other relief in order to enforce or prevent any
       violations of the provisions hereof, in each case without the requirement of posting a
       bond or proving actual damages; provided that any such specific performance or
       injunctive relief shall be limited to restraining or prohibiting such breach or threatened
       and not the cessation of operations or forced divestiture of the applicable business.

                 Section 6.7 No Successor Liability. The Parties intend that upon the Closing,
each Buyer and its Affiliates shall not and shall not be deemed to: (a) be a successor (or other
such similarly situated party), or otherwise be deemed a successor, to Sellers, including a
“successor employer” for the purposes of the Internal Revenue Code of 1986, the Employee
Retirement Income Security Act of 1974, or other applicable laws; (b) have any responsibility or
liability for any obligations of Sellers, or any affiliate of Sellers, based on any theory of
successor or similar theories of liability; (c) have, de facto or otherwise, merged with or into any
of Sellers; (d) be an alter ego or a mere continuation or substantial continuation of any of Sellers
(and there is no continuity of enterprise between any Buyer and any Seller), including within the
meaning of any foreign, federal, state or local revenue, pension, ERISA, tax, labor, employment,
environmental, or other law, rule or regulation (including filing requirements under any such
laws, rules or regulations), or under any products liability law or doctrine with respect to Sellers’
liability under such law, rule or regulation or doctrine; or (e) be holding itself out to the public as
a continuation of any of Sellers or their respective estates.

                Section 6.8 Acquired Avoidance Actions and Causes of Action. No Buyer
shall at any time following the Closing pursue, prosecute, sell, or transfer any of the Acquired
Avoidance Actions or Ratner Causes of Action.

                                   ARTICLE VII
                        CONDITIONS TO OBLIGATION TO CLOSE

                 Section 7.1 Conditions to Buyers’ Obligations.     Buyers’ obligation to
consummate the transactions contemplated hereby in connection with the Closing is subject to
satisfaction or waiver of the following conditions:

               (a)    the representations and warranties set forth in Article III shall have been
       true and correct on the date hereof and as of the Closing (except to the extent expressly
       made as of an earlier date, in which case as of such date as if made at and as of such
       date), except where the failure of such representations and warranties to be so true and
       correct has not resulted in a Material Adverse Effect;

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             (b)     Sellers shall have performed and complied with its covenants and
       agreements hereunder through the Closing in all material respects;

              (c)     the Bankruptcy Court shall have entered the Bidding Procedures Order
       pursuant to the terms and conditions of Section 5.3 herein.

              (d)     the Bankruptcy Court shall have entered the Sale Order, and no Decree
       staying, reversing, modifying or amending the Sale Order shall be in effect on the
       Closing Date;

               (e)    no material Decree shall be in effect that prohibits consummation of the
       transactions contemplated by this Agreement; and

               (f)    each delivery contemplated by Section 2.5(b) to be delivered to a Buyer
       shall have been delivered.

                 Section 7.2 Conditions to Sellers’ Obligations.     Sellers’ obligations to
consummate the transactions contemplated hereby in connection with the Closing are subject to
satisfaction or waiver of the following conditions:

               (a)    the representations and warranties set forth in Article IV shall have been
       true and correct in all material respects on the date hereof and as of the Closing (except to
       the extent expressly made as of an earlier date, in which case as of such date as if made at
       and as of such date);

             (b)     each Buyer shall have performed and complied with its covenants and
       agreements hereunder through the Closing in all material respects;

              (c)     the Bankruptcy Court shall have entered the Sale Order, and no Decree
       staying, reversing, modifying or amending the Sale Order shall be in effect on the
       Closing Date;

                (d)    no material Decree shall be in effect that prohibits consummation of any
       of the transactions contemplated by this Agreement; and

               (e)     each payment contemplated by Section 2.5(a) to be made to Sellers shall
       have been made, and each delivery contemplated by Section 2.5(c) to be delivered to
       Sellers shall have been delivered.

                 Section 7.3 No Frustration of Closing Conditions. Neither Buyers nor Sellers
may rely on the failure of any condition to their respective obligations to consummate the
transactions contemplated hereby set forth in Section 7.1 or Section 7.2, as the case may be, to be
satisfied if such failure was caused by such Party’s or its Affiliates’ failure to use its reasonable
best efforts (or such other applicable efforts standard expressly contemplated hereby) to satisfy
the conditions to the consummation of the transactions contemplated hereby or by any other
breach of a representation, warranty or covenant hereunder.



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                                       ARTICLE VIII
                                      TERMINATION

               Section 8.1 Termination of Agreement. The Parties may terminate this
Agreement at any time prior to the Closing as provided below:

             (a)     by the mutual written consent of the Parties;

             (b)     by any Party by giving written notice to the other Parties if:

                    (i)     any court of competent jurisdiction or other competent
             Governmental Authority shall have enacted or issued a Law or Decree or taken
             any other action permanently restraining, enjoining or otherwise prohibiting the
             consummation of the transactions contemplated by this Agreement and such Law
             or Decree or other action shall have become final and non-appealable; provided,
             however, that the right to terminate this Agreement under this Section 8.1(b)(i)
             shall not be available to any Party if the failure to consummate the Closing
             because of such action by a Governmental Authority shall be due to the failure of
             such Party to have fulfilled any of its obligations under this Agreement; or

                     (ii)     the Closing shall not have occurred prior to the Termination Date;
             provided, however, that if the Closing shall not have occurred on or before the
             Termination Date due to a material breach of any representations, warranties,
             covenants or agreements contained in this Agreement by Buyers or Sellers, then
             the breaching Party may not terminate this Agreement pursuant to this Section
             8.1(b)(ii). The “Termination Date” shall be May 31, 2020, unless the Parties
             mutually agree to a later Closing Date pursuant to Section 2.4, upon which such
             later date shall be the Termination Date.

               (c)    by Buyers by giving written notice to Sellers if there has been a breach by
      any Seller of any representation, warranty, covenant, or agreement contained in this
      Agreement that has prevented the satisfaction of the conditions to the obligations of
      Buyers at the Closing set forth in Section 7.1(a) and Section 7.1(b), and such breach has
      not been waived by Buyers, or, if such breach is curable, cured by such Seller prior to the
      earlier to occur of (A) ten (10) days after receipt of Buyers’ notice of intent to terminate
      and (B) the Termination Date; provided, that Buyers shall not have a right of termination
      pursuant to this Section 8.1(c) if Sellers could, at such time, terminate this Agreement
      pursuant to Section 8.1(d);

              (d)     by Sellers by giving written notice to Buyers if there has been a breach by
      Buyers of any representation, warranty, covenant, or agreement contained in this
      Agreement that has prevented the satisfaction of the conditions to the obligations of
      Sellers at the Closing set forth in Section 7.2(a) and Section 7.2(b), and such breach has
      not been waived by such Seller, or, if such breach is curable, cured by Buyer prior to the
      earlier to occur of (A) ten (10) days after receipt of such Seller’s notice of intent to
      terminate and (B) the Termination Date; provided, that Sellers shall not have a right of


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       termination pursuant to this Section 8.1(d) if Buyer could, at such time, terminate this
       Agreement pursuant to Section 8.1(c); or

               (e)     by Sellers or Salon Holdings, if (i) (x) Sellers enter into a definitive
       agreement with respect to a Competing Bid, (y) the Bankruptcy Court enters an order
       approving a Competing Bid and (z) the Person making the Competing Bid consummates
       the Competing Bid or (ii) the Bankruptcy Court enters an order that precludes the
       consummation of the transactions contemplated hereby on the terms and conditions set
       forth in this Agreement.

                 Section 8.2 Effect of Termination. If any Party terminates this Agreement
pursuant to Section 8.1, all rights and obligations of the Parties hereunder shall terminate upon
such termination and shall become null and void (except that Article I, Section 3.17, Article IX,
and this Section 8.2 shall survive any such termination) and no Party shall have any Liability
(except as set forth in Section 5.3) to the other Party hereunder; provided, however, that nothing
in this Section 8.2 shall relieve any Party from Liability for any breach occurring prior to any
such termination (but solely to the extent such breach was willful, grossly negligent or
fraudulent) set forth in this Agreement.

                                       ARTICLE IX
                                     MISCELLANEOUS

                Section 9.1 Survival. Except for any covenant that by its terms is to be
performed (in whole or in part) by any Party following the Closing, none of the representations,
warranties, or covenants of any Party set forth in this Agreement or in any certificate delivered
pursuant to Section 2.5(b) or Section 2.5(c) shall survive, and each of the same shall terminate
and be of no further force or effect as of, the Closing. Any obligations to be performed post-
Closing shall survive until completion.

                 Section 9.2 Expenses. Except for as provided by orders of the Bankruptcy
Court including the DIP Order and the Expense Reimbursement, each Party will bear its own
costs and expenses incurred in connection with this Agreement and the transactions
contemplated hereby, including all fees of law firms, commercial banks, investment banks,
accountants, public relations firms, experts, and consultants. For the avoidance of doubt, Buyers
shall pay all recording fees arising from the transfer of the Acquired Assets.

                 Section 9.3 Entire Agreement. This Agreement and the Related Agreements
constitute the entire agreement between the Parties and supersede any prior understandings,
agreements or representations (whether written or oral) by or between the Parties to the extent
they relate in any way to the subject matter hereof.

               Section 9.4 Incorporation of Exhibits and Disclosure Schedule. The Exhibits
to this Agreement and the Disclosure Schedule are incorporated herein by reference and made a
part hereof.

               Section 9.5 Amendments and Waivers. No amendment of any provision of
this Agreement shall be valid unless the same shall be in writing and signed by each Buyer and

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each Seller. No waiver of any breach of this Agreement shall be construed as an implied
amendment or agreement to amend or modify any provision of this Agreement. No waiver by
any Party of any default, misrepresentation, or breach of warranty or covenant hereunder,
whether intentional or not, shall be valid unless the same shall be in writing and signed by the
Party making such waiver, nor shall such waiver be deemed to extend to any prior or subsequent
default, misrepresentation, or breach of warranty or covenant hereunder or affect in any way any
rights arising by virtue of any prior or subsequent default, misrepresentation or breach of
warranty or covenant. No conditions, course of dealing or performance, understanding, or
agreement purporting to modify, vary, explain, or supplement the terms or conditions of this
Agreement shall be binding unless this Agreement is amended or modified in writing pursuant to
the first sentence of this Section 9.5 except as expressly provided herein. Except where a
specific period for action or inaction is provided herein, no delay on the part of any Party in
exercising any right, power, or privilege hereunder shall operate as a waiver thereof.

                Section 9.6 Succession and Assignment. This Agreement shall be binding
upon and inure to the benefit of the Parties and their respective successors and permitted assigns.
No Party may assign either this Agreement or any of its rights, interests, or obligations hereunder
with the prior written consent of the other Parties. Notwithstanding the foregoing, each Buyer
may assign (in whole or in part) either this Agreement or any of its rights, interests, or
obligations hereunder to an Affiliate of such Buyer without the prior written consent of the other
Parties; provided that such assignment shall not relieve such Buyer of its obligations hereunder.

                Section 9.7 Notices. All notices, requests, demands, claims, and other
communications hereunder shall be in writing except as expressly provided herein. Any notice,
request, demand, claim, or other communication hereunder shall be deemed duly given (a) when
delivered personally to the recipient; (b) one (1) Business Day after being sent to the recipient by
reputable overnight courier service (charges prepaid); (c) upon receipt of confirmation of receipt
if sent by facsimile transmission; (d) on the day such communication was sent by e-mail; or (e)
three (3) Business Days after being mailed to the recipient by certified or registered mail, return
receipt requested and postage prepaid, and addressed to the intended recipient as set forth below:

       If to any Seller:      CREATIVE HAIRDRESSERS, INC.
                              1577 Spring Hill Road, Suite 500
                              Vienna, Virginia 22182
                              Attention: Lester D. Mardiks, Sr. Vice Pres and General Counsel
                              E-mail: LMadiks@ratnerco.com

                              With a mandatory copy (which shall not constitute notice to
                              Sellers) to:

                              SHAPIRO SHER
                              250 West Pratt Street
                              Suite 2000
                              Baltimore, MD 21201
                              Attention: Joel Sher
                              E-mail: jis@shapirosher.com

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       If to Buyers:          HC SALON HOLDINGS, INC.
                              c/o Tacit Capital LLC
                              12333 Sowden Road, Suite B
                              Houston, Texas 77080
                              Attention: Andrew Zins
                              E-mail: andrew@tacitcap.com

                              With a mandatory copy (which shall not constitute notice to
                              Buyers) to:

                              DLA Piper LLP (US)
                              51 John F. Kennedy Parkway, Suite 120
                              Short Hills, New Jersey 07078-2704
                              Attention: Kevin Grant; Richard Chesley
                              E-mail: Kevin.Grant@us.dlapiper.com
                                      Richard.Chesley@us.dlapiper.com;

Any Party may change the address to which notices, requests, demands, claims and other
communications hereunder are to be delivered by giving the other Parties notice in the manner
set forth in this Section 9.7.

                Section 9.8 Governing Law. This Agreement shall be governed by and
construed in accordance with the internal laws of the State of New York (without giving effect to
the principles of conflict of Laws thereof), except to the extent that the Laws of such state are
superseded by the Bankruptcy Code.

                  Section 9.9 Submission to Jurisdiction; Service of Process. Each of the Parties
irrevocably and unconditionally submits to the exclusive jurisdiction of the Bankruptcy Court in
any Litigation arising out of or relating to this Agreement or any Related Agreement or the
transactions contemplated hereby or thereby and agrees that all claims in respect of such
Litigation may be heard and determined in any such court. Each Party also agrees not to (a)
attempt to deny or defeat such exclusive jurisdiction by motion or other request for leave from
the Bankruptcy Court or (b) bring any action or proceeding arising out of or relating to this
Agreement or any Related Agreement or the transactions contemplated hereby or thereby in any
other court. Each of the Parties irrevocably and unconditionally waives any objection to the
laying of venue in, and any defense of inconvenient forum to the maintenance of, any Litigation
so brought and waives any bond, surety or other security that might be required of any other
Party with respect thereto. Any Party may make service on any other Party by sending or
delivering a copy of the process to the Party to be served at the address and in the manner
provided for the giving of notices in Section 9.7; provided, however, that nothing in this Section
9.9 shall affect the right of any Party to serve legal process in any other manner permitted by law
or in equity. Each Party agrees that a final judgment in any Litigation so brought shall be
conclusive and may be enforced by Litigation or in any other manner provided by law or in
equity. The Parties intend that all foreign jurisdictions will enforce any Decree of the
Bankruptcy Court in any Litigation arising out of or relating to this Agreement or any Related
Agreement or the transactions contemplated hereby or thereby.

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          Section 9.10 Waiver of Jury Trial. EACH PARTY IRREVOCABLY AND
UNCONDITIONALLY WAIVES ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN
RESPECT OF ANY LITIGATION ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR ANY RELATED AGREEMENTS OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY.

                 Section 9.11 Specific Performance. From and after the Closing, the Parties shall
be entitled to an injunction or injunctions to enforce specifically the Parties’ respective covenants
and agreements under this Agreement that survive the Closing, without the requirement of
posting a bond or other security.

                 Section 9.12 Severability. The invalidity or unenforceability of any provision of
this Agreement shall not affect the validity or enforceability of any other provisions of this
Agreement. In the event that any of the provisions of this Agreement shall be held by any
Governmental Authority to be illegal, invalid, or unenforceable, such provisions shall be limited
or eliminated only to the minimum extent necessary so that this Agreement shall otherwise
remain in full force and effect.

                 Section 9.13 No Third Party Beneficiaries . This Agreement shall not confer
any rights or remedies upon any Person other than Buyers, each Seller, Dennis Ratner and their
respective successors and permitted assigns. Notwithstanding anything to the contrary in this
Agreement, the DIP Lender shall be a third party beneficiary of all provisions of this Agreement
that expressly relate to the DIP Lender, as applicable.

                Section 9.14 Non-Recourse. All claims, obligations, liabilities, or causes of
action that may be based upon, in respect of, arise under, out or by reason of, be connected with,
or relate in any manner to this Agreement, the negotiation, execution or performance of this
Agreement (including any representation or warranty made in connection with or as an
inducement to this Agreement) or the transactions contemplated hereby may be made only
against (and are those solely of) the Persons that are expressly identified as Parties to this
Agreement. No other Person, including any of their Affiliates, directors, officers, employees,
incorporators, members, partners, managers, stockholders, agents, attorneys, or representatives
of, or any financial advisors or lenders to any of the foregoing shall have any liabilities for any
claims, causes of action, obligations, or liabilities arising under, out of, in connection with, or
related in any manner to this Agreement or based on, in respect of, or by reason of this
Agreement or its negotiation, execution, performance, or breach.

                 Section 9.15 Mutual Drafting. The Parties have participated jointly in the
negotiation and drafting of this Agreement. In the event an ambiguity or question of intent or
interpretation arises, this Agreement shall be construed as if drafted jointly by the Parties and no
presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the
authorship of any of the provisions of this Agreement.

                Section 9.16 Disclosure Schedule. All capitalized terms not defined in the
Disclosure Schedule shall have the meanings ascribed to them in this Agreement. The
representations and warranties of Sellers in this Agreement are made and given, and the
covenants are agreed to, subject to the disclosures and exceptions set forth in the Disclosure

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Schedule. The listing of any matter shall expressly not be deemed to constitute an admission by
Sellers. No disclosure in the Disclosure Schedule relating to any possible breach or violation of
any Contract or law shall be construed as an admission or indication that any such breach or
violation exists or has actually occurred. In no event shall the listing of any matter in the
Disclosure Schedule be deemed or interpreted to expand the scope of Sellers’ representations,
warranties, or covenants set forth in this Agreement. All attachments to the Disclosure Schedule
are incorporated by reference into the applicable section of the Disclosure Schedule in which
they are directly or indirectly referenced.

              Section 9.17 Headings; Table of Contents. The section headings and the table
of contents contained in this Agreement and the Disclosure Schedule are inserted for
convenience only and shall not affect in any way the meaning or interpretation of this
Agreement.

                 Section 9.18 Counterparts; Facsimile and Electronic Signatures.           This
Agreement may be executed in one or more counterparts, each of which shall be deemed an
original but all of which together will constitute one and the same instrument. This Agreement
or any counterpart may be executed and delivered by facsimile copies or delivered by electronic
communications by portable document format (.pdf), each of which shall be deemed an original.

                          [Remainder of page intentionally left blank.]




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DocuSign Envelope ID: A55A5F68-7D7D-4DA8-8554-AA46C1653BB0
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            IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first above
            written.


                                                       BUYERS:

                                                       HC SALON HOLDINGS, INC.


                                                       By:
                                                             Name: Benjamin Mahdavi
                                                             Title: President




                                             Signature Page to Asset Purchase Agreement
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                            SCHEDULE A



1.      All “shrink wrap” licenses
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                                    SCHEDULE B



1. Claims against Visa and Master Card in respect to overcharging of interchange fees in
   violation of U.S. Antitrust laws.
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DISCLOSURE SCHEDULES

Schedule 2.7(a) – Executory Contracts
Schedule 2.7(b) – Designated Contracts and Assumed Leases
Schedule 3.6 – Salons
Schedule 3.7 – Litigation
Schedule 3.8 – Labor Relations
Schedule 3.10 – Taxes
Schedule 3.11 – Tangible Personal Property
Schedule 3.12(a) – Employee Benefit Plans
Schedule 3.12(c) – Knowledge of Sellers
Schedule 3.13 – Owned Intellectual Property
Schedule 3.14(a) – Compliance with Laws
Schedule 3.16 – Related Party Transactions
Schedule 6.6(b) – Dennis Companies
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                                       Schedule 2.7(a)
                                     Executory Contracts

All executory Contracts and unexpired Leases (including all Leases associated with the Salons
identified on Schedule 3.6 of the Disclosure Schedule) to which any Seller is a party and which
have post-Closing obligations exceeding $5,000, in each case as supplemented by agreement of
Buyer and Sellers prior to Closing.
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                                         Schedule 6.6(b)
                                        Dennis Companies

A. Salon Plaza;

B. Louis Creative Hairdressers, Inc.;

C. PMGW, L.L.C.;

D. JPMS Holdings, Inc.;

E. HCBS, L.L.C.;

F. Dream Team Suites, LLC

G. Sweet 100, L.L.C.;

H. Q-R Springhill, L.L.C. (f/k/a 2815 Hartland Road, L.C.)

I. Dagwak, L.L.C.; and

J. Ratner Spring Hill, L.L.C.
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                   AMENDED AND RESTATED DISCLOSURE SCHEDULE

                                   pursuant to the


             AMENDED AND RESTATED ASSET PURCHASE AGREEMENT

                                 BY AND AMONG

                          CREATIVE HAIRDRESSERS, INC.,

                       THE OTHER SELLER PARTIES HERETO,

                            HC SALON HOLDINGS, INC.

                                         AND

    THE OTHER PARTIES IDENTIFIED ON THE SIGNATURE PAGES THERETO

                                    May __, 2020




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                                      Disclosure Schedules

Schedule 3.6           Salons
Schedule 3.7           Litigation
Schedule 3.8           Labor Relations
Schedule 3.9           Brokers
Schedule 3.10          Taxes
Schedule 3.12(a)       Employee Benefit Plans
Schedule 3.12(c)       Knowledge of Sellers
Schedule 3.13          Owned Intellectual Property
Schedule 3.14          Compliance with Laws
Schedule 3.16          Related Party Transactions




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                                Disclosure Schedule 3.6

                                         Salons




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                                Disclosure Schedule 3.7

                                      Litigation




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In addition, there is a Department of Labor investigation and two putative class action suits (one in
New Jersey and one in Florida).




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                                    Disclosure Schedule 3.8

                                        Labor Relations

         None (other than as disclosed on Disclosure Scehdule 3.7 regarding litigation).




In addition, there is a Department of Labor investigation and two putative class action suits (one in
New Jersey and one in Florida).




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                                Disclosure Schedule 3.9

                                         Brokers

                                         None.




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                                   Disclosure Schedule 3.10

                                             Taxes
                                    (due June 15 or July 15)

Creative Hairdressers, Inc.:
   • Form 1120S - U.S. Income Tax Return for an S Corporation
   • Form CT-1120SI - Connecticut Composite Income Tax Return
   • Form D-20 - District of Columbia SUB Corporation Franchise Tax Return (COMBINED)
   • Form 1100S - Delaware S Corporation Reconciliation and Shareholders Information Return
   • Form 200-C - Delaware Composite Income Tax Return
   • Form IL-1120-ST - Illinois Small Business Corporation Replacement Tax Return
   • Form IT-20S - Indiana S Corporation Income Tax Return
   • Form 355S - Massachusetts S Corporation Excise Return
   • Form NRCR - Massachusetts Nonresident Composite Return
   • Form 510 - Maryland Pass-Through Entity Income Tax Return
   • Form CD-401S - North Carolina S Corporation Tax Return
   • Form BET & NH-1120 - New Hampshire Business Enterprise/Profits Tax Return
   • Form CBT-100S - New Jersey Corporation Business Tax Return
   • Form PA-20S - Pennsylvania S Corporation Information Return
   • Form PA-40NRC - Pennsylvania Nonresident Consolidated Income Tax Return
   • Form RI-1120S - Rhode Island Subchapter S Business Corporation Tax Return
   • Form RI-1040C - Rhode Island Composite Income Tax Return
   • Form 05-158-A/B & 05-102 - Texas Franchise Tax Report and Public Information Report
   • Form 502 - Virginia Pass-Through Entity Return of Income and Nonresident Withholding Tax
   • Form 5S - Wisconsin Tax-Option (S) Corporation Income Tax Return
   • Form PW-1 - Wisconsin Nonresident Income Tax Withholding on Pass-Through Entity Income
   • Form 1CNS - Wisconsin Composite Individual Income Tax Return for Nonresident Tax-Option (S)
       Corporation Shareholders
   • Form SPF-100 - West Virginia S Corporation Income Tax Return

Ratner Companies, LC:
   • Form 1065 - U.S. Return of Partnership Income
   • Form 502 - Virginia Pass-Through Entity Return of Income and Nonresident Withholding Tax




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                                    Disclosure Schedule 3.12(a)

                                       Employee Benefit Plans

                   As described in the Benefits Guides provided by Buyer to Seller.

Resource Center:
   • Medical / Prescription Drugs
   • Dental
   • Vision
   • Health Advocate
   • Income Protection        Basic Life Insurance
   • Income Protection        Supplemental Life Insurance and AD&D
   • Income Protection        Short Term Disability
   • Income Protection        Long Term Disability
   • Flexible Spending Account
   • 401(k) Savings Plan
   • ID Watchdog
   • Unum Programs
   • Purchasing Power Programs
   • Hyatt Legal Plan
   • MetLife Group Auto and Home Insurance
   • Cell Phone Discount Program
   • Credit Union
   • Paid Time Off
   • Tuition Reimbursement

Ratner Salon Professionals:
   • Medical / Prescription Drugs
   • Dental
   • Vision
   • Health Advocate
   • Income Protection        Basic Life Insurance
   • Income Protection        Supplemental Life Insurance and AD&D
   • Income Protection        Short Term Disability
   • Income Protection        Long Term Disability
   • Flexible Spending Account
   • 401(k) Savings Plan
   • ID Watchdog
   • Unum Programs
   • Purchasing Power Programs
   • Hyatt Legal Plan
   • MetLife Group Auto and Home Insurance
   • Cell Phone Discount Program
   • Credit Union
   • Paid Time Off
   • Tuition Reimbursement




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                               Disclosure Schedule 3.12(c)

                                  Knowledge of Sellers



                                         None.




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                                Disclosure Schedule 3.13

                               Owned Intellectual Property
Registered Trademarks




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     Creative Hairdressers, Inc.

                                   Class     App.             App.         Reg.        Reg.
Country      Mark
                                   es        Number           Date         Number      Date
United       BUBBLES SALON         42        76096748         July 26,     2831134     April 13,
States       and Design                                       2000                     2004




United       CIBU WATER            3         85111297         August 19,   4272658     January
States       LILY                                             2010                     8, 2013




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Marylan      THE HAIR                42                                       MD            February
d            CUTTERY                                                          S1826         20, 1987

Mexico       BUBBLES                 44       M1169912         April 8,       1234383       August
                                                               2011                         22, 2011

Mexico       HAIR CUTTERY            35       M1175482         May 4,         1264305       February
                                                               2011                         1, 2012

Mexico       HAIR CUTTERY            44       M1175480         May 4,         1338190       Decembe
                                                               2011                         r 13,
                                                                                            2012

Mexico       HAIR CUTTERY            44       M1169919         April 8,       1236839       Septemb
                                                               2011                         er 6,
                                                                                            2011

Mexico       SALON CIELO             44       M1169917         April 8,       1234384       August
                                                               2011                         22, 2011




    Copyright

   Registered US Copyright:

   Title                           Reg. No.        Reg. Date        Copyright Claimant
   Colorwork Salon 2001 design     VAu000594275    2003-09-30       Creative Hairdressers, Inc.




    Domain Names

   Domain Name                   Registered   Expires      Registrant

   www.haircuttery.com           1997-08-11   2020-08-10   Ratner Companies, LC

   www.ratnerco.com              1999-08-12   2021-08-12   Ratner Companies, LC

   ratnerwebstore.com                         11/1/2019




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ratnercompanies.com                      5/27/2020
hcsalons.com                             5/29/2020
rcproofs.com                             6/4/2020
foryourhair.com                          6/14/2020
wearehaircuttery.com                     6/16/2020
colorworksalon.com                       6/28/2020
colorworksalons.com                      6/28/2020
bubblessalons.com                        7/28/2020
haircuttery.org                          7/31/2020
wearehaircuttery.net                     8/8/2020
haircuttery.com                          8/10/2020
cibuinternational.com                    8/19/2020
rcinfor.com                              9/2/2020
cibuforhair.com                          9/14/2020
ratnerco.net                             9/29/2020
myratner.com                             11/5/2020
creativehairdressers.com                 11/30/2020
ratnerhome.com                           2/6/2021
haircutterycareers.com                   3/7/2021
careersbyhaircuttery.com                 3/12/2021
bubbleshairsalons.com                    3/23/2021
bubblessalon.com                         3/23/2021
besthairadvice.com                       3/26/2021
haircuttery.net                          3/28/2021
myhcaccess.com                           3/28/2021
besthairadviceever.com                   3/29/2021
bubblesacolorsalon.com                   4/3/2021
bubblesthecolorsalon.com                 4/3/2021
hcsaloncutcolorconnect.com               4/3/2021
agreathairday.com                        4/3/2021




colorworkssalons.com                     4/4/2021
saloncielo.com                           7/20/2021
ratnerco.com                             8/12/2021
hcsalon.com                              11/8/2021

bubblesforhair.com                       11/16/2021
hair-cuttery.net                         6/3/2024


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 Additional Owned Intellectual Property

 Sellers also utilize various software subject to “shrink wrap” licenses.

 Sellers own the following product formulations:

   1     Clarifying Shampoo                           Formula # 0527224000/01
   2     Sculpting Sauce                              Formula # 052724100/01
   3     Smoothing Solution                           Formula # 052724210/01
   4     Shine Polish Gloss                           Formula # 052724304/01
   5     Everyday Gentle Conditioner                  Formula # 052724400/01
   6     Leave-In Daily Detangler                     Formula # 052724500/01
   7     Sticky Rice Pomade                           Formula # 052724700/01
   8     Reconstruct Conditioner                      Formula # 052724800/01
   9     Foaming Volumizer                            Formula # 052724900/01
   10    Everyday Gentle Shampoo                      Formula # 052725000/01
   11    Volumizing Shampoo                           Formula # 052725100/01
   12    Confucius Spray                              Formula # 052725305
   13    Geishalicious-Color Protection Shampoo       Formula # 052725210




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                                Disclosure Schedule 3.14

                                 Compliance with Laws



                                  To be Supplemented.




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                                      Disclosure Schedule 3.16

                                      Related Party Transactions

   Due from Affiliates

       Ratner, a majority-owned and consolidated subsidiary, provides certain management services to
       affiliates owned primarily by shareholders of the Company. Under these management
       agreements, the Company is paid an amount, normally determined as a percentage of the
       affiliates' total revenues, for providing certain administrative and operational support services.

       The Company and its consolidated subsidiaries may also advance amounts to affiliates for a
       variety of purposes. Amounts due from affiliates are generally due on demand and bear interest
       at 5 percent simple interest per annum.

       Amounts due from these affiliates and amounts charged for these management services are as
       follows as of and for the fiscal years ended March 28, 2020 and September 28, 2019::

                                                                            As of 3/28/20            2018

       Due from (to) affiliates:
          Louis Creative Hairdressers, Inc.                                $    (5,025,642)     $   (4,978,568)
          Salon Plaza, LLC                                                                                   -
          Salon Plaza Enterprises, LLC                                            (204,401)            (77,866)
          PMGW, LLC                                                                 17,765             105,354

               Total                                                       $    (5,212,278)     $   (4,951,080)

                                                                            As of 3/28/20            2019

       Management fees charged:
          Salon Plaza Enterprises, LLC                                             419,711             847,869

       The Company's receivables due from affiliates represent variable interests. The Company has
       determined that Salon Plaza Enterprises, LLC is a variable interest entity (the “Entity”) because
       the creditors of the Entity have required personal guarantees by shareholders as collateral for the
       Entity’s long-term borrowings. The Company has determined that it is not the primary beneficiary,
       as it does not have the power to direct the matters that significantly impact the economic activities
       of the Entity. The Company's maximum exposure to loss is the carrying value of the amounts due
       at any point in time as presented in the table above. Certain common shareholders historically
       represented their intent to repay the amounts due the Company in the event that the related party
       entity is unable to do so.



   Notes Receivable from Shareholders

       As of the fiscal years ended September 28, 2019 and September 29, 2018, notes due from
       shareholders totaled approximately $1,770,000 and $1,791,000, respectively. Amounts borrowed
       are proportionate to each shareholder's relative ownership interest. Interest accrues on the
       amounts outstanding at a rate of 0.21 percent compounded on a semi-annual basis. The
       outstanding balance of all notes receivable from shareholders plus all accrued but unpaid interest
       is due on their extended maturity date of February 28, 2022.


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   Notes Payable to Shareholder

       As of March 28, 2020, Creative Hairdressers, Inc. has borrowed $3,500,000 from a controlling
       common shareholder of the Company. $1,000,000 was borrowed from a controlling shareholder
       (DRF Trust) and the remaining $2,500,000 was borrowed from ADKLDR, LLC which is owned by
       shareholders. The note accrues interest at 6 percent per annum and requires interest-only
       payments annually commencing on September 28, 2019 through the maturity date of the note on
       September 25, 2021. This note is subordinated to the Company's obligations under the credit
       facility. During the fiscal year ended September 28, 2019, $2,000,000 of the note payable to
       shareholder was paid. As of September 28, 2019, the outstanding balance of the note payable to
       shareholder is $1,000,000. There is an additional subordinated note in favor of ADKLDR, LLC
       dated April 15, 2020, in the amount of $210,000 made by Creative Hairdressers, Inc.



   HQ Lease

       Ratner Companies Lease with Q-R Springhill, L.L.C. (formerly 2815 Hartland Road, L.C.)




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                    EXHIBIT B
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    NO.        SALON               SALON NAME                 STATE        CURE AMOUNT12
                NO.
     1           120        HC BURKE TOWN                        VA                  $11,710.86*
                            CENTER
     2           123        HC STONEY POINT                      VA                    $8,640.17*
     3           136        HC GRANT AND THE                     PA                            $0
                            BLVD
     4           137        HC HUNTER MILL PLAZA                 VA                    $6,653.49
     5           144        HC BOND SC                           PA                  $18,704.61*
     6           146        HC NORTH PLAZA MALL                  MD                           $0
     7           147        HC STAPLES MILL PLAZA                VA                           $0
     8           148        HC ABINGTON                          PA                  $12,475.02*
     9           150        HC VALLEY FORGE                      PA                  $10,493.08*
    10           152        HC STONEY CREEK                      PA                  $12,017.49*
    11           157        HC BROADDALE                         VA                           $0
    12           172        HC FLOURTOWN                         PA                    $5,980.46
    13           174        HC ROOSEVELT MALL                    PA                  $26,553.96*
    14           180        HC DEON SQUARE                       PA                           $0
    15           181        HC LAWRENCE PARK                     PA                    $7,610.13
    16           187        HC PARK PLAZA                        MD                           $0
                            SEVERNA
    17           190        HC FRANKFORD PLACE                   PA                   $7,727.73*
    18           193        HC OAK SPRINGS                       VA                  $10,153.24*
    19           408        HC SEVEN CORNERS                     VA                           $0
    20           412        HC HAMPTON PLAZA                     VA                           $0
    21           419        HC PARK 'N SHOP                      VA                           $0
    22           438        HC ELLICOTT PLAZA                    MD                           $0
    23           441        HC MARTIN PLAZA                      MD                   $14,327.18
    24           442        HC OLD KEENE MILL                    VA                    $6,967.10
    25           445        HC VAN DORN                          VA                           $0
    26           452        HC LEESBURG PIKE                     VA                           $0



1
   In accordance with the terms of the Sale Order, the Cure Amounts set forth herein shall be paid
(i) on or as soon as practicable after the Closing or (ii) on the date agreed upon by the Buyers and
the counterparty to the relevant executory contract or unexpired lease, as applicable.
2
   An asterisk (*) next to a Cure Amount indicates that such amounts are disputed or there are
ongoing discussion between the Buyers and the counterparty to the relevant executory contract or
unexpired lease, as applicable. To the extent that the Cure Amounts set forth herein are disputed
or the subject of ongoing discussions, and a resolution is not reached between the Buyers and the
counterparty to the relevant unexpired lease before June 8, 2020, the dispute will be scheduled for
hearing by the Court.


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
27      454     HC OWEN BROWN                    MD                        $0
                VILLAGE CENTER
28      459     HC VIENNA                        VA                         $0
29      465     HC MERRITT MANOR SC              MD                         $0
30      468     HC BURKE VILLAGE                 VA                         $0
31      469     HC CONGRESSIONAL                 MD                 $18,592.99
                PLAZA
32      472     HC BASSING OFFICE                VA                         $0
33      475     HC GREENWAY CENTER               MD                 $10,847.82
34      476     HC FULLTERTON PLAZA              MD                 $16,123.24
35      481     HC EXPO SQUARE                   MD                         $0
36      482     HC BELTWAY PLAZA                 MD                 $18,432.11
37      494     HC LEESBURG PLAZA                VA                  $5,793.76
38      499     HC PICKETT                       VA                 $13,652.54
39      601     HC COMMERCIAL                    FL                         $0
                BOULEVARD SC
40      605     HC COCONUT CREEK                 FL                 $9,099.76*
41     1013     HC BRADLEE                       VA                $25,168.94*
42     1045     HC TOWNMALL OF                   MD                         $0
                WESTMINSTER
43     1087     HC JANAF                         VA                        $0
44     1088     HC KEMPS RIVER                   VA                        $0
                CROSSING
45     1097     HC SNYDER PLAZA                  PA                $15,742.75*
46     1171     HC FREDERICK SC                  MD                $24,355.76*
47     1184     HC CENTRE POINT                  PA                         $0
48     1186     HC COLLEGE SQUARE                DE                $16,714.17*
49     1205     HC CROSS KEYS PLACE              PA                         $0
50     1217     HC WOODFORD SQUARE               VA                         $0
51     1223     HC SPOTSYLVANIA                  VA                         $0
                CROSSING SC
52     1228     HC DOUBLE TREE                   NJ                        $0
53     1238     HC KINGSTOWNE                    VA                        $0
                CENTER
54     1249     HC PORT RICHMOND                 PA                $14,833.86*
55     1250     HC WESTPARK CENTER               VA                 $8,896.74*
56     1251     HC BARRACKS ROAD                 VA                 $10,838.99
57     1253     HC SPOTTSWOOD                    VA                         $0
                VALLEY SQUARE
58     1284     HC ASPEN HILL SC                 MD                        $0




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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
59     1285     HC CONSTANT                      MD                         $0
                FRIENDSHIP SC
60     1287     HC COLONIAL PALMS                FL                $14,951.50*
61     1302     HC YORK RIVER                    VA                   $2,254.33
                CROSSING
62     1312     HC OAK HILL                      FL                 $6,747.63*
63     1313     HC WHITELAND                     PA                         $0
64     1333     HC ARDMORE WEST SC               PA                $21,092.24*
65     1337     HC LARCHMONT                     NJ                $10,968.95*
66     1341     HC CASSELBERRY                   FL                         $0
                COLLECTION
67     1345     HC CROSS KEYS CENTER             NJ                $15,535.96*
68     1352     HC VILLAGE CENTER                VA                         $0
                SULLY STA
69     1359     HC GOVERNOR'S SQUARE             DE                 $9,825.00*
70     1367     HC GAITWAY PLAZA                 FL                 $8,760.68*
71     1369     HC WEST TOWNE                    FL                $16,067.22*
                CORNERS
72     1387     HC MAPLEDALE PLAZA               VA                         $0
73     1389     HC HARLEYSVILLE                  PA                 $8,336.48*
74     1394     HC MARKETPLACE                   PA                         $0
                HUNTINGDON
75     1395     HC SOUDERTON SQUARE              PA                         $0
76     1405     HC WEST VOLUSIA                  FL                 $7,390.90*
77     1406     HC NEW SMYRNA BEACH              FL                 $6,885.24*
78     1407     HC ST JOHNS PLAZA                FL                 $4,331.17*
79     1421     HC OPITZ CROSSING                VA                         $0
80     1460     HC SHOPS AT THE GLEN             VA                 $12,534.21
81     1492     HC GOVERNOR PLAZA                MD                  $4,245.78
82     1509     HC PRICE'S CORNER                DE                         $0
83     1540     HC BAY SHORE MALL                NJ                 $7,244.31*
84     1542     HC RAYMOUR &                     NJ                $16,313.63*
                FLANIGAN PLAZA
85     1593     HC DOMINION SQUARE               VA                         $0
86     1634     HC COURT AT DEPTFORD             NJ                 $8,189.02*
87     1636     HC SHOPPES AT EASTON             MD                 $11,922.63
88     1663     HC COLONNADE AT                  VA                         $0
                UNION MILL
89     1706     HC HADDON SHOPS                  NJ                         $0
90     1716     HC KENTLANDS SQUARE              MD                         $0
91     1740     HC MAPLEWOOD PLAZA               FL                 $13,540.37


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
92     1750     HC GARDEN SQ CENTER              FL                 $10,259.82
93     1758     HC ANDORRA SC                    PA                 $13,802.51
94     1762     HC RIO GRANDE PLAZA              NJ                $11,491.95*
95     1789     HC ENCHANTED FOREST              MD                 $17,387.88
96     1803     HC ABERDEEN                      MD                $10,233.00*
                MARKETPLACE
97     1805     HC SHOPS AT WINDSOR              NJ                $25,181.79*
                GREEN
 98    1827     HC TYSONS SQUARE                 VA                 $9,135.95*
 99    1828     HC BETHESDA AVENUE               MD                 $12,060.32
100    1830     HC NORTHGATE SC                  FL                 $9,258.69*
101    1842     HC HARBOUR POINTE                VA                         $0
                VILLAGE
102    1850     HC FRANKLIN FARM                 VA                        $0
                VILLAGE
103    1866     HC BERLIN CIRCLE                 NJ                        $0
                PLAZA
104    1870     HC FAIR LAKES CENTER             VA                        $0
105    1873     HC CASCADES                      VA                        $0
                MARKETPLACE
106    1875     HC NORTH PENN                    PA                 $9,570.33*
                MARKETPLACE
107    1876     HC CROSSWAY CENTER               VA                        $0
108    1879     HC CUMBERLAND                    NJ                        $0
                CROSSING
109    1884     HC CORAL RIDGE PLAZA             FL                 $8,234.15*
110    1900     HC HORSHAM POINT SC              PA                 $11,071.62
111    1902     HC LEE CENTER                    VA                         $0
112    1909     HC TUSCAWILLA BEND               FL                         $0
113    1910     HC OAKWOOD PLAZA                 FL                 $12,644.31
114    1916     HC WEKIVA PLAZA                  FL                 $4,675.18*
115    1919     HC NEWTOWN SQUARE                PA                 $10,075.34
116    1924     HC BUTLER PLAZA                  FL                $13,151.74*
117    1930     HC HOMESTEAD TOWNE               FL                  $8,697.44
                SQUARE
118    1941     HC WESTPORT SQUARE               FL                 $9,616.86*
119    1962     HC ELLISBURG CIRCLE              NJ                  $5,194.13
120    1963     HC JEFFERSON CROSSING            WV                $14,431.70*
121    1964     HC PERKASIE SQUARE               PA                 $9,675.75*
122    1969     HC ASHBURN VILLAGE               VA                         $0
123    1977     HC WHITMAN PLAZA                 PA                $13,870.89*


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
124    1979     HC EDGEWATER                     FL                 $6,559.52*
                COMMONS
125    1980     HC LANGHORNE SQUARE              PA                  $4,764.69
126    1985     HC KENDALL LAKES                 FL                 $11,226.54
                MALL
127    1991     HC LARKINS CORNER SC             PA                $10,928.94*
128    1992     HC BOULEVARD CENTER              PA                         $0
129    1998     HC HAMMONTON                     NJ                         $0
                SQUARE
130    2002     HC GREEN OAK SC                  IL                 $6,476.78*
131    2003     HC GOLF CENTER                   IL                 $7,519.06*
132    2030     HC SCHAUMBURG PLAZA              IL                $11,474.64*
133    2039     HC RANDALL PLAZA                 IL                         $0
134    2045     HC FAIRFAX TOWN                  VA                $18,772.97*
                CENTER
135    2055     HC HOLIDAY PLAZA                 IL                        $0
136    2057     HC SHORT PUMP                    VA                        $0
                CROSSING SC
137    2058     HC MONTICELLO                    VA                        $0
                MARKETPLACE
138    2065     HC HAMILTON PLAZA                NJ                $17,760.28*
139    2069     HC WILLA SPRINGS                 FL                 $7,521.57*
140    2070     HC GREAT NECK                    VA                         $0
                VILLAGE
141    2075     HC BROADVIEW                     IL                $11,616.99*
                VILLAGE SQUARE
142    2082     HC WEST GOSHEN SC                PA                         $0
143    2084     HC WOODLAND SC                   FL                 $8,596.68*
144    2085     HC INDIAVISTA SC                 FL                 $8,520.00*
145    2086     HC PLANTATION GROVE              FL                $14,109.68*
146    2104     HC WELLEBY CENTER                FL                         $0
147    2124     HC HAGERSTOWN                    MD                         $0
                COMMONS
148    2133     HC WEST GRANADA                  FL                 $8,713.47*
                CENTER
149    2148     HC MAPLELAWN                     PA                        $0
                VILLAGE CENTER
150    2152     HC SHADOWOOD                     FL                $15,676.86*
                SQUARE
151    2178     HC KENSINGTON                    MD                $11,754.42*
                TRIANGLE
152    2186     HC MCHENRY GROUNDS               IL                        $0


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
153    2189     HC OLD ST AUGUSTINE              FL                 $11,866.89
154    2191     HC VIZCAYA SQUARE                FL                         $0
155    2199     HC SHOPPES AT                    PA                         $0
                LIONVILLE STA
156    2202     HC LOGAN SQUARE                  PA                         $0
157    2204     HC TOWN SQUARE                   NJ                         $0
158    2206     HC HILLCREST SC                  IL                 $6,466.00*
159    2209     HC WRANGLEBORO                   NJ                $11,195.49*
                CONSUMER SQ
160    2211     HC MARKET SQUARE                 DE                         $0
161    2217     HC FLEMING ISLAND SC             FL                 $7,746.00*
162    2252     HC FASHION SQUARE SC             NJ                 $10,410.78
163    2254     HC MARKETPLACE                   NJ                         $0
                CHEWS LANDING
164    2268     HC LOEHMANN'S PLAZA              VA                        $0
                AT THALIA
165    2289     BUBBLES SPECTRUM                 VA                        $0
                RESTON
166    2329     HC CROSSROADS PLAZA              PA                         $0
167    2330     HC OXFORD OAKS SC                PA                $22,312.01*
168    2337     HC COLONIAL MARKET               FL                         $0
                CENTER
169    2343     HC LAKE MONTCLAIR                VA                        $0
                CENTER
170    2350     HC WATER TOWER                   IL                 $5,866.45*
                PLAZA
171    2353     HC CARY COURT                    VA                         $0
172    2368     HC COBBLESTONE                   FL                $10,387.59*
                CROSSING
173    2376     HC CHIMNEY LAKES                 FL                        $0
                VILLAGE
174    2385     HC HIGHLAND GROVE                IN                $15,568.11*
                CENTER
175    2396     HC CHURCHILL SQUARE              FL                $10,457.25*
So     2404     HC THREE MEADOWS                 FL                         $0
                PLAZA
177    2406     HC TINLEY PARK                   IL                 $5,434.54*
                COMMONS
178    2410     HC EDGMONT SQUARE                PA                 $9,300.78*
179    2416     HC STATLER SQUARE                VA                 $9,267.88*
180    2419     HC SAWGRASS SQUARE               FL                 $7,796.26*
181    2430     HC COQUINA PLAZA                 FL                $13,249.83*


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
182    2437     HC BIG ELK MALL                  MD                         $0
183    2445     HC MILL POND VILLAGE             NJ                  $9,420.56
184    2447     HC PEACOCK CENTER                MD                         $0
185    2455     HC KINGSBROOK                    MD                         $0
                CROSSING
186    2460     HC PUBLIX LAKE FOREST            FL                 $5,699.76*
187    2461     HC SUNCREST VILLAGE              FL                 $9,181.65*
188    2465     HC RIVER HILL VILLAGE            MD                 $19,081.38
                CENTER
189    2478     HC NELSON PLAZA                  IL                         $0
190    2481     HC WINSTON PARK SC               FL                         $0
191    2482     HC PUBLIX PLAZA                  FL                 $6,562.54*
192    2491     HC RIVERSIDE SC                  MD                $10,201.23*
193    2498     HC LEE HARRISON SC               VA                $14,189.02*
194    2503     HC PRAIRIE POINT SC              IL                         $0
195    2507     HC NORTH RIVERSIDE SC            IL                $10,715.67*
196    2509     HC CENTENNIAL PLAZA              IL                         $0
197    2513     HC VIRGINIA GATEWAY              VA                $16,555.06*
198    2531     HC VILLAGE AT GAP                PA                         $0
199    2535     HC POTOMAC YARD                  VA                 $22,480.77
                CENTER
200    2545     HC SHOPPES AT                    IL                 $5,771.58*
                WINDMILL PLACE
201    2553     HC NEWTOWN SHOPPING              PA                $10,571.75*
                CENTER
202    2560     HC DADELAND STATION              FL                 $13,609.15
203    2564     HC SPRING HOUSE                  PA                $12,226.62*
                VILLAGE
204    2608     HC HARTFORD PLAZA                NJ                $14,316.68*
205    2612     HC LAKE MARY VILLAGE             FL                 $9,127.01*
                SC
207    2683     HC WOODSTOCK RETAIL              IL                $12,451.31*
                CENTER
208    2685     HC ELMHURST CROSSING             IL                $13,182.63*
209    2692     HC HOME DEPOT PLAZA              PA                         $0
210    2696     HC PUBLIX DORAL ISLES            FL                 $8,253.96*
211    2728     HC LIGHTHOUSE PLAZA              DE                $10,014.82*
212    2734     HC BEACON CENTER                 VA                         $0
213    2756     HC BROOKSIDE PLAZA               IL                         $0
214    2766     HC DUNES PLAZA                   IN                         $0




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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
215    2767     HC SCHERERVILLE                  IN                 $9,600.00*
                PLAZA
216    2772     HC EAST LINCOLNWAY               IL                 $4,935.00*
217    2775     HC KROGER CENTER                 IL                 $7,367.76*
218    2785     HC SANGAMON CENTER               IL                   $130.12*
                NORTH
219    2790     HC MARKETPLACE AT                VA                 $8,840.65*
                NICKERSON
220    2792     HC SHOPS AT TOWN                 MD                 $20,115.6*
                CENTER
221    2810     HC PORTAGE CROSSINGS             IN                         $0
222    2815     HC STONEBROOK PLAZA              IL                 $9,879.90*
223    2818     HC POST COMMONS                  FL                 $9,399.72*
224    2832     HC REEDY BRANCH                  FL                 $5,941.26*
                COMMONS
225    2835     HC WINDOVER SQUARE               FL                $10,599.22*
226    2846     HC DEERFIELD TOWN                FL                 $9,997.52*
                SQUARE
227    2848     HC APPLE BLOSSOM                 VA                $11,086.51*
                CORNERS
228    2849     HC VILLAGE CROSSING              IL                 $8,882.12*
229    2853     HC KING FARM VILLAGE             MD                $11,367.61*
                CENTER
230    2854     HC FIRST COLONY                  MD                $14,487.63*
                CENTER
231    2856     HC RED MILL COMMONS              VA                  $9,487.54
232    2865     HC WOOD GROVE                    IL                  $1,808.00
                FESTIVAL
233    2870     HC JULINGTON VILLAGE             FL                 $9,129.12*
                SC
234    2871     HC LAKE SHORE PLAZA              MD                $11,779.92*
235    2902     HC RYDER CROSSING                NJ                         $0
236    2903     HC SUMMERFIELD                   NJ                         $0
                SHOPPING CENTER
237    2917     HC ROLLING CROSSING              IL                        $0
238    2924     HC GIANT                         PA                        $0
                MARKETPLACE
239    2925     HC PUBLIX KINGS RIDGE            FL                 $7,037.94*
240    2931     HC HARBOUR VIEW                  VA                 $5,578.04*
                STATION EAST
241    2937     HC HOLLAND WINDSOR               VA                        $0
                CROSSING



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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
242    2950     HC PLANTATION TOWN               FL                $10,363.83*
                SQ
243    2962     HC VILLAGE AT WAUGH              MD                        $0
                CHAPEL
244    2969     HC HANOVER CROSSING              PA                        $0
245    2976     HC SHOPPES AT STONEY             IL                        $0
                CREEK
246    2981     HC BAYSIDE LAKES                 FL                        $0
247    2983     HC RANDHURST                     IL                        $0
                CROSSING
248    2988     HC POQUOSON                      VA                $10,446.55*
                COMMONS
249    2990     HC SHOPPES OF PALM               FL                 $9,413.69*
                BAY
250    2991     HC SUNTREE SQUARE                FL                         $0
251    2992     HC INDIAN RIVER                  FL                         $0
252    2995     HC SHOPPES AT ST LUCIE           FL                $15,173.84*
                WEST
253    2997     HC SHOPPES JONATHANS             FL                $10,334.70*
                LANDING
254    2998     HC VALPARAISO MKTPL              IN                 $9,473.97*
255    3058     HC PRAIRIE MEADOWS               IL                         $0
                SHOP CENTER
256    3081     HC BELLE TERRE                   FL                $10,765.56*
                CROSSING
257    3088     HC KROGER PLAZA                  IL                        $0
                STREATOR
258    3092     HC PLAZA DEL PARAISO             FL                 $7,388.32*
259    3098     HC PRIMA VISTA                   FL                 $5,972.54*
                CROSSING
260    3104     HC LEBANON VALLEY                PA                        $0
                MALL
261    3112     HC SHOPS OF ORLAND               IL                        $0
                PARK
262    3115     HC HAMILTON                      NJ                $18,196.96*
                MARKETPLACE
263    3120     HC SHOPS AT ST JOHN              IN                         $0
264    3122     HC LAPORTE PLAZA                 IN                 $7,226.71*
265    3125     HC CARLISLE                      PA                         $0
                COMMERCE CENTER
266    3126     HC EAST PENN CENTER              PA                         $0
267    3129     HC SHREWSBURY                    PA                 $11,624.18



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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
268    3144     HC LYNNHAVEN SQUARE              VA                         $0
269    3145     HC RIO HILL SC                   VA                 $8,643.96*
270    3156     HC PINE GROVE PLAZA              NJ                         $0
271    3160     HC CHAMPIONS GATE                FL                $12,069.14*
272    3164     HC ST ANDREWS CENTER             FL                 $6,121.02*
273    3166     HC COLLEGE PARK NBD              FL                $11,149.02*
274    3177     HC FALLSGROVE                    MD                         $0
                VILLAGE
275    3179     HC HIALEAH MERCADO               FL                        $0
                SC
276    3188     HC BERKSHIRE PLACE               IL                         $0
277    3189     HC DYER TOWNE                    IN                 $8,159.28*
                CENTER
278    3190     BUBBLES ANNAPOLIS                MD                        $0
                HARBOR
279    3197     HC SHOPS AT                      MD                 $17,311.80
                MONOCACY
280    3216     HC WEST POINT                    FL                 $9,180.66*
                COMMONS
281    3217     HC COBBLESTONE                   FL                $16,493.61*
                VILLAGE
282    3227     HC STAFFORD                      VA                 $13,531.05
                MARKETPLACE
283    3240     HC SUGAR GROVE                   IL                         $0
284    3243     HC UNIVERSITY                    IN                 $6,997.40*
                CROSSING
285    3254     BUBBLES FAIRFAX                  VA                        $0
                CORNER
286    3256     HC RIVANNA RIDGE                 VA                         $0
287    3258     HC PLAZA ALEGRE                  FL                $13,496.72*
288    3265     HC AVENTURA TOWN                 FL                         $0
                PLAZA
289    3271     HC PRAIRIE CROSSING              IL                $14,369.81*
290    3290     HC SPRING HILL                   IL                         $0
                MEADOWS SC
291    3291     HC PLAZA AT BUFFALO              IL                 $9,527.02*
                GROVE
292    3296     HC CENTERTON SQUARE              NJ                $11,182.56*
293    3303     HC DUNKIRK GATEWAY               MD                         $0
294    3323     HC COLUMBIA PALACE               MD                         $0
                PLACE




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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
295    3329     HC LOCKPORT JEWEL                IL                        $0
                OSCO SC
296    3340     HC BALDWIN PARK                  FL                        $0
                VILLAGE CENTER
297    3341     HC ST JOHNS TOWN                 FL                        $0
                CENTER
298    3346     HC DUVAL STATION                 FL                 $8,233.38*
299    3353     HC VALLEY SQ AT                  PA                 $8,657.44*
                BUCKS COUNTY
300    3364     HC ST CLOUD COMMONS              FL                         $0
301    3365     HC COBBLESTONE                   FL                $17,855.76*
                VILLAGE
302    3366     BUBBLES VIRGINIA                 VA                $16,840.35*
                GATEWAY
303    3370     HC WALDORF                       MD                        $0
                MARKETPLACE
304    3386     HC TOWN & COUNTRY                VA                        $0
                MARKETPL
305    3387     HC DOMINION VALLEY               VA                        $0
                MRKT SQ
306    3388     HC SOUTH RIDING MKT              VA                         $0
307    3391     HC FORTUNA VILLAGE               VA                         $0
308    3394     HC MILLVILLE TOWN                DE                $10,149.99*
                CENTER
309    3395     HC HOLLYMEAD TOWN                VA                $17,495.78*
                CENTER
310    3397     HC POTOMAC                       WV                        $0
                MARKETPLACE
311    3399     BUBBLES HOLLYMEAD                VA                $16,973.34*
                TWN CNTR
312    3403     HC CORNERSTONE AT                FL                $15,548.61*
                SUMMERPORT
313    3407     HC MUNSTER PLAZA                 IN                 $9,871.61*
314    3408     HC LEVITTOWN TOWN                PA                $14,293.59*
                CENTER
315    3417     HC WHITING COMMONS               NJ                        $0
316    3420     HC VERANDA FALLS                 FL                        $0
317    3430     HC LUSBY CENTER                  MD                        $0
318    3431     HC SAYREBROOK                    NJ                        $0
                TOWNE CENTER
319    3432     HC CARLL'S CORNER                NJ                         $0
320    3433     HC COYNER PARK                   VA                 $6,557.64*



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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
321    3437     HC REGENCY SQUARE                IL                         $0
322    3438     HC GARDEN STATE PARK             NJ                $22,463.61*
323    3440     BUBBLES DULLES 28                VA                         $0
                CENTRE
324    3441     HC DULLES 28 CENTRE              VA                $15,411.27*
325    3443     HC VILLAGES @ URBANA             MD                 $24,509.79
326    3445     HC LAKESIDE VILLAGE              FL                         $0
327    3449     HC GERRY CENTENNIAL              IL                         $0
                PLAZA
328    3457     HC SHOPS AT                      NC                $11,176.46*
                TANGLEWOOD
329    3460     HC ASPEN POINTE                  IL                        $0
330    3463     HC ARUNDEL VILLAGE               MD                        $0
331    3467     HC ROOSEVELT                     IL                        $0
                HIGHLAND
332    3469     HC RIVER CITY                    FL                $10,681.14*
                MARKETPLACE
333    3484     HC COCONUT POINT TC              FL                         $0
334    3487     HC CORSICA SQUARE                FL                 $12,879.52
335    3492     HC NORTH AURORA                  IL                         $0
336    3496     HC SHOPPES AT                    VA                         $0
                SOUTHPOINT
337    3500     HC PUBLIX AT                     FL                        $0
                NORMANDY CROSSING
338    3501     HC ERSKINE VILLAGE               IN                         $0
339    3502     HC MILLSIDE PLAZA                NJ                $16,933.10*
340    3505     HC PARAISO PARC                  FL                         $0
341    3508     HC SHOPPES AT NORTH              FL                 $8,827.68*
                CAPE
342    3515     BUBBLES FT. EVANS                VA                        $0
                PLACE II
343    3520     HC AMELIA CONCOURSE              FL                        $0
344    3521     HC PAVILION AT                   PA                        $0
                LANSDALE
345    3523     HC HAMPSTEAD                     MD                        $0
                MARKETPLACE
346    3526     HC GRAND HUNT                    IL                 $11,012.27
                CENTER
347    3528     HC FOUNTAINS WEST                FL                         $0
348    3534     HC DELRAY CROSSING               FL                 $9,412.50*
349    3535     HC LANTANA PLAZA                 FL                         $0
350    3537     HC WESTWARD PLAZA                FL                         $0


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
351    3539     HC NORTHLAKE                     FL                        $0
                VILLAGE
352    3540     HC COVE CENTER                   FL                 $5,041.32*
353    3543     HC MARTIN DOWNS                  FL                $19,785.78*
                TOWN CENTER
354    3546     HC RIVERGATE PLAZA               FL                 $7,817.89*
355    3548     HC 12TH STREET PLAZA             FL                $12,425.66*
356    3550     HC PUBLIX AT INDIAN              FL                         $0
                RIVER
357    3554     HC WEST VOLUSIA                  FL                        $0
                TOWNE CENTER
358    3560     HC YORK TOWN CENTER              PA                         $0
359    3561     HC HIGH POINTE                   PA                $13,612.54*
                COMMONS
360    3571     HC SILVER SPRING                 PA                        $0
                SQUARE
361    3575     HC AIRPORT SQUARE                PA                $8,319.44 *
362    3580     HC LIMERICK CROSSING             PA                        $0
                SC
363    3627     HC TOWN CENTER @                 FL                  $8,433.37
                PALM COAST
364    3635     HC SCHWIND CROSSING              IL                         $0
365    3637     HC GLIDDEN CROSSING              IL                $11,946.00*
366    3648     HC ELBURN CROSSING               IL                         $0
367    3650     HC SUMMIT MALL                   IL                         $0
368    3653     HC TARPON SPRINGS                FL                         $0
                PLAZA
369    3676     HC PABLO CREEK EAST              FL                $17,000.98*
370    3683     HC OASIS PLAZA                   FL                         $0
371    3689     HC CROSSROADS                    FL                $13,157.61*
                MARKETPLACE
372    3694     HC PROMENADE SHOPS               PA                        $0
                AT SAUCON
373    3696     HC SHOPS AT SURFSIDE             FL                  $6,790.30
374    3702     HC WINTER GARDEN-                FL                $17,431.17*
                FOWLER GROVES
375    3704     HC SPRING MILLS                  WV                        $0
                TOWNE CENTER
376    3708     HC ROSE PLAZA                    IL                $13,899.40*
377    3716     HC CONCORDVILLE                  PA                         $0
                TOWN CENTER
378    3721     HC ST CHARLES PLAZA              FL                 $9,838.94*


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
379    3723     HC CROOKED RUN                   VA                        $0
                SHOPPING CTR
380    3727     HC OAKLEAF TOWN                  FL                $13,799.04*
                CENTER
381    3728     HC WESTCHESTER                   VA                        $0
                COMMONS
382    3729     HC OVATION                       FL                $10,913.36*
383    3731     HC CULPEPPER                     VA                         $0
                COLONNADE
384    3735     HC SHOPPES AT                    NJ                $16,670.42*
                CINNAMINSON
385    3736     HC SHOPPES AT                    MD                        $0
                HAGERSTOWN
386    3740     HC CANYON TOWN                   FL                        $0
                CENTER
387    3743     HC SHOPS OF                      IL                        $0
                ROMEOVILLE
388    3746     HC BEACON HILL SC                IN                        $0
389    3756     HC PLAZA AT ISLAND               FL                        $0
                PASS
390    3770     HC RUTHERFORD                    VA                        $0
                CROSSING
391    3773     HC KING GEORGE                   VA                        $0
                GATEWAY
392    3775     HC FORUM CENTER                  FL                 $9,702.65*
393    3779     HC BEACH VILLAGE SC              FL                 $5,559.62*
394    3781     HC KENDALL                       IL                $10,720.50*
                MARKETPLACE
395    3787     HC FREDERICKTOWNE                VA                        $0
                CROSSING
396    3799     HC BRENNEMANN FARM               VA                         $0
397    3800     HC THE COMMONS                   WV                $14,501.56*
398    3805     HC DOUGLAS TOWN                  PA                  $3,130.00
                CENTER
399    3808     BUBBLES @ WAUGH                  MD                        $0
                CHAPEL SOUTH
400    3810     BUBBLES STONEBRIDGE              VA                        $0
                @ POTOMAC
401    3813     HC GATEWAY MARKET                VA                 $9,353.64*
                CENTER
402    3821     HC CANOPY OAKS                   FL                 $6,618.64*
                CENTER
403    3822     HC BULL RUN PLAZA                VA                        $0


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
404    3824     HC SHOPPES AT                    FL                 $7,446.49*
                MURABELLA
405    3829     HC PARKVILLE                     MD                 $10,760.09
                SHOPPING CENTER
406    3832     HC BLUE RIDGE SC                 VA                 $7,008.92*
407    3834     HC BURTONSVILLE                  MD                         $0
                TOWN CENTER
408    3836     HC NOCATEE TOWN                  FL                 $11,854.74
                CENTER
409    3842     HC SPRING CREEK                  VA                        $0
                SHOPPING CENTE
410    3850     HC GRIFFITH COURT                IN                        $0
                PLAZA
411    3852     HC INDIAN BOUNDARY               IN                        $0
                RD
412    3858     HC MAPLE LAWN                    MD                $13,962.71*
413    3864     HC PURCELLVILLE                  VA                         $0
                GATEWAY
414    3866     HC HUNT CLUB CORNERS             FL                         $0
415    3871     HC TIMONIUM SQUARE               MD                 $18,104.22
416    3873     HC WILLINGBORO TOWN              NJ                         $0
                CENTER
417    3886     HC SHOPPES AT                    FL                  $8,535.74
                BARTRAM PARK
418    3894     HC FAIR HILL CENTER              MD                         $0
419    3896     HC GATEWAY HANOVER               PA                $10,745.17*
420    3897     HC HOLLIEANNA                    FL                 $5,932.50*
                SHOPPING CENTER
421    3899     HC COLONIAL CROSSING             FL                 $5,985.22*
422    3904     HC BAEDERWOOD                    PA                         $0
                SHOPPES
423    3910     HC MARKETPLACE AT                PA                        $0
                NESHAMINY
424    3911     HC HUNT VALLEY TOWN              MD                        $0
                CENTER
425    3914     HC SHOPS AT SENECA               MD                        $0
                MEADOWS
426    3915     BUBBLES SHOPS AT                 MD                        $0
                SENECA MEADOW
427    3918     HC QUEENSGATE TOWNE              PA                        $0
                CENTER
428    3928     HC COCOPLUM VILLAGE              FL                $13,044.16*
                SHOPS


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
429    3942     HC MULBERRY GROVE                FL                $10,978.68*
                PLAZA
430    3943     HC PARKVIEW                      FL                 $7,599.26*
                COMMONS
431    3951     HC PENROSE SQUARE                VA                         $0
432    3955     HC CHAPEL HILL SC                NJ                         $0
433    3961     HC UNIVERSITY TOWN               FL                $15,888.99*
                CENTER
434    3962     HC PUBLIX AT BISCAYNE            FL                $19,654.80*
435    3963     HC WESTCHASE                     FL                 $10,514.66
                SHOPPING CTR
436    3968     HC LOCKWOOD                      FL                $14,534.18*
                COMMONS
437    3969     HC VALLEY GATE                   PA                 $8,021.92*
                SHOPPING CENTER
438    3970     HC MACDADE MALL                  PA                $12,712.50*
439    3974     HC DANOR PLAZA                   VA                $19,954.08*
440    3975     BUBBLES - SHOPPES OF             MD                         $0
                OLNEY
441    3981     HC LAKE NONA PLAZA               FL                $13,282.43*
442    3993     HC RIVER CLUB PLAZA              FL                         $0
443    3996     HC INDIAN HARBOUR                FL                 $9,146.09*
                PLACE
444    4014     HC WESTONLAKES                   FL                $21,195.77*
                PLAZA
445    4081     HC FOUNTAINEBLEAU                FL                $15,897.40*
                SQUARE
446    4089     HC LANCASTER                     PA                  $5,962.55
                SHOPPING CENTER
447    4094     HC LARGO MALL SC                 FL                         $0
448    4095     HC BAY POINT PLAZA               FL                 $7,853.40*
449    4100     HC STONEYBROOK HILLS             FL                 $6,395.76*
                VILLAGE
450    4102     HC COSNER'S CORNER               VA                        $0
451    4103     BUBBLES HOME DEPOT               MD                        $0
                SQUARE
452    4109     HC PUBLIX AT                     FL                 $8,287.81*
                FISHHAWK RANCH
453    4112     HC PUBLIX AT                     FL                $10,800.74*
                STEEPLECHASE
454    4116     HC HASTINGS                      VA                $17,660.89*
                MARKETPLACE



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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
455    4124     HC CROSS KEYS                    NJ                        $0
                LANDING
456    4133     HC RITZ CENTER                   NJ                        $0
457    4136     HC CHESAPEAKE                    VA                        $0
                SQUARE PLACE
458    4149     HC MARKET SQUARE                 MD                        $0
                RETAIL CNTR
459    4155     HC FOUNDRY ROW                   MD                         $0
460    4162     HC VIERA SHOPS                   FL                $14,562.21*
461    4163     HC SHOPPES AT                    PA                  $3,145.00
                BROOKHAVEN
462    4164     HC WISHING WELL                  NJ                        $0
                PLAZA
463    4167     HC SUFFOLK MAIN                  VA                        $0
                STREET SHOPPES
464    4170     HC FIFTH STREET                  VA                        $0
                STATION
465    4172     HC SOUTHGATE SQUARE              VA                  $3,881.25
466    4181     HC HARBOUR VILLAGE               FL                $13,212.89*
467    4182     HC ANNAPOLIS CENTER              MD                $13,047.00*
                PLAZA
468    4187     HC HERITAGE                      VA                        $0
                MARKETPLACE
469    4200     HC MARKETPLACE @                 VA                $15,802.86*
                TECH CENTER
470    4203     BUBBLES ANNAPOLIS                MD                $19,779.81*
                PLAZA CENTER
471    4204     HC SHOPPES AT                    VA                        $0
                REYNOLDS CROSSIN
472    4205     HC PINELLAS PLAZA                FL                $11,148.51*
473    4228     HC LAUREL TOWN                   MD                         $0
                CENTER
474    4233     HC ELDERSBURG                    MD                        $0
                COMMONS
475    4237     HC HAMILTON CROSSING             PA                $22,447.34*
476    4243     HC GRAND TRAVERSE                FL                 $5,944.22*
                PLAZA
477    4256     HC TOWER SHOPS                   FL                        $0
478    4259     HC SHOPPES AT TRINITY            FL                        $0
                LAKE
479    4262     HC GHENT STATION SC              VA                         $0
480    4276     HC RIVERDALE PARK                MD                  $3,695.42
                STATION


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
481    4277     HC BROOKLAWN                     NJ                $10,826.15*
                SHOPPING CENTER
482    4283     HC KING OF PRUSSIA               PA                        $0
                TOWN CENTER
483    4286     HC PEMBROKE                      FL                        $0
                CROSSING
484    4288     HC SHOPPES AT                    DE                $18,445.00*
                WESTOWN
485    4292     HC FIRST MERRITT                 FL                $13,873.05*
                CENTER
486    4294     HC RIVERCREST                    FL                $12,534.31*
                COMMONS
487    4302     HC EDINBURGH NORTH               VA                $12,552.00*
                SC
488    4306     HC MAGATHY GATEWAY               MD                $18,828.35*
489    4309     HC NOTTINGHAM                    MD                         $0
                COMMONS
490    4312     HC DUNLAWTON                     FL                 $9,242.03*
                SQUARE
491    4315     HC SEMINOLE CITY                 FL                $10,394.36*
                CENTER
492    4319     HC CENTRE SQUARE                 PA                        $0
                COMMONS
493    4322     BUBBLES - THE                    MD                        $0
                METROPOLITAN
494    4325     HC CROSSPOINT SC                 MD                $14,076.96*
495    4327     HC WAYNESBORO TOWN               VA                         $0
                CENTER
496    4353     HC LITTLE CREEK                  VA                        $0
                MARKETPLACE
497    4357     HC CHRISTIANA                    DE                 $11,468.55
                FASHION CENTER
498    4370     HC WEST MELBOURNE                FL                 $8,776.42*
499    4374     HC TOLLGATE                      MD                         $0
                MARKETPLACE
500    4377     HC NUCKOLS PLACE                 VA                         $0
501    4384     HC BRUNSWICK                     MD                 $13,334.35
                CROSSING
502    4390     HC SHOPS AT SEMINARY             IL                         $0
503    4397     HC FEASTERVILLE                  PA                $15,133.47*
                CENTER
504    4399     HC SUNRISE PLAZA                 FL                $10,486.04*
505    4401     HC SKY WALK                      FL                 $8,432.58*


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NO.   SALON           SALON NAME             STATE      CURE AMOUNT12
       NO.
506    4411     HC CHAMBERSBURG                  PA                        $0
                SQUARE
507    4412     HC NAPERVILLE PLAZA              IL                 $8,528.82*
508    4415     HC BRANDY CREEK                  VA                  $3,529.24
                COMMONS
509    4449     LATITUDE LANDINGS                                           $0
510    4454     PAVILION AT DURBIN               FL                $19,919.15*
                PARK
511    4461     HC THE COMMONS                   MD                 $7,814.00*




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